Case 3:18-cv-01063-JWD-EWD   Document 99-12
                       Helge Waldum,   M.D.,04/27/22
                                             Ph.D.     Page 1 of 328


  1                 UNITED STATES DISTRICT COURT
  2                 MIDDLE DISTRICT OF LOUISIANA
  3
  4
      STANLEY P. BAUDIN,                     )
  5                                          )
                    Plaintiff,               )
  6                                          )
              vs.                            ) Case No. 1801063
  7                                          )
      ASTRAZENECA PHARMACEUTICALS            )
  8   LP; ASTRAZENECA LP; AND MERCK          )
      SHARP & DOHME CORPORATION,             )
  9                                          )
                    Defendants.              )
 10
 11
 12
              VIDEOTAPED VIDEOCONFERENCE DEPOSITION
 13
                                  OF
 14
                     HELGE WALDUM, M.D., Ph.D.
 15
                     Thursday, March 24, 2022
 16
 17
 18
 19
 20
 21
 22
 23
 24                GOLKOW LITIGATION SERVICES
               877.370.3377 ph | 917.591.5672 fax
 25                      deps@golkow.com                     EXHIBIT 11


Golkow Litigation Services                                             Page 1
Case 3:18-cv-01063-JWD-EWD   Document 99-12
                       Helge Waldum,   M.D.,04/27/22
                                             Ph.D.     Page 2 of 328


  1                  VIDEOTAPED VIDEOCONFERENCE DEPOSITION
  2   of HELGE WALDUM, M.D., Ph.D., a witness in the
  3   above-entitled action, taken pursuant to notice,
  4   pursuant to the Federal Rules of Civil Procedure
  5   before CINDY A. HAYDEN, RMR, CRR, remotely, on the
  6   24th day of March, 2022, at 6:03 a.m. EST.
  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25




Golkow Litigation Services                                             Page 2
Case 3:18-cv-01063-JWD-EWD   Document 99-12
                       Helge Waldum,   M.D.,04/27/22
                                             Ph.D.     Page 3 of 328


  1   APPEARANCES:
  2          DALIMONTE RUEB STOLLER LLP
             BY: JOHN M. RESTAINO, ESQ.
  3          5700 Fleet Street
             Carlsbad, CA 92008
  4          888.443.7529
             restaino@drlawllp.com
  5          Counsel for Plaintiff
  6                ~ And ~
  7          DALIMONTE RUEB STOLLER LLP
             BY: MICHAEL E. GALLANT, ESQ.
  8          1250 Connecticut Avenue NW, Suite 700
             Washington, DC 20036
  9          202.858.1211
             michael.gallant@drlawllp.com
 10
 11            ARNOLD & PORTER KAYE SCHOLER LLP
               BY: JULIE B. DU PONT, ESQ.
 12            BY: ALEXANDER COUSINS, ESQ.
               250 West 55th Street
 13            New York, NY 10019-9710
               212.836.8572
 14            julie.dupont@arnoldporter.com
               alexander.cousins@arnoldporter.com
 15            Counsel for Defendants
 16                 ~ And ~
 17            ARNOLD & PORTER KAYE SCHOLER LLP
               BY: KATHRYN PODSIADLO, ESQ.
 18            44th Floor, 777 South Figueroa Street
               Los Angeles, CA 90017-5844
 19            213.243.4273
               kathryn.podsiadlo@arnoldporter.com
 20
                     ~ And ~
 21
               (Appearances continued on next page.)
 22
 23
 24
 25



Golkow Litigation Services                                             Page 3
Case 3:18-cv-01063-JWD-EWD   Document 99-12
                       Helge Waldum,   M.D.,04/27/22
                                             Ph.D.     Page 4 of 328


  1                  APPEARANCES CONTINUED
  2
               ICE MILLER LLP
  3            BY:   KATHERINE D. ALTHOFF, ESQ.
               BY:   ALLYSON EMLEY, ESQ.
  4            One American Square, Suite 2900
               Indianapolis, IN     46282-0200
  5            317.236.5924
               katherine.althoff@icemiller.com
  6            allyson.emley@icemiller.com
  7
      ALSO PRESENT:     Melissa Bardwell,
  8                     Videographer/Technician
                        Sarah Megan, Esq., AstraZeneca
  9                     Leo Rakitin, Esq., AstraZeneca
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25



Golkow Litigation Services                                             Page 4
Case 3:18-cv-01063-JWD-EWD   Document 99-12
                       Helge Waldum,   M.D.,04/27/22
                                             Ph.D.     Page 5 of 328


  1                             I N D E X
  2                                                              PAGE
  3     EXAMINATION BY MS. DU PONT                                 10
  4     EXAMINATION BY MR. RESTAINO                               316
  5
  6                         E X H I B I T S
  7
        WALDUM
  8     NUMBER                DESCRIPTION                        PAGE
  9
        EXHIBIT 1      Notice of Oral Remote                           20
 10                    Videotaped Deposition and
                       Request for Production of
 11                    Documents of Helge Waldum,
                       M.D., Ph.D.
 12
        EXHIBIT 2A     Document titled Work: from                      25
 13                    2019-November 12th, 2021
 14     EXHIBIT 2B     Receipts for travel expenses                    30
                       on email dated 10/6/21,
 15                    Subject: Reservation
                       confirmed - Tronheim-London on
 16                    11/08/2021
 17     EXHIBIT 2C     Document titled Travel                          31
                       expenses: Meeting London
 18                    November 8th to 11th
 19     EXHIBIT 2E     Emails, top one dated 1/31/22,                  45
                       Subject: SV:
 20
        EXHIBIT 2F     Emails, top one dated 2/14/22,                  47
 21                    Subject: SV: Chain of
                       Custody Waldum to Mjones
 22
        EXHIBIT 2G     Email dated 3/16/22, Waldum                     48
 23                    Mjones Email
 24     EXHIBIT 2H     Emails, top one dated 3/18/22,                  49
                       Subject: SV: polypper
 25



Golkow Litigation Services                                             Page 5
Case 3:18-cv-01063-JWD-EWD   Document 99-12
                       Helge Waldum,   M.D.,04/27/22
                                             Ph.D.     Page 6 of 328


  1     EXHIBIT 2I     Emails, top one dated 3/18/22,                  54
                       Subject: SV: polypper
  2
        EXHIBIT 2J     Email dated 2/1/22, Subject:                    43
  3                    utlevering av materiale
  4     EXHIBIT 2K     Email dated 3/2/22, Subject:                    55
                       Dette er bildet som er i
  5                    rapporten din, synaptofysin
  6     EXHIBIT 2L     Emails, top one dated                           41
                       11/15/21, Subject: Travel
  7                    expenses & work invoice
  8     EXHIBIT 3      Curriculum Vitae of Helge L.                    23
                       Waldum 110546
  9
        EXHIBIT 4      Rule 26 Expert Report, Helge                    34
 10                    Waldum MD, PhD, Doctor d'Etat
 11     EXHIBIT 5      Reliance List of Helge L.                       37
                       Waldum
 12
        EXHIBIT 6      Book titled The Influence of                184
 13                    the Pharmaceutical Industry on
                       Medicine, as Exemplified by
 14                    Proton Pump Inhibitors
 15     EXHIBIT 7      World Health Organization                   124
                       Model List of Essential
 16                    Medicines, 22nd List (2021)
 17     EXHIBIT 13     Article titled                              132
                       Hypergastrinemia and mortality
 18                    in gastric adenocarcinoma: a
                       population-based cohort study,
 19                    the HUNT study
 20     EXHIBIT 16     Article titled Gastritis,                   139
                       Gastric Polyps and Gastric
 21                    Cancer
 22     EXHIBIT 32     Article titled Towards                      208
                       Understanding of Gastric
 23                    Cancer Based upon
                       Physiological Role of Gastrin
 24                    and ECL Cells
 25



Golkow Litigation Services                                             Page 6
Case 3:18-cv-01063-JWD-EWD   Document 99-12
                       Helge Waldum,   M.D.,04/27/22
                                             Ph.D.     Page 7 of 328


  1     EXHIBIT 37     Letter dated 8/23/11 from                   188
                       Public Citizen to Margaret A.
  2                    Hamburg, M.D.
  3     EXHIBIT 39     Joint Meeting of the                        180
                       Nonprescription Drugs and
  4                    Gastrointestinal Drugs
                       Advisory Committees dated
  5                    10/20/00
  6     EXHIBIT 42     Letter dated 10/31/14 from                  192
                       Department of Health & Human
  7                    Services to Eric Nellis, Drs.
                       Almashar, Carome, Wolfe, and
  8                    Waldum
  9     EXHIBIT 46     Article titled Proton pump                  212
                       inhibitor: The dual role in
 10                    gastric cancer
 11     EXHIBIT 110    Medical record, FMOL Health                 260
                       System, dated 9/12/17, Bates
 12                    Defendants000487-488
 13     EXHIBIT 111    Surgical Pathology Report                   267
                       dated 9/12/17, Pathology Group
 14                    of Louisiana, Bates
                       Defendants000024-026
 15
        EXHIBIT 113    Medical record, FMOL Health                 271
 16                    System, dated 9/21/17, Bates
                       Defendants000447-462
 17
        EXHIBIT 114    Medical record, FMOL Health                 275
 18                    System, dated 10/5/17, Bates
                       Defendants000978-980
 19
        EXHIBIT 115    Surgical Pathology Report                   274
 20                    dated 10/7/17, Pathology Group
                       of Louisiana, Bates
 21                    Defendants000021-023
 22     EXHIBIT 139    Office of Surveillance and                  199
                       Epidemiology (OSE) Memorandum
 23                    dated 12/21/18, Subject:
                       Rebound Acid Hypersecretion
 24
        EXHIBIT 140    Deposition transcript of Dr.                306
 25                    John Tabor dated 4/27/21


Golkow Litigation Services                                             Page 7
Case 3:18-cv-01063-JWD-EWD   Document 99-12
                       Helge Waldum,   M.D.,04/27/22
                                             Ph.D.     Page 8 of 328


  1                     P R O C E E D I N G S
  2                              * * *
  3                  THE VIDEOGRAPHER:      We're now on the
  4   record.    My name is Melissa Bardwell, videographer
  5   for Golkow Litigation Services.         Today is
  6   March 24th of 2022, and the time now is 6:03 a.m.
  7                  This remote video deposition is being
  8   held in the matter of Stanley P. Baudin versus
  9   AstraZeneca Pharmaceuticals LP, et al., taken for
 10   the U.S. District Court, Middle District of
 11   Louisiana.     Our deponent today is Dr. Helge Waldum.
 12                  All parties to this deposition are
 13   appearing remotely and have agreed to the witness
 14   being sworn in remotely.        Due to the nature of
 15   remote reporting, please pause briefly before
 16   speaking to ensure all parties are heard
 17   completely.
 18                  Would counsel present please identify
 19   themselves for the record, after which would our
 20   court reporter please swear in the witness.
 21                  MR. RESTAINO:     This is John Restaino
 22   representing Stanley Baudin, the plaintiff.
 23                  MR. GALLANT:     And this is Michael
 24   Gallant, also representing the plaintiff,
 25   Stanley Baudin.



Golkow Litigation Services                                             Page 8
Case 3:18-cv-01063-JWD-EWD   Document 99-12
                       Helge Waldum,   M.D.,04/27/22
                                             Ph.D.     Page 9 of 328


  1                  THE WITNESS:     And this is --
  2                  MS. DU PONT:     Julie --
  3                  THE WITNESS:     And this --
  4                  MR. RESTAINO:     You don't have to.
  5                  MS. DU PONT:     Hi.   This is Julie
  6   du Pont.    I'm joined by Kathryn Podsiadlo on behalf
  7   of AstraZeneca.
  8                  THE REPORTER:     Anybody else?
  9                  Okay.   Will counsel please stipulate
 10   that in lieu of formally swearing in the witness,
 11   the reporter will instead ask the witness to
 12   acknowledge that their testimony will be true under
 13   the penalties of perjury, that counsel will not
 14   object to the admissibility of the transcript based
 15   on proceeding in this way, and that the witness
 16   has, in fact, verified that he is, in fact,
 17   Dr. Waldum?
 18                  MS. DU PONT:     That's fine with
 19   AstraZeneca.
 20                  MR. RESTAINO:     Yes, fine with the
 21   plaintiff.
 22                  THE REPORTER:     Great.
 23                  Doctor, would you raise your right
 24   hand, please.
 25                  Do you hereby acknowledge that your



Golkow Litigation Services                                             Page 9
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 10 of 328

   1   testimony will be true under the penalties of
   2   perjury?
   3                 THE WITNESS:     Yes.
   4                 THE REPORTER:     Thank you.
   5                             * * *
   6                HELGE WALDUM, M.D., Ph.D.,
   7   testifying under penalty of perjury, was examined
   8                  and testified as follows:
   9                              * * *
  10                          EXAMINATION
  11   BY MS. DU PONT:
  12           Q.    Good morning, Dr. Waldum.
  13           A.    Good morning.
  14           Q.    My name's Julie Du Pont, and I
  15   represent AstraZeneca in this case.        And today,
  16   we're -- we're here to talk about your opinions in
  17   the case of Mr. Baudin.
  18                 Can you please state your name and
  19   business record for the -- business address for the
  20   record, please.
  21           A.    My name is Helge Waldum.       My business
  22   address is St. Olavs Hospital, Trondheim, Norway.
  23           Q.    Thank you.
  24                 You understand that we're conducting
  25   this deposition remotely today, correct?



 Golkow Litigation Services                                    Page 10
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 11 of 328

   1           A.    Yes.
   2           Q.    And where are you currently located?
   3           A.    At the hotel in Trondheim,
   4   Royal Garden.
   5           Q.    And is anyone with you in the room?
   6           A.    Yes, my -- the two lawyers.
   7           Q.    And by that, you mean Mr. Gallant and
   8   Mr. Restaino?
   9           A.    Yes.
  10           Q.    And I understand this is a little
  11   unusual, that we're taking this remotely, but can I
  12   confirm that your cell phone is turned off and not
  13   near you?
  14           A.    Yes.
  15           Q.    And because of the remote nature of
  16   this deposition, I just want to agree that you're
  17   not going to communicate, you know, nonverbally or
  18   write a note to anyone in the room while we're --
  19   we're having questions, okay?
  20           A.    Okay.
  21           Q.    Have you ever had your deposition taken
  22   before?
  23           A.    No.
  24           Q.    So let me just go over some of the
  25   ground rules for depositions because it's a little



 Golkow Litigation Services                                    Page 11
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 12 of 328

   1   unusual.      As you probably have figured out, there's
   2   a court reporter, Cindy, here, who is going to be
   3   taking down everything that is said on the record
   4   today.    And to make her life a little easier, it's
   5   best if we try to talk at a, you know, normal pace,
   6   not too fast, so she can get down everything we're
   7   saying.
   8                  It's also important to try not to speak
   9   over one another.      And I'm very guilty of talking
  10   too fast and jumping in too quickly.         So I -- I
  11   will try to do my best not to interrupt you, and
  12   can you do your best not to interrupt me?
  13            A.    Yes, I will.
  14            Q.    Okay.   You know, it's important that we
  15   answer verbally on the record and not just shake
  16   your head yes or no, again, because the court
  17   reporter needs to write down what's said verbally
  18   on the record.     Understood?
  19            A.    Yes.
  20            Q.    And important to understand that if you
  21   need to take a break at any time, you just have to
  22   let me know that.      You know, just -- we just have
  23   to finish whatever question and answer is -- is
  24   pending at the moment.      But if you need a break,
  25   just -- just let me know.



 Golkow Litigation Services                                     Page 12
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 13 of 328

   1                 And -- and the final thing is, is if
   2   you don't understand the question that I've asked,
   3   please let me know that.       And I know it's -- we're
   4   doing this by computer, so if you don't hear it or
   5   there's any problem and you -- you don't fully
   6   understand the question, just let me know.          I can
   7   repeat it.    I can rephrase it.      I just want to make
   8   sure we have a clear record here today, okay?
   9            A.   Understood.
  10            Q.   What did you do to prepare for your
  11   deposition today?
  12            A.   What did you say?
  13            Q.   I'm sorry.    What did you do to prepare
  14   for your deposition today?
  15            A.   Today?
  16            Q.   Yes.
  17            A.   I haven't done much today, at least
  18   this morning.
  19                 THE REPORTER:     I'm sorry.    I didn't
  20   hear you.
  21                 THE WITNESS:     I have not done much
  22   today.
  23   BY MS. DU PONT:
  24            Q.   Okay.    So --
  25            A.   I --



 Golkow Litigation Services                                     Page 13
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 14 of 328

   1            Q.   Go ahead.    Finish.
   2            A.   Yeah.   I came to the hotel and waited
   3   for the deposition.
   4            Q.   How about prior to today?       In the past
   5   few days, what did you do to prepare for the
   6   deposition?
   7            A.   I read the -- my deposition -- my
   8   expert report and the report by Wang, Voltaggio and
   9   Miele.
  10                 THE REPORTER:     Can you repeat those
  11   names, please.
  12   BY MS. DU PONT:
  13            Q.   You said Dr. Wang, Miele, and I
  14   missed -- I missed the last one.
  15            A.   It was Voltaggio.
  16            Q.   Voltaggio?
  17            A.   Yeah.
  18                 MS. DU PONT:     Did you get that, Cindy?
  19                 THE REPORTER:     Yes.   I'll get the
  20   spellings later.
  21                 MS. DU PONT:     Okay.
  22   BY MS. DU PONT:
  23            Q.   And did you review any medical records
  24   for Mr. Baudin to prepare for today?
  25            A.   I don't -- no.     I read them before,



 Golkow Litigation Services                                    Page 14
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 15 of 328

   1   many times.
   2           Q.    Okay.    Did you meet with the attorneys,
   3   Mr. Restaino or Mr. Gallant, prior to today?          And I
   4   will just caution you, I don't want to know any of
   5   the substance of your conversation.        I'm just
   6   asking if you met with them.
   7           A.    Today?
   8           Q.    In the past few days, did you meet with
   9   Mr. Restaino and Mr. Gallant?
  10           A.    I met him on Sunday.      I met them on
  11   Sunday.   Sunday, four days ago, when we had the
  12   dinner together.
  13           Q.    And --
  14           A.    And -- and yesterday and the day
  15   before, we prepared ourself and discussed the case.
  16           Q.    So on -- okay.
  17                 And how much time yesterday and the day
  18   before did you spend preparing for today's
  19   deposition?
  20           A.    Yesterday, five hours.      The day before,
  21   six hours, perhaps.      Six hours.
  22           Q.    Okay.    And at the dinner on Sunday
  23   night, did you discuss business at that dinner?
  24           A.    No.
  25           Q.    No.



 Golkow Litigation Services                                    Page 15
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 16 of 328

   1                 Okay.   When did Mr. Baudin's lawyers
   2   first contact you to ask you to be an expert in
   3   this litigation?
   4           A.    Actually, I was on holiday in
   5   Australia, and I would have heard from him in -- it
   6   was in, I think, November 2017.        He -- he didn't
   7   contact me about this special case, but he
   8   contacted me about a paper I wrote in Gut about
   9   PPIs and gastric cancer.
  10           Q.    So just so I'm clear, who's "he"?
  11           A.    John Restaino.
  12           Q.    So John Restaino contacted you in
  13   November of 2017 while you were on vacation in
  14   Australia to ask you about a paper you had written?
  15           A.    He called -- yeah, he contacted me
  16   about that.
  17           Q.    And at that -- on that phone call, did
  18   he ask you if you wanted to be an expert generally
  19   in the proton pump inhibitor litigation?
  20           A.    We spoke about PPIs and side effects,
  21   but they did not specify.       And then in the future,
  22   right after that, we had some contacts by email for
  23   some time.    He asked me about --
  24           Q.    Did you -- okay.
  25           A.    He asked me about my point of view



 Golkow Litigation Services                                    Page 16
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 17 of 328

   1   January --
   2           Q.    Understood.
   3                 When did those contacts by email
   4   happen?   And it's okay if you don't know the exact
   5   date.   I'm just looking for a general time frame.
   6           A.    It may be every third month or
   7   something like that.
   8           Q.    Did you eventually sign a retainer
   9   agreement for -- for litigation work?
  10           A.    I -- I signed an agreement in February,
  11   this year.
  12           Q.    When did you -- when did you first
  13   understand, though, that you were going to be a --
  14   an expert in the proton pump inhibitor litigation?
  15                 MR. RESTAINO:     Objection to form.
  16                 THE WITNESS:     I think I wrote my expert
  17   report in -- in the autumn of 2021 and -- oh, wait.
  18   Let -- let me see -- say about October 2021.
  19   BY MS. DU PONT:
  20           Q.    When -- what did you understand, when
  21   you began working on your report, what your
  22   assignment was -- was to be?
  23           A.    I evaluated -- evaluated the case for
  24   that.   And, also, I wrote what I meant about
  25   pathogenesis of gastric cancer.



 Golkow Litigation Services                                    Page 17
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 18 of 328

   1           Q.    When specifically were you asked to
   2   provide an opinion on the cause of Mr. Baudin's
   3   gastric adenocarcinoma?
   4           A.    It must be in October 2021, but I did
   5   not sign any -- any -- anything with Restaino at
   6   that time.    I signed it in February of 2022.
   7           Q.    Prior to October 2021, when you were
   8   asked to provide an opinion on the cause of
   9   Mr. Baudin's gastric adenocarcinoma, had you
  10   reviewed any medical literature with respect to --
  11   to PPIs for the specific purpose of serving as an
  12   expert in the PPI litigation?
  13           A.    I had for -- I have for 50 years read
  14   all the literature about gastric cancer and PPI.
  15           Q.    When did you conclude that Mr. Baudin's
  16   Nexium use contributed to his gastric
  17   adenocarcinoma?
  18           A.    When I finished the report.
  19           Q.    And when did you finish the report?
  20           A.    It was -- it was finished in January,
  21   but I would -- January this year, but let me say
  22   November '21.
  23           Q.    Okay.   November 2021 was when you
  24   thought you -- you had concluded that Mr. Baudin's
  25   Nexium use contributed to his gastric



 Golkow Litigation Services                                    Page 18
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 19 of 328

   1   adenocarcinoma?
   2            A.   Most probable --
   3            Q.   Okay.
   4            A.   -- most due to PPI use.
   5            Q.   Why did you agree to serve as an expert
   6   in this case?
   7            A.   This is my area of interest for 50
   8   years.    I started long before the PPIs came on the
   9   market.    I started with gastrin in '74 and had my
  10   first candidate for -- for gas -- for the role of
  11   gastrin in gastric cancer.       I got -- got funding
  12   for that in 1981.     At least that's been my life
  13   interest.
  14            Q.   Understood.
  15                 And -- and have you ever served as an
  16   expert in any other litigation?
  17            A.   No.
  18            Q.   Do you have any family members who work
  19   for AstraZeneca?
  20            A.   Not now.    My daughter worked as -- I
  21   forgot -- AstraZeneca in -- worked for one year --
  22                 THE REPORTER:     I'm sorry.    Worked as a
  23   what?    Your daughter worked as a what?
  24                 THE WITNESS:     My daughter -- one of my
  25   daughters worked for AstraZeneca about 2000 and --



 Golkow Litigation Services                                    Page 19
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 20 of 328

   1   2000 -- year 2000, I think.       She worked for one
   2   year.   She's a veterinarian.
   3   BY MS. DU PONT:
   4           Q.    I didn't understand what you just said.
   5   What did -- what was that last thing?
   6           A.    My -- my daughter worked for
   7   AstraZeneca for one year.       I think it was year
   8   2000.   And she is a veterinarian.
   9           Q.    That's what I missed, veterinarian.
  10                 Where did your daughter work for
  11   AstraZeneca?    What office?
  12           A.    In Norway.    In Norway.
  13           Q.    In Norway.
  14                 And was her position related to her
  15   being a veterinarian?
  16           A.    Yeah, she was -- I suppose so.        But I
  17   am not sure.
  18           Q.    Okay.   Do you know specifically what
  19   her title was?
  20           A.    No.
  21                 MS. DU PONT:     Okay.   I'm going to mark
  22   as Exhibit 1 to this deposition the notice of the
  23   deposition.    Can we pull that up on the screen.
  24                 (WALDUM EXHIBIT 1, Notice of Oral
  25   Remote Videotaped Deposition and Request for



 Golkow Litigation Services                                    Page 20
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 21 of 328

   1   Production of Documents of Helge Waldum, M.D.,
   2   Ph.D., was marked for identification.)
   3   BY MS. DU PONT:
   4           Q.    And just so you understand,
   5   Dr. Waldum -- and I don't know if Mr. Gallant and
   6   Restaino explained this to you.        But when I pull up
   7   a deposition exhibit, the video tech will also --
   8   Melissa will -- will drop it into the chat
   9   function.
  10                 So if -- you know, we -- we'll
  11   obviously be able to view it on the screen.          But if
  12   you want to page through the document yourself, you
  13   can click on the -- the chat, download the document
  14   and -- and review it yourself.        I don't know if
  15   we're going to have to do it for the notice.          But
  16   there may be some longer documents where you
  17   actually want to download it and look at it on the
  18   screen, okay?
  19           A.    Okay.
  20           Q.    So have -- have you seen this -- this
  21   document before, Dr. Waldum?
  22           A.    Yes.
  23           Q.    Did you --
  24                 MR. RESTAINO:     You cannot --
  25                 MS. DU PONT:     I'm sorry.    I just heard



 Golkow Litigation Services                                    Page 21
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 22 of 328

   1   something.
   2                 MR. RESTAINO:     Yes.   I'm sorry, Julie.
   3   Despite your admonition to him about scrolling
   4   down, he was attempting to scroll down on the --
   5                 MS. DU PONT:     Oh.
   6                 MR. RESTAINO:     -- document on his
   7   screen.
   8                 MS. DU PONT:     Okay.
   9   BY MS. DU PONT:
  10           Q.    If we can scroll down to the list of
  11   items that were requested of the witness.
  12                 MR. RESTAINO:     And, Julie, just so that
  13   there's no confusion or wonderment on your part
  14   also, the setup that we have made here so that we
  15   can avoid using the microphone for all the
  16   different computers and getting the reverb problem
  17   we had, we're using the conference room
  18   microphone --
  19                 MS. DU PONT:     Okay.
  20                 MR. RESTAINO:     -- which is hooked up --
  21   which is hooked up to a large -- very large screen,
  22   which is to both Dr. Waldum and my left.         So the
  23   document is quite large there, easier to read, so
  24   if you see the witness or myself looking to the
  25   left, that is what we are looking at.



 Golkow Litigation Services                                    Page 22
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 23 of 328

   1                 MS. DU PONT:     Got it.   That's helpful.
   2   Thank you, John.
   3                 MR. RESTAINO:     You're welcome.
   4   BY MS. DU PONT:
   5            Q.   So this is Exhibit A to the Notice of
   6   Deposition, Dr. Waldum.      And it contains a number
   7   of items that you were asked to bring to the
   8   deposition today.     Did you review this -- this
   9   notice, and did you fully comply with -- with
  10   bringing the -- or -- or providing to Mr. Baudin's
  11   counsel the documents that were requested?
  12            A.   I think so.
  13            Q.   Okay.   And if -- if we could go back up
  14   to the -- the top of the list, Number 1.         First, it
  15   asks for a copy of your most current curriculum
  16   vitae.
  17                 MS. DU PONT:     And if we could pull up
  18   Exhibit 3.
  19                 (WALDUM EXHIBIT 3, Curriculum Vitae of
  20   Helge L. Waldum 110546, was marked for
  21   identification.)
  22   BY MS. DU PONT:
  23            Q.   This is the curriculum vitae that was
  24   provided to us, along with your expert report.          I
  25   understood from Mr. Baudin's counsel that this is



 Golkow Litigation Services                                    Page 23
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 24 of 328

   1   the most current CV that you have, but is this the
   2   most current CV?
   3           A.    I believe so.
   4           Q.    Do you have any updates to this CV that
   5   you have not had a chance to make?
   6           A.    One moment.
   7           Q.    Okay.
   8           A.    The number of publications.
   9                 The other way.     Back.
  10                 Published about -- 4,300, and it should
  11   be 400 --
  12                 THE REPORTER:     I'm sorry.    I can't
  13   understand what you're saying.
  14   BY MS. DU PONT:
  15           Q.    We can't hear you.
  16                 MR. RESTAINO:     You better -- best face
  17   this way, if you can.
  18                 THE WITNESS:     The number of
  19   publications that was written there.
  20   BY MS. DU PONT:
  21           Q.    The number of publications needs to be
  22   amended; is that what you're saying?
  23           A.    Yes.    I think -- it should be 430.      I
  24   think it was 4,300 I have --
  25           Q.    Oh, it's a -- it's a mistake.        It



 Golkow Litigation Services                                    Page 24
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 25 of 328

   1   should say 430, not 4,300?
   2           A.    That is correct, I have written.
   3           Q.    Okay.   I thought 4,300 was quite
   4   ambitious.    But that makes more sense.       430
   5   original papers.
   6                 Okay.   Any other revisions or updates
   7   that you haven't had a chance to make to this?
   8           A.    No.
   9           Q.    Okay.   The next item on the notice --
  10   and -- and we don't have to pull it back up -- it
  11   basically pertains to the -- the billing and amount
  12   of money that you've requested to be paid in this
  13   matter as an expert witness.
  14                 MS. DU PONT:     And if we could pull up
  15   Exhibit 2A.
  16                 (WALDUM EXHIBIT 2A, Document titled
  17   Work:   from 2019-November 12th, 2021, was marked
  18   for identification.)
  19   BY MS. DU PONT:
  20           Q.    Now, this document that we've marked as
  21   Exhibit 2A is entitled "Work:       from 2019 through
  22   November 12th, 2021."      Do you see that?
  23           A.    Yes.
  24           Q.    And why is it -- why does it start with
  25   2019?   Is that when you started the work on the



 Golkow Litigation Services                                    Page 25
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 26 of 328

   1   litigation?
   2           A.    Yes.
   3           Q.    So even though you weren't formally
   4   retained until 2021, you began work with respect to
   5   PPIs and gastric cancer in 2019?
   6           A.    Yes.
   7           Q.    Do you know when in 2019?       What month?
   8           A.    It was consult in services to Restaino.
   9                 THE REPORTER:     I'm sorry.    I didn't
  10   understand that.
  11                 THE WITNESS:     We did -- I did some
  12   consulting on the phone or email and --
  13   BY MS. DU PONT:
  14           Q.    I understand you did consulting, but do
  15   you know what month that started?
  16           A.    No.
  17           Q.    No?
  18           A.    No.
  19           Q.    You don't remember?
  20           A.    No.
  21           Q.    Okay.   So this work goes from 2019 to
  22   November 12th, 2021; is that correct?
  23           A.    Yes.
  24           Q.    And you're billing 600 U.S. dollars per
  25   hour, according to agreement?



 Golkow Litigation Services                                     Page 26
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 27 of 328

   1           A.    Yes.
   2           Q.    And as of November 12th, 2021, you had
   3   billed for 64,800 U.S. dollars, correct?
   4           A.    Correct.
   5           Q.    And that included writing your expert
   6   report for 30 hours, collecting relevant
   7   information for 20 hours, and answering questions
   8   and commentaries for 20 hours, for a total of 108
   9   hours, correct?
  10           A.    Correct.
  11           Q.    And sorry, I missed one thing.        There
  12   was also a meeting in London for 38 hours between
  13   November 8th and 11th of November 2021, correct?
  14           A.    Yes.
  15           Q.    And tell me, without talking about the
  16   conversations that you had with Mr. Restaino -- I'm
  17   going to guess it was Mr. Restaino -- but with
  18   Mr. Baudin's lawyers, what the purpose of the
  19   meeting in London was in November of 2021.
  20           A.    The purpose of the meeting in London
  21   was to -- to discuss and plan for -- discuss the
  22   expert report.
  23           Q.    Okay.
  24           A.    I had never seen -- I didn't know what
  25   was demanded to do.      So I -- so we discussed how it



 Golkow Litigation Services                                    Page 27
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 28 of 328

   1   should be made, but my -- the content is completely
   2   up to me.
   3            Q.   Got it.    I just lost my train of
   4   thought.
   5                 After November 12th, 2021, did you do
   6   additional work between then and now on
   7   Mr. Baudin's case?
   8            A.   No.
   9            Q.   Did you -- so did -- you didn't --
  10   prior to this, you told me that you were still
  11   working on Mr. Baudin's expert report in January of
  12   2022.    Was that incorrect?
  13            A.   I did -- I did some work during this
  14   time --
  15            Q.   Okay.
  16            A.   -- but I had not -- I had not billed
  17   it.
  18            Q.   Ah, okay.    It's a -- it's a language
  19   issue.    What work have you done since
  20   November 12th, 2021, that you have not yet billed
  21   for?    How many hours?
  22            A.   I -- I do not remember exactly, but I
  23   have it at home.      It may be 30 hours.
  24            Q.   Okay.    Approximately 30 hours --
  25            A.   Yes.



 Golkow Litigation Services                                    Page 28
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 29 of 328

   1           Q.    -- since November 2021?
   2                 And does that include the -- the 11
   3   hours you spent in the past several days preparing
   4   for today's deposition or not?
   5           A.    Not.
   6           Q.    Okay.    So in addition to the 30 hours,
   7   you've spent an additional 11 hours preparing for
   8   today's deposition?
   9           A.    Correct.
  10           Q.    And do you plan to bill for that --
  11   that 41 hours for additional work in preparation
  12   for today's deposition?
  13           A.    Yes.
  14           Q.    And do you also plan to bill for any
  15   time you spent today at this deposition?
  16           A.    Perhaps.    I don't know what is usual.
  17           Q.    I'll let John --
  18           A.    But -- but probably.
  19           Q.    -- and Mike tell you what's usual.
  20           A.    But probably.
  21           Q.    Yes.    Probably, yes.    Okay.
  22                 MS. DU PONT:     Okay.   Let's pull up
  23   Exhibit 2B and mark that for the record.
  24                 MR. RESTAINO:     I'm sorry, Julie.     2B,
  25   as in "boy"?



 Golkow Litigation Services                                    Page 29
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 30 of 328

   1                 MS. DU PONT:     Yes.
   2   BY MS. DU PONT:
   3           Q.    And while she pulls that up, for the
   4   additional time that you spend -- spent, the 41
   5   hours prior to today and the time you spent today,
   6   do you intend to bill at your hourly rate of $600
   7   an hour?
   8           A.    Yes.
   9                 (WALDUM EXHIBIT 2B, Receipts for travel
  10   expenses on email dated 10/6/21, Subject:
  11   Reservation confirmed - Tronheim-London on
  12   11/08/2021, was marked for identification.)
  13   BY MS. DU PONT:
  14           Q.    Okay.   We've pulled up a receipt that
  15   was provided to us by Mr. Baudin's counsel.          And it
  16   appears to be dated October of 2021, and looks to
  17   be a receipt for a plane ticket from Trondheim to
  18   Amsterdam; is that correct?
  19           A.    It was from Trondheim to London via
  20   Amsterdam.
  21           Q.    Oh.
  22           A.    It's the London --
  23           Q.    Yeah, that's --
  24           A.    -- London meeting -- London meeting.
  25           Q.    Got it.    It's the London meeting.



 Golkow Litigation Services                                    Page 30
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 31 of 328

   1                 And it looks like the -- the total cost
   2   of that meeting, if we continue to scroll, was
   3   4,438 NOK.
   4           A.    Norwegian kroner, yes, NOK.
   5           Q.    NOK.    Okay.
   6                 And there's also some photographs here
   7   on the last page that look to be receipts incurred
   8   during your travel, primarily taxi receipts.
   9           A.    The taxi in Norway.
  10           Q.    Okay.
  11                 MS. DU PONT:     And if we pull up
  12   Exhibit 2C.
  13                 (WALDUM EXHIBIT 2C, Document titled
  14   Travel expenses:      Meeting London November 8th to
  15   11th, was marked for identification.)
  16   BY MS. DU PONT:
  17           Q.    This appears to be a summary of the
  18   receipts that we just looked at; is that correct?
  19           A.    Yes.
  20           Q.    And your total travel expenses related
  21   to your meeting in London November 8th through 11th
  22   were 698 U.S. dollars, correct?
  23           A.    Correct.
  24           Q.    And that was for this November 8th
  25   through 11th meeting in London where you met with



 Golkow Litigation Services                                    Page 31
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 32 of 328

   1   Mr. Restaino to discuss your expert report,
   2   correct?
   3           A.    Yes.   Correct.
   4                 MS. DU PONT:     Okay.   If we could go
   5   back to the deposition notice that was marked as
   6   Exhibit 1.    And scroll down to the third item.
   7   BY MS. DU PONT:
   8           Q.    That Item Number 3 asks for the
   9   witness's complete file in connection with the
  10   witness's investigation and evaluation of the
  11   issues involved in this litigation.        Have you
  12   brought that with you today or provided that to
  13   Mr. Baudin's counsel?
  14           A.    Could you repeat it?
  15           Q.    Have you brought your complete file
  16   with respect to this case to the deposition today,
  17   or have you provided that to counsel?
  18           A.    Do you mean that I -- I have not billed
  19   for -- for the -- I only billed once, but I will
  20   bill for when -- for what I am talking about; is
  21   that what you mean?
  22           Q.    I'm just asking what materials you've
  23   sort of kept with respect -- respect to
  24   Mr. Baudin's case.     We have your expert report as
  25   well as your -- your reliance list or the materials



 Golkow Litigation Services                                    Page 32
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 33 of 328

   1   you're relying on in his case.         Beyond that, is
   2   there anything else in your, quote/unquote, "file"
   3   for Mr. Baudin?     Do you understand my question?
   4            A.   I don't -- I'm not quite sure what you
   5   mean, but I -- I think I have nothing more about
   6   that than what I have.
   7            Q.   Okay.
   8                 MR. RESTAINO:     Julie, if I may --
   9                 MS. DU PONT:     Sure.
  10                 MR. RESTAINO:     -- interject to help out
  11   also a little bit, he has with him a printout of
  12   his expert report, the expert report of Dr. Wang
  13   and the expert report of --
  14                 THE WITNESS:     Of Miele and the -- and
  15   the --
  16                 MR. RESTAINO:     -- Miele -- Dr. Miele
  17   and the pathologist.
  18                 THE WITNESS:     I have the expert --
  19                 MS. DU PONT:     Dr. Voltaggio?
  20                 MR. RESTAINO:     Yes.    So he -- he has
  21   those with him.
  22                 MS. DU PONT:     Okay.    Thank you.
  23                 MR. RESTAINO:     You're welcome.
  24   BY MS. DU PONT:
  25            Q.   So just so the record is clear, your



 Golkow Litigation Services                                     Page 33
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 34 of 328

   1   file for Mr. Baudin includes your report and the
   2   exhibits that are attached to it, including your
   3   reliance list, but you also have and have reviewed
   4   the reports by AstraZeneca's expert witness,
   5   Dr. Miele, Dr. Wang and Dr. Voltaggio --
   6           A.    Yes.
   7           Q.    -- correct?
   8           A.    Yes.
   9                 MS. DU PONT:      Can we mark as the next
  10   exhibit here Exhibit 4 for the record, which is
  11   your expert report.
  12                 (WALDUM EXHIBIT 4, Rule 26 Expert
  13   Report, Helge Waldum MD, PhD, Doctor d'Etat, was
  14   marked for identification.)
  15                 MS. DU PONT:      And if we could go to
  16   Page -- I think it's 143 of the report, but it's
  17   144 of the PDF.      Scroll all the way down to the
  18   bottom.   There.     Perfect.
  19   BY MS. DU PONT:
  20           Q.    Doctor, is this the expert report that
  21   you tendered in this case?
  22           A.    Yes.
  23           Q.    And if we're looking at the last page
  24   of the report, is this your signature --
  25           A.    Yes.



 Golkow Litigation Services                                    Page 34
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 35 of 328

   1           Q.    -- dated January 12th?
   2           A.    Yes.   Yes.
   3           Q.    And does this report contain all of the
   4   opinions you intend to offer at trial in
   5   Mr. Baudin's case?
   6           A.    Yes.   At that time.
   7           Q.    I missed the last part of what you just
   8   said.
   9           A.    Yes.
  10           Q.    So this does -- this report does
  11   contain all the opinions you intend to offer at
  12   trial in Mr. Baudin's case, correct?
  13           A.    At that time.     I -- I can't say what
  14   may come up before the court time.        There may be
  15   new information.
  16           Q.    So as we sit here today, does this
  17   report contain all of the opinions you intend to
  18   offer at trial in Mr. Baudin's case?
  19           A.    It -- presently, yes.
  20           Q.    So there's nothing in this report you
  21   think is inaccurate?
  22           A.    Let us discuss it, but I think I -- I
  23   think I -- it's pretty accurate.
  24           Q.    It's pretty accurate.
  25                 Are there any mistakes in the report



 Golkow Litigation Services                                    Page 35
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 36 of 328

   1   that you'd like to correct right now?
   2           A.    I saw, when I read it, that I said that
   3   gastrin is the trophic hormone.        I would say it is
   4   trophic only for tissue where you have a cell with
   5   a gastrin receptor.
   6                 THE REPORTER:     Where you have what?
   7                 THE WITNESS:     Where you have cells
   8   having a gastrin receptor.       It is not trophic, for
   9   instance, for the colonic mucosa and other places.
  10   It's only for the oxyntic mucosa in the stomach.
  11   BY MS. DU PONT:
  12           Q.    So if I understand it correctly, you,
  13   in your report, wrote that gastrin is -- is a -- is
  14   a trophic --
  15           A.    It -- it -- I wrote it was a trophic
  16   hormone, but it -- it's trophic in the way that it
  17   influences the proliferation.       It is only in the
  18   oxyntic, in the acid-producing, part of the
  19   stomach.
  20           Q.    Okay.
  21           A.    It's not a -- it's not a generally
  22   trophic hormone.
  23           Q.    Other than that correction, is there
  24   anything else you'd like to correct in your report?
  25           A.    No, I don't think so.



 Golkow Litigation Services                                    Page 36
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 37 of 328

   1           Q.    Okay.   And we can -- I can ask some
   2   questions about that later to better understand
   3   that.
   4                 MR. RESTAINO:     And, Julie, we've
   5   already discussed the fact that he's not published
   6   4,300 articles.
   7                 MS. DU PONT:     Okay.
   8                 THE WITNESS:     No.
   9                 MS. DU PONT:     That was a correction on
  10   his CV.   We already corrected that.
  11                 MR. RESTAINO:     Oh, okay, okay.
  12   BY MS. DU PONT:
  13           Q.    Okay.   Now, I want to pull up as
  14   Exhibit 5 your reliance list.
  15                 (WALDUM EXHIBIT 5, Reliance List of
  16   Helge L. Waldum, was marked for identification.)
  17                 MS. DU PONT:     And if we could just
  18   briefly page through it.
  19   BY MS. DU PONT:
  20           Q.    Do you recognize this document to be
  21   your reliance list that provides the materials you
  22   relied upon to support the opinions set forth in
  23   your expert report that we've marked as Exhibit 4?
  24           A.    Yeah.
  25           Q.    And do you have any additions to this



 Golkow Litigation Services                                    Page 37
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 38 of 328

   1   Exhibit 5?
   2           A.    No.
   3           Q.    Okay.
   4                 MS. DU PONT:     We can stop scrolling for
   5   now.
   6   BY MS. DU PONT:
   7           Q.    Do you know --
   8                 MS. DU PONT:     And -- and you can pull
   9   it down.
  10   BY MS. DU PONT:
  11           Q.    Do you know any of the experts for
  12   Plaintiff Mr. Baudin in this litigation, the other
  13   experts that were disclosed by Mr. Baudin in
  14   addition to yourself?
  15           A.    I know Patricia Mjønes.
  16           Q.    Anyone else?
  17           A.    No.
  18           Q.    Are you familiar with Alfred Neugut, an
  19   epidemiology expert, who is also an oncologist at
  20   Columbia?
  21           A.    I have never met him, but I know him by
  22   name.
  23           Q.    Did you review his expert report?
  24           A.    No.
  25           Q.    Are you familiar with Nacer Abrouk, a



 Golkow Litigation Services                                    Page 38
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 39 of 328

   1   biostatistician?
   2           A.    No.
   3           Q.    Are you familiar with William
   4   Hrushesky, an oncology expert who put in a report
   5   in this case?
   6           A.    No.
   7           Q.    And finally, are you familiar with
   8   Joshua Sharlin, a regulatory expert who put in a
   9   report in this case?
  10           A.    No.
  11           Q.    And I take it that you have not
  12   reviewed the expert reports for Dr. Abrouk,
  13   Hrushesky or Sharlin, correct?
  14           A.    Correct.
  15                 MS. DU PONT:     Let's pull back up the
  16   deposition notice that we've marked as Exhibit 1.
  17   BY MS. DU PONT:
  18           Q.    Okay.   We've gone through 3, 4 and 5.
  19   So let's scroll down to 6.       This asks for all
  20   documents and [sic] nonprivileged communications
  21   between the witness and any person, including but
  22   not limited to Dr. Patricia Mjønes, in this matter
  23   regarding the pathology report, or any drafts
  24   thereof or regarding the subject matter of this
  25   litigation.



 Golkow Litigation Services                                    Page 39
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 40 of 328

   1                 Do you see that request that I'm
   2   reading from?
   3           A.    Yes.
   4           Q.    And you are aware your colleague,
   5   Dr. Mjønes, was deposed earlier this week on
   6   March 21st, 2022, correct?
   7           A.    Once more, please.
   8           Q.    You are aware that Dr. Mjønes gave a
   9   deposition, like you're giving today, earlier this
  10   week on March 21st, 2022, correct?
  11           A.    You mean Patricia Mjønes?
  12           Q.    Yes, Mjønes.     I'm not pronouncing her
  13   name correctly.
  14           A.    Okay.
  15           Q.    I'm sorry.
  16           A.    Okay.   That's correct.
  17           Q.    And you asked Dr. Mjønes to review
  18   Dr. Baudin's pathology, and she did so at your
  19   request, correct?
  20           A.    Yes.
  21           Q.    And we've received a series of emails
  22   between you and Dr. Mjønes prior to her deposition
  23   and prior to your deposition in this case.
  24           A.    Yes.
  25           Q.    Are you aware that counsel for



 Golkow Litigation Services                                    Page 40
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 41 of 328

   1   Mr. Baudin provided us with those emails?
   2           A.    Yes.
   3           Q.    Did they ask you to search your -- your
   4   inbox for emails from --
   5           A.    Yes.
   6           Q.    -- Dr. Mjønes?
   7           A.    Yes.
   8           Q.    Okay.   And you provided those emails to
   9   counsel for Mr. Baudin?
  10           A.    Yes.
  11           Q.    And we've translated them for purposes
  12   of this deposition, because many of them were in
  13   Norwegian, which I don't understand.         And I think
  14   most jury -- people on the jury may not understand
  15   either.
  16                 But I just want to -- we've translated
  17   them.   So as I pull up these emails, I want you to
  18   let me know if there's anything that we need to
  19   correct about the translation from your
  20   perspective, okay?
  21           A.    Okay.
  22                 MS. DU PONT:     So if we could pull up
  23   Exhibit 2L.
  24                 (WALDUM EXHIBIT 2L, Emails, top one
  25   dated 11/15/21, Subject:       Travel expenses & work



 Golkow Litigation Services                                    Page 41
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 42 of 328

   1   invoice, was marked for identification.)
   2   BY MS. DU PONT:
   3            Q.   And this is an email dated
   4   November 15th -- sorry -- November 15th, 2021, from
   5   you to Patricia Mjønes, and she appears to be
   6   attaching a --
   7                 Well, first of all, if we scroll down.
   8   Sorry.    You forwarded to her an email from
   9   Mr. Restaino, dated November 14th, where you appear
  10   to have been disclosing -- or enclosing a bill for
  11   your work.    Do you see that?
  12            A.   Yes.    It's not latest things, okay?
  13            Q.   It's not what?
  14            A.   It's okay.
  15            Q.   I didn't hear you.      Sorry.
  16            A.   It is okay.    It -- it seems correct.
  17            Q.   Okay.    And then if we scroll up, you
  18   seem to be saying to her that they are offering
  19   $400 per hour and that I have -- you and I have
  20   probably come to the conclusion that 25 hours would
  21   be okay and to send the bill as soon as possible.
  22                 Is that a general -- generally accurate
  23   translation of the email?
  24            A.   Yes.
  25            Q.   And how did you and Dr. Mjønes come to



 Golkow Litigation Services                                    Page 42
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 43 of 328

   1   the conclusion that she should charge $400 an hour?
   2           A.    She has a shorter CV than me.
   3           Q.    Okay.   So you're charging $600 an hour,
   4   but because she's not practiced for as long as you
   5   have, has not written as much as you have, she
   6   should only charge $400 an hour; is that the
   7   thinking?
   8           A.    Yes.
   9           Q.    And why did you tell her to send the
  10   bill as soon as possible?
  11           A.    I thought that both bills should be
  12   treated -- treated at the same time or something
  13   like that.    It's -- it did not --
  14                 THE REPORTER:     I didn't hear that.
  15                 THE WITNESS:     It -- I -- I thought that
  16   both the bill from me and her should come at a
  17   reasonably same time.
  18                 MS. DU PONT:     Okay.   Let's pull up
  19   Exhibit 2J.
  20                 (WALDUM EXHIBIT 2J, Email dated 2/1/22,
  21   Subject:     utlevering av materiale, was marked for
  22   identification.)
  23   BY MS. DU PONT:
  24           Q.    Okay.   This appears to be an email from
  25   Dr. Mjønes to you, Dr. Waldum, dated February 1st,



 Golkow Litigation Services                                    Page 43
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 44 of 328

   1   2022.   And it says:     See attachment.     Consent from
   2   the patient and a copy of identification for
   3   delivery is required the material.        Will try to
   4   pass this on to John.
   5                 Is that a generally accurate
   6   translation of the email?
   7           A.    Yes.
   8           Q.    And was Dr. Mjønes telling you she was
   9   getting ready to ship the pathology for Mr. Baudin
  10   that she'd stained?
  11           A.    Yes.
  12           Q.    And also reviewed?
  13                 MR. RESTAINO:     I think you need --
  14   BY MS. DU PONT:
  15           Q.    Okay.
  16                 MR. RESTAINO:     -- to repeat -- repeat
  17   your answer.
  18   BY MS. DU PONT:
  19           Q.    Yeah, I think --
  20           A.    Yes, yes.
  21           Q.    So -- we can get into this in a bit.
  22   But Dr. Mjønes reviewed some previously stained
  23   pathology that was stained in Louisiana, but she
  24   also did additional staining by herself, correct?
  25           A.    Correct.



 Golkow Litigation Services                                    Page 44
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 45 of 328

   1           Q.    And she was shipping all of that
   2   material to -- to plaintiff's counsel in the
   3   United States?
   4           A.    I -- I didn't review it in London or
   5   my --
   6                 THE REPORTER:     I'm sorry?
   7                 THE WITNESS:     I -- I took it when I
   8   went to the meeting in London, or was this later?
   9   BY MS. DU PONT:
  10           Q.    This is in February of 2022.
  11           A.    We hadn't sent any material off at
  12   that -- after that, I think.       I -- Patricia must
  13   have done it.     I -- I do not know --
  14           Q.    Okay.
  15           A.    -- exactly when it was done.
  16           Q.    Okay.
  17                 MS. DU PONT:     Let's pull up Exhibit 2E
  18   and mark that for the record.
  19                 (WALDUM EXHIBIT 2E, Emails, top one
  20   dated 1/31/22, Subject:      SV:, was marked for
  21   identification.)
  22   BY MS. DU PONT:
  23           Q.    So this appears to be correspondence
  24   between you and Dr. Mjønes on January 31st, 2022.
  25   Do you see that?



 Golkow Litigation Services                                    Page 45
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 46 of 328

   1           A.    Yes.
   2           Q.    And you write -- if we scroll down to
   3   the first email -- You must write a time list for
   4   additional work you receive with, quote/unquote,
   5   "deposit" preparation.      What did you mean by that?
   6           A.    I meant that she must note the time she
   7   use to prepare for -- for this deposition on
   8   Monday.   If she -- if she needed to do more work,
   9   she must notice it -- note it.
  10           Q.    Got it.    And if we scroll up to the
  11   next email, it says:      It is okay.    I -- I do not
  12   know if I -- I will have time to prepare so much
  13   for this, that this is the busiest season for me
  14   teaching, meeting activities, work, activities in
  15   relation to the children.       Has John --
  16           A.    It is --
  17           Q.    -- given -- I'm sorry.      Did you want to
  18   say something?
  19           A.    It is correct -- correct translation.
  20           Q.    Okay.   And then she says:      Has John
  21   given you an indication of when they might consider
  22   taking the trip to Trondheim?       The later, the
  23   better for my part.      I do not plan to answer
  24   anything other than what is included my report.
  25           A.    Correct.



 Golkow Litigation Services                                     Page 46
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 47 of 328

   1            Q.    Okay.
   2                  MS. DU PONT:    If we can pull up
   3   Exhibit 2F.
   4                  (WALDUM EXHIBIT 2F, Emails, top one
   5   dated 2/14/22, Subject:       SV:   Chain of Custody
   6   Waldum to Mjones, was marked for identification.)
   7                  MS. DU PONT:    And if we scroll down to
   8   the first email.       Just scroll up a little bit.
   9   Sorry.
  10   BY MS. DU PONT:
  11            Q.    This is an email from Mr. Gallant to
  12   you, attaching a chain of custody form for the
  13   transfer of the tissue blocks from you to
  14   Dr. Mjønes, correct?
  15            A.    Yes.
  16            Q.    And if we scroll up further, it appears
  17   that you forward the chain of custody form to
  18   Dr. Mjønes, and you say to her:        We have to fill
  19   this in.      I have started, as you can see, from
  20   Attachment 2.     If you disagree with the dates I
  21   have set, you need to change them.        Send it back to
  22   me when you have signed.       This is something urgent,
  23   so it would be nice if we could send it back to the
  24   U.S. over the weekend.
  25                  Is that an approximate translation of



 Golkow Litigation Services                                    Page 47
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 48 of 328

   1   the email?
   2           A.    Yes.
   3           Q.    And -- so -- so you were directing
   4   Dr. Mjønes regarding the chain of custody, correct?
   5                 MR. RESTAINO:     Objection to form.
   6                 THE WITNESS:     Yes.
   7   BY MS. DU PONT:
   8           Q.    Dr. Baudin's counsel did not email her
   9   directly regarding the chain of custody, correct?
  10           A.    Yes.    Yes.
  11           Q.    So on February 14th, Dr. Mjønes
  12   responds and asks Waldum to read it over, and if it
  13   is accurate, she can sign it.         Is that
  14   approximately what she says?
  15           A.    Yes.
  16           Q.    Okay.
  17                 MS. DU PONT:     Let's pull up Exhibit 2G
  18   and mark that for the record.
  19                 (WALDUM EXHIBIT 2G, Email dated
  20   3/16/22, Waldum Mjones Email, was marked for
  21   identification.)
  22   BY MS. DU PONT:
  23           Q.    And this is an email from Dr. Mjønes to
  24   you, Dr. Waldum, dated March 16th, 2022.         So a
  25   little over a week ago, correct?



 Golkow Litigation Services                                    Page 48
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 49 of 328

   1           A.    Yes.
   2           Q.    And she writes to you, and we
   3   understand it to say:      Have talked to John, and was
   4   a little stressed after talking to him.
   5           A.    Little less stressed.
   6           Q.    Little less stressed -- you're right --
   7   after talking to him.
   8                 And then she says something -- my
   9   name -- this -- this translation is not correct.
  10   But I think she's saying she was going to meet with
  11   them on Saturday.
  12           A.    Yes.
  13           Q.    And she will take a look through what I
  14   have written and what Lysandra Voltaggio has
  15   written on Saturday.
  16           A.    Yes.
  17           Q.    Is that correct?
  18           A.    Yes.
  19                 MS. DU PONT:     Okay.   Let's pull up
  20   Exhibit 2H and mark that for the record.
  21                 (WALDUM EXHIBIT 2H, Emails, top one
  22   dated 3/18/22, Subject:      SV:   polypper, was marked
  23   for identification.)
  24                 MS. DU PONT:     Okay.   And if we could
  25   scroll down to your email where it starts.



 Golkow Litigation Services                                    Page 49
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 50 of 328

   1   Actually -- yeah, thank you.       Scroll up.
   2   BY MS. DU PONT:
   3           Q.    This appears to be an email from you to
   4   Dr. Mjønes on March 17th, 2022.        So approximately a
   5   week ago?
   6           A.    Yes.
   7           Q.    And the -- I think the translation from
   8   the Norwegian is:     What was the diagnosis of the
   9   polyps in the hernia?      Hyperplastic or adeno --
  10   adenomatous?
  11           A.    That is correct.     That is correct.     You
  12   are reading Norwegian.
  13           Q.    Okay.   Now, go up to the next email.
  14   And she responds:     Most of the patient's polyps
  15   were fundus gland polyps, and some were
  16   hyperplastic polyps.      The patient's cancer was an
  17   adenoma with high-grade dysplasia/intramucosal
  18   adenocarcinoma, and it was located 1.2 centimeters
  19   from the gastroesophageal junction as far as I
  20   remember.    Cannot remember that there were any
  21   adenomas otherwise, but will get incisions on
  22   Saturday, and then I will look over all the cuts
  23   once more.
  24                 When I read the report of Lysandra,
  25   (she has also had access to clinical information)



 Golkow Litigation Services                                    Page 50
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 51 of 328

   1   it may look like it was fundus gland polyps in the
   2   hernia, but will check this further on Saturday.
   3                 Is that an approximate translation of
   4   what was written --
   5           A.    Yes.
   6           Q.    -- in Norwegian?
   7           A.    Yes.    Yes.
   8           Q.    Okay.    And so you respond and say:
   9   Fine.   I think the endoscopist describes the three
  10   as hyperplastic in terms of appearance, and it
  11   would fit me best.      However, it is the histology
  12   that gives the answer.       I thought it was a
  13   hyperplastic polyp with a development of
  14   adenocarcinoma.
  15                 Did I read that accurately --
  16           A.    That's accurate.
  17           Q.    -- or is that an accurate translation?
  18           A.    Yes.    Yes.
  19           Q.    Why did you suggest that hyperplastic
  20   would fit you best?
  21           A.    The adenomatous polyps, that was the
  22   other possibility.      We had so scarce information
  23   about that.    And the endoscopist described them as
  24   hyperplastic as the cause of this histology and the
  25   pathologist that decides what it is.         And Patricia



 Golkow Litigation Services                                    Page 51
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 52 of 328

   1   is (indiscernible) impress of me --
   2                 THE REPORTER:     I'm sorry.    I didn't
   3   hear the last part of that.
   4                 THE WITNESS:     Patricia -- Patricia
   5   Mjønes is not -- she was not impressed by my wish.
   6                 THE REPORTER:     She was not impressed by
   7   my --
   8   BY MS. DU PONT:
   9           Q.    She was not impressed by your wish; is
  10   that what you said?
  11           A.    Influenced.    She -- she made, of
  12   course, her own decision.
  13           Q.    Why was it your wish that it be
  14   hyperplastic?
  15           A.    As I said, we have more information
  16   about hyperplastic polyps and the -- and the cause
  17   of hyperplastic polyps.
  18           Q.    I understand.     You have more
  19   information --
  20           A.    Adenoma --
  21           Q.    You're saying you have more information
  22   in the medical literature about hyperplastic polyps
  23   and the use of PPIs; is that what you mean?
  24           A.    Yeah, also by PPIs.      But the
  25   adenomatous polyps, that was the alternative.          They



 Golkow Litigation Services                                     Page 52
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 53 of 328

   1   are so seldom that there are little information
   2   about them.
   3           Q.    Got it.    Understood.
   4                 Okay.   And so if we scroll up to the
   5   top email, she says:      This is what Lysandra writes:
   6   Polypoid intramucosal adenocarcinoma arising in a
   7   gastric adenoma in the background of cardio-oxyntic
   8   mucosa with acute and chronic inflammation and
   9   hyperplastic polyps.      I have written something
  10   similar, so everyone who has assessed the test
  11   agrees.   Do you see that?
  12           A.    Yes.
  13           Q.    And is that an accurate translation
  14   from the Norwegian?
  15           A.    Yes.
  16           Q.    So Dr. Mjønes is essentially saying she
  17   sees the cancer arising from the adenoma, not the
  18   hyperplastic polyp, and that she agrees with
  19   Dr. Voltaggio, who is AstraZeneca's expert?
  20                 MR. RESTAINO:     Objection to form.
  21                 THE WITNESS:     I -- I do not -- I will
  22   not say anything about whether she -- whether she
  23   agrees with Voltaggio.      But she -- Patricia Mjønes
  24   says that the polyp -- that the -- the cancer
  25   developed in a adenoma and not a hyperplastic



 Golkow Litigation Services                                    Page 53
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 54 of 328

   1   polyp.
   2                 THE REPORTER:     Is not a hyperplastic
   3   polyp?
   4                 MS. DU PONT:     Yes.
   5   BY MS. DU PONT:
   6            Q.   But here, it says:      This is what
   7   Lysandra -- who I understood to be Dr. Voltaggio --
   8   writes.    And she -- Dr. Mjønes says that she has
   9   written something similar to Dr. Voltaggio, so
  10   everyone who has assessed the test agrees.
  11                 Do you agree with that, Dr. Waldum?
  12   That's what it says?
  13            A.   It was -- it is my -- it is a correct
  14   translation.
  15            Q.   Okay.   Thank you.
  16                 MS. DU PONT:     And if we could pull up
  17   Exhibit 2I and mark that for the record.
  18                 (WALDUM EXHIBIT 2I, Emails, top one
  19   dated 3/18/22, Subject:      SV:   polypper, was marked
  20   for identification.)
  21   BY MS. DU PONT:
  22            Q.   And this is the same email, except for
  23   the top email of the chain we were just looking at.
  24   The only thing that is different is this top email
  25   from Dr. Mjønes to you, Dr. Waldum, and it's dated



 Golkow Litigation Services                                    Page 54
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 55 of 328

   1   March 18th, 2022.
   2           A.    Yes.
   3           Q.    And she -- and she responds to your
   4   question about whether it's a hyperplastic polyp or
   5   an adenoma.    And she says:     No, I don't think so.
   6   It is another type of gastric adenoma with a
   7   high-degree dysplasia/intramucosal adenocarcinoma.
   8   Nearby, however, there was one hyperplastic polyp.
   9   Is that the --
  10           A.    That's --
  11           Q.    -- correct translation?
  12           A.    -- correct translation.      Correct.
  13           Q.    Thank you.
  14                 MS. DU PONT:     And let's pull up
  15   Exhibit 2K.
  16                 (WALDUM EXHIBIT 2K, Email dated 3/2/22,
  17   Subject:     Dette er bildet som er i rapporten din,
  18   synaptofysin, was marked for identification.)
  19   BY MS. DU PONT:
  20           Q.    And this is an email from Dr. Mjønes to
  21   you, Dr. Waldum, dated March 2nd, 2022.         We've
  22   marked this as Exhibit 2K for the record.
  23                 And it appears to be an image.        And the
  24   subject line says:     This is the image in your
  25   report, synaptophysin.      Is that the correct



 Golkow Litigation Services                                    Page 55
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 56 of 328

   1   translation?
   2            A.   Yes.
   3            Q.   Do you know why she sent you this
   4   image?
   5            A.   She -- she knew that I was interested
   6   in -- in the research.
   7            Q.   What specifically -- what about this
   8   image were you interested in?
   9            A.   Because nobody had stain for
  10   neuroendocrine cells --
  11                 THE REPORTER:     No one had a stain for
  12   what?
  13                 THE WITNESS:     Stain for neuroendocrine
  14   cells before.     And it was important to see whether
  15   the mucosa had been exposed to high gastrin values,
  16   and this clearly shows that.
  17                 THE REPORTER:     Had been exposed to high
  18   gastric what?
  19                 THE WITNESS:     High gastrin -- not
  20   "gastric," but "gastrin."
  21   BY MS. DU PONT:
  22            Q.   Okay.   Maybe I'll ask you some
  23   questions about that later.
  24                 MS. DU PONT:     We can pull down this
  25   exhibit.



 Golkow Litigation Services                                    Page 56
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 57 of 328

   1                 THE REPORTER:     Can we go off the record
   2   for one second?
   3                 MS. DU PONT:     Sure.
   4                 THE VIDEOGRAPHER:     The time now is
   5   7:09 a.m.    We are off the record.
   6                              * * *
   7                 (Whereupon, there was a recess in the
   8   proceedings from 7:09 a.m. to 7:11 a.m.)
   9                              * * *
  10                 THE VIDEOGRAPHER:     The time now is
  11   7:11 a.m.    We are back on the record.
  12   BY MS. DU PONT:
  13           Q.    So we've just gone through several
  14   emails between you, Dr. Waldum, and Dr. Mjønes.              As
  15   the emails suggest, you were the primary person
  16   communing with -- communicating with Dr. Mjønes
  17   regarding her review of Mr. Baudin's pathology,
  18   correct?
  19           A.    Probably.
  20           Q.    So you were the one that was speaking
  21   to Mr. Baudin's lawyers.       They were not speaking
  22   directly with Dr. Mjønes until quite recently --
  23           A.    They had met --
  24           Q.    -- in the past week?
  25           A.    They had met before.



 Golkow Litigation Services                                    Page 57
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 58 of 328

   1           Q.    They had met before?
   2           A.    Yes.
   3           Q.    When?
   4           A.    At the meeting.
   5           Q.    At the meeting this week --
   6           A.    No.
   7           Q.    -- in the past week?
   8           A.    Two years ago, when -- when I --
   9   before, Patricia Mjønes and another of my previous
  10   candidates were at the W -- DDW Week.         And there, I
  11   met Restaino, and I presented them for -- for him.
  12           Q.    So they --
  13           A.    Two years --
  14           Q.    -- met brief -- they met briefly at a
  15   conference?
  16           A.    Briefly, yeah, yeah.
  17           Q.    Okay.   But after that conference, you
  18   were the primary person that was communicating with
  19   Dr. Mjønes about Mr. Baudin's pathology.         It was
  20   not Mr. Restaino, correct?
  21           A.    Yes, it would -- I would say so.        But
  22   Restaino had also some communication with her, but
  23   not often.
  24           Q.    Now, Mr. Baudin's counsel initially
  25   sent Mr. Baudin's pathology specimens directly to



 Golkow Litigation Services                                    Page 58
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 59 of 328

   1   you, correct?
   2           A.    That's correct.
   3           Q.    And you hand-delivered them to
   4   Dr. Mjønes?
   5           A.    Correct.
   6           Q.    Did you meet with Dr. Mjønes at any
   7   point after you hand-delivered that pathology to
   8   her?
   9           A.    I -- I was not involved in her
  10   examination.
  11           Q.    And I'm asking a little bit of a --
  12           A.    We work -- we worked at the -- we work
  13   at the same hospital.      I -- I probably saw her, but
  14   not -- I -- I was never involved in her
  15   examination, except for the emails that you saw.
  16   But she -- but she did this evaluation by herself,
  17   without me.
  18           Q.    But you directed her to review the
  19   pathology and prepare a report for you, correct?
  20                 MR. RESTAINO:     Objection to form.
  21                 THE WITNESS:     Yes.
  22   BY MS. DU PONT:
  23           Q.    And you were the one that directed her
  24   to send an -- send an invoice to you, which you
  25   passed along to the lawyers for Mr. Baudin,



 Golkow Litigation Services                                    Page 59
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 60 of 328

   1   correct?
   2            A.   I think she sent her invoice directly.
   3            Q.   Okay.   But you directed her to send the
   4   invoice?
   5            A.   I -- I gave her the information.
   6            Q.   Have you talked to Dr. Mjønes since she
   7   was deposed earlier this week?
   8            A.   No.
   9            Q.   Have you emailed or sent any text
  10   messages to her since she was deposed earlier this
  11   week?
  12            A.   I sent an email yesterday about the
  13   dinner, but she didn't answer.
  14            Q.   You invited her to dinner, and she
  15   didn't answer?
  16            A.   It was a dinner with John and Michael,
  17   and I shouldn't go there because Mjønes should be
  18   there, and I told her that she should go.          I wasn't
  19   there.    I didn't meet her.     I didn't meet her.
  20            Q.   Okay.   Did you review a transcript of
  21   Dr. Mjønes's deposition?
  22            A.   No.
  23            Q.   Did you review any summary or bullet
  24   points regarding her deposition testimony prepared
  25   by anyone?



 Golkow Litigation Services                                    Page 60
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 61 of 328

   1           A.    No.
   2           Q.    Did you have any additional verbal
   3   conversations with Dr. Mjønes about this case?
   4           A.    I -- I would say no.      No.
   5           Q.    And if we could just go back to the --
   6   the deposition notice, I just want to confirm that
   7   you don't have anything else that's responsive.
   8                 MS. DU PONT:     Exhibit 1.     Sorry.
   9   BY MS. DU PONT:
  10           Q.    So you told us that you don't -- you've
  11   not done any prior expert witness work, so I assume
  12   you do not have any materials related to
  13   litigation; is that correct?
  14           A.    Correct.
  15           Q.    Any additional research -- and I'm
  16   directing you to Item Number 14 -- that you've
  17   conducted with respect to gastric cancer and PPIs
  18   that are not mentioned in either your CV, your
  19   report or your reliance list?
  20           A.    No.
  21           Q.    And I understand that you have not had
  22   any prior expert work, but do you have any
  23   affidavits, reports or sworn testimony that relate
  24   to the subject matter of your testimony; in
  25   particular, PPIs and gastric cancer?          That's the



 Golkow Litigation Services                                    Page 61
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 62 of 328

   1   last --
   2            A.    I would say no.
   3            Q.    Okay.   And for the record, that's the
   4   last item, Number 15.
   5                  MS. DU PONT:    Why don't we take a
   6   break.    I just need like five or ten minutes so we
   7   can get up and walk around.       Is that okay?     How
   8   long do you need, Dr. Waldum?
   9                  THE WITNESS:    I need not more than five
  10   minutes.      I hope we --
  11                  MS. DU PONT:    Okay.   Five minutes it
  12   is.
  13                  THE WITNESS:    -- we go on -- maybe we
  14   go on more discuss histology, pathology and some --
  15                  MS. DU PONT:    Yes, we're going to get
  16   into the --
  17                  THE WITNESS:    I hope we come to that
  18   question.
  19                  MS. DU PONT:    -- substance very
  20   quickly.
  21                  THE WITNESS:    Yeah.
  22                  MS. DU PONT:    Okay.   Okay.   Let's go
  23   off the record.
  24                  THE VIDEOGRAPHER:    The time is
  25   7:18 a.m.     We are off the record.



 Golkow Litigation Services                                      Page 62
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 63 of 328

   1                              * * *
   2                 (Whereupon, there was a recess in the
   3   proceedings from 7:18 a.m. to 7:33 a.m.)
   4                              * * *
   5                 THE VIDEOGRAPHER:     The time now is
   6   7:33 a.m.    We are back on.
   7   BY MS. DU PONT:
   8           Q.    Before the break, we looked at a number
   9   of emails between you and Dr. Mjønes, and I just
  10   want to get a rough sense.       How many emails did you
  11   provide to counsel for Mr. Baudin?
  12           A.    You have seen them.      I don't know
  13   exactly how many.
  14           Q.    Can you give me an approximate amount?
  15           A.    Five to ten.
  16           Q.    Well, I know it was more than that
  17   because we got more than that --
  18           A.    You think so?
  19           Q.    -- yesterday.
  20                 MS. DU PONT:     I'm just going to request
  21   on the record, John and -- and Mike, that you
  22   provide a privilege log, because there's an
  23   indication that not all of the emails were turned
  24   over.   To the extent you received emails from
  25   Dr. Waldum, can you just provide a log as to why



 Golkow Litigation Services                                    Page 63
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 64 of 328

   1   they -- any were withheld from us?
   2                 MR. RESTAINO:     Yes, we can -- we can
   3   provide the log.     If you look at your request, you
   4   specifically requested emails between Dr. Waldum
   5   and -- and Dr. Mjønes regarding the pathology here.
   6                 There are emails, as you can well
   7   imagine, between the two of them having to do with
   8   articles they are coauthoring.        And in some of
   9   those articles, there's other coauthors that are
  10   being sent out.     We did not provide those, as you
  11   can well imagine.
  12                 So those emails having to do with the
  13   pathology in this case as in the request to produce
  14   were provided.
  15                 MS. DU PONT:     I think it also said "or
  16   regarding the subject matter of this litigation."
  17   I'm reading the -- the deposition notice
  18   differently than you.
  19                 MR. RESTAINO:     Yes, which is why --
  20                 MS. DU PONT:     It was the pathology or
  21   the subject matter of the litigation.
  22                 MR. RESTAINO:     Which is why we provided
  23   the emails regarding her request or need for the
  24   university to have a consent to send the documents
  25   and the -- the billing.      So all that was provided.



 Golkow Litigation Services                                    Page 64
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 65 of 328

   1                 Again, the only ones that were withheld
   2   are the ones that did not have to do with this
   3   litigation, but were emails between them having to
   4   deal with other articles that they are working on
   5   together.
   6                 MS. DU PONT:     Okay.   We can discuss
   7   that off the record.      I don't want to eat up my
   8   time.
   9                 MR. RESTAINO:     Understood.
  10                 MS. DU PONT:     We may still want a
  11   privilege log, but -- but I'll talk to you about
  12   that off the record.
  13   BY MS. DU PONT:
  14           Q.    Did anyone else, Dr. Waldum, assist you
  15   with your report other than Dr. Mjønes?
  16           A.    I wouldn't say that she assisted me.
  17   She gave her report on pathology.        And I got
  18   advice -- and I got advice -- some advice from
  19   Restaino.    But otherwise, I have not.
  20           Q.    I didn't understand what you just said.
  21   I'm so sorry.     Can you repeat yourself?
  22           A.    Yeah.   Patricia Mjønes made a report on
  23   pathology, but she didn't participate in my expert
  24   report at all.     So I would not say that anybody --
  25           Q.    Let me ask a different question because



 Golkow Litigation Services                                    Page 65
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 66 of 328

   1   I understand what you're saying.        Did anyone assist
   2   you with your report in this case?
   3           A.    I got some information from John
   4   Restaino; otherwise, not.
   5           Q.    Okay.   Do you know any of AstraZeneca's
   6   experts in this litigation?
   7           A.    I know most of them.      Not in
   8   litigation, but I know all the experts during --
   9   for many, many years from AstraZeneca.         We are
  10   living in close countries, and I know -- knew many
  11   of them personal.
  12           Q.    Do you --
  13           A.    None -- none of these three.        Timothy
  14   Wang, I know --
  15                 THE REPORTER:     I'm sorry.
  16                 THE WITNESS:     -- actually --
  17                 THE REPORTER:     I didn't hear that name.
  18                 THE WITNESS:     Timothy Wang.     Timothy
  19   Wang.
  20   BY MS. DU PONT:
  21           Q.    Timothy Wang.     Oh, Timothy Wang.     Yes.
  22                 So you know Timothy Wang.       How do you
  23   know Dr. Wang?
  24           A.    Actually, he -- perhaps he -- he still
  25   has it.   But he got a professorship for -- here in



 Golkow Litigation Services                                    Page 66
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 67 of 328

   1   Trondheim some years ago as a guest professor.
   2   And -- and he has been involved in gastrin
   3   research, as I.      So I know him.    But -- but I don't
   4   think we have a good relationship because we have
   5   different views on everything.
   6           Q.    Okay.
   7           A.    Yeah.
   8           Q.    But do you respect him --
   9           A.    Yes.
  10           Q.    -- as a doctor?
  11           A.    Yes.
  12           Q.    And you agree he's one of the current
  13   leading worldwide gastroenterologists, correct?
  14                 MR. RESTAINO:     Objection to form.
  15                 THE WITNESS:     Yes.   In a way, most
  16   people would regard him as that.
  17   BY MS. DU PONT:
  18           Q.    Okay.    Would you regard him as a
  19   worldwide gastroenterologist expert?
  20                 MR. RESTAINO:     Objection to form.
  21                 THE WITNESS:     I'm a little doubtful
  22   after his report.
  23   BY MS. DU PONT:
  24           Q.    Okay.    Before -- in -- in your book,
  25   you describe him as the current leading worldwide



 Golkow Litigation Services                                    Page 67
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 68 of 328

   1   gastroenterologist.
   2           A.    Yeah, that is correct.      I -- I supposed
   3   to -- did write that.      And --
   4           Q.    Okay.
   5           A.    -- he then -- he then -- it was a
   6   leading article about following the many --
   7                 THE REPORTER:     About what?
   8                 THE WITNESS:     -- and the inference --
   9   inference of many on the research, and I completely
  10   agreed with him in that.
  11   BY MS. DU PONT:
  12           Q.    So when you wrote your book in -- or
  13   when you published your book in 2020, you believed
  14   that Dr. Wang was a current leading worldwide
  15   gastroenterologist, correct?
  16           A.    That's correct.
  17           Q.    Do you consider --
  18           A.    But -- but --
  19           Q.    -- him a leader in the -- sorry.
  20           A.    I -- I started to read -- to -- to
  21   write this book many years before it was
  22   published --
  23           Q.    Okay.
  24           A.    -- because -- yeah.      So, yes, 2015 I
  25   think I started the book.



 Golkow Litigation Services                                    Page 68
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 69 of 328

   1           Q.    You started the book in 2015, and you
   2   published it in 2020?
   3           A.    Yeah, that's correct, because it was --
   4   I -- I had an appointment with Bantam e-books, and
   5   they accepted the manuscript.       And I had to read
   6   the final proof, correction.       And then suddenly
   7   they said they wouldn't publish it, and then -- and
   8   that was after they had asked for -- for permission
   9   to publish something from a journal.
  10                 So I suppose I had been influenced by
  11   that.   So then I had to start the process again
  12   with another publisher.      So it takes time.
  13           Q.    Understood.
  14                 Do you believe Dr. Wang is a leader in
  15   the field of gastrin?
  16           A.    Not completely at this.      I -- I think
  17   that there are many errors in his report.
  18           Q.    In his expert report?
  19           A.    Yeah.
  20           Q.    Okay.   Do you know Dr. Miele?
  21           A.    No.
  22           Q.    Do you know Dr. Benjamin Musher?
  23           A.    No.
  24           Q.    Do you know Dr. Lysandra Voltaggio?
  25           A.    No.



 Golkow Litigation Services                                    Page 69
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 70 of 328

   1           Q.    Do you know Dr. Laurel Fisher?
   2           A.    No.
   3           Q.    Do you know Dr. Janice Lansita?
   4           A.    No.
   5           Q.    Do you know Dr. Marianne Mann?
   6           A.    No.
   7           Q.    Do you know Dr. Sheila Weiss?
   8           A.    No.
   9           Q.    Do you know Dr. Robert Gibbons?
  10           A.    By name, but I don't -- don't remember.
  11           Q.    Have you ever met him before?
  12           A.    I don't think so.
  13           Q.    So when you said earlier that you knew
  14   several of the --
  15           A.    From AstraZeneca?
  16           Q.    Yes.    You were talking about
  17   AstraZeneca, not the experts that were disclosed in
  18   this litigation?
  19           A.    That's correct.
  20           Q.    Okay.    Did you communicate with anyone
  21   other than Mr. Baudin's attorneys or Dr. Mjønes
  22   about this case and your opinions in this case?
  23           A.    No.
  24           Q.    Before we get into substance, I want to
  25   just try to make sure we're on the same page with



 Golkow Litigation Services                                    Page 70
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 71 of 328

   1   terminology.    If I say "gastric cancer," can we
   2   agree for the purpose of this deposition that it
   3   means gastric adenocarcinoma?
   4           A.    I should prefer that we use "gastric
   5   cancer."
   6           Q.    You'd prefer that I use "gastric
   7   cancer"?
   8           A.    Yes.
   9           Q.    So when I say "gastric cancer," what I
  10   am going to be referring to is gastric
  11   adenocarcinoma.      Do you understand that?
  12           A.    Yes.
  13           Q.    And if I'm talking about a specific
  14   type of gastric adenocarcinoma, such as cardia or
  15   noncardia, I'll specify that, okay?
  16           A.    Yes.    Okay.
  17           Q.    And if I'm talking about neuroendocrine
  18   tumors or carcinoids, I will specifically specify
  19   that, okay?
  20           A.    You should also include neuroendocrine
  21   carcinomas.
  22           Q.    And I will specify that as well, okay?
  23           A.    Yes.    Yes.
  24           Q.    And if I say "ECL cell hyperplasia,"
  25   can we agree that means enterochromaffin-like cell



 Golkow Litigation Services                                    Page 71
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 72 of 328

   1   hyperplasia?
   2            A.   Yes.
   3            Q.   And if I say "GERD," can we agree that
   4   means gastroesophageal reflux disease?
   5            A.   Yes.
   6            Q.   Now, Doctor, you're a medical doctor,
   7   right?
   8            A.   Yes.
   9            Q.   You're trained in internal medicine and
  10   gastroenterology, right?
  11            A.   Yes.
  12            Q.   And you're not licensed to practice
  13   medicine in the United States, correct?
  14            A.   Yes.   That's correct.
  15            Q.   You never have been licensed to
  16   practice medicine in the United States, correct?
  17            A.   Correct.
  18            Q.   And as I understand it, you're
  19   currently retired?
  20            A.   That's mainly correct, yes.
  21            Q.   But you still hold a title of professor
  22   of medicine in the department of clinical and
  23   molecular medicine in the Norwegian University of
  24   Science and Technology in Trondheim, Norway; is
  25   that right?



 Golkow Litigation Services                                    Page 72
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 73 of 328

   1            A.   That's correct.
   2            Q.   And you've held that position for 35
   3   years?
   4            A.   From '86.    1986.
   5            Q.   1986.
   6                 And what are your current
   7   responsibilities as professor of medicine in
   8   that -- at the Norwegian University of Science and
   9   Technology?
  10            A.   Nowadays, I have a little teaching, but
  11   mainly they expect me to write papers.
  12            Q.   So you're currently not treating
  13   patients, correct?
  14            A.   I -- I stopped treating patients one
  15   year ago -- or one and a half year ago.
  16            Q.   You said, one and a half years ago you
  17   stopped treating patients?
  18            A.   Correct.
  19            Q.   Okay.   And besides your professorship
  20   role and serving as an expert for Mr. Baudin, do
  21   you have any other professional roles right now?
  22            A.   I'm -- I'm -- as I said, I'm writing a
  23   lot, that I hadn't time to write during -- when I
  24   was occupied at the hospital.
  25            Q.   So you were -- you used to be the head



 Golkow Litigation Services                                    Page 73
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 74 of 328

   1   of the department of gastroenterology and
   2   hepatology at St. Olavs Hospital, right?
   3            A.   That's correct.
   4            Q.   And your CV -- and I'm happy to pull it
   5   up, if you want -- says that you stopped being the
   6   head of the department in 2013; is that right?
   7            A.   Yes.
   8            Q.   And then you were a senior consultant
   9   until 2018?
  10            A.   Yes.    And afterwards, I have been doing
  11   endoscopy in a private hospital.
  12            Q.   What private hospital were you doing
  13   endoscopy?
  14            A.   Aleris.    It --
  15            Q.   Can you spell that?
  16            A.   A-L-E-R-I-S.
  17            Q.   How many hours --
  18            A.   It --
  19            Q.   -- a week were you doing that?
  20            A.   It varied, but four or five days a
  21   month.
  22            Q.   And you didn't include that on your CV,
  23   correct?
  24            A.   No, I didn't.
  25            Q.   Why not?



 Golkow Litigation Services                                    Page 74
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 75 of 328

   1           A.    I didn't think it was import --
   2           Q.    Okay.
   3           A.    -- important.
   4           Q.    So other than the endoscopies that you
   5   were doing at the Aleris Hospital four to five days
   6   a month -- when -- when -- well, let me ask you
   7   this.   Let me withdraw my prior question.
   8                 When was the last time you did an
   9   endoscopy at Aleris Hospital?
  10           A.    It was the last day of June, one and a
  11   half or two years ago.      It was 18 months ago.      No.
  12           Q.    Okay.
  13           A.    Yeah.
  14           Q.    So in 2020?
  15           A.    Yes.
  16           Q.    And --
  17           A.    June the -- June the 30th.
  18           Q.    June the 30th of 2020.      That's helpful.
  19                 So when you -- when you became a senior
  20   consultant at St. Olavs Hospital, how did your role
  21   as a doctor change?
  22           A.    When I stopped or when I became the
  23   head of the department?
  24           Q.    Let me -- let me ask a different
  25   question.



 Golkow Litigation Services                                    Page 75
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 76 of 328

   1           A.    Yes.
   2           Q.    Let's start with when you were the head
   3   of the department.     Up until 2013, as the head of
   4   the department at St. Olavs --
   5           A.    Yes.
   6           Q.    -- describe your responsibilities there
   7   for me.
   8           A.    I evaluated all the applications for
   9   the unit.    I -- I looked at patients at other
  10   departments.    I did endoscopy at least one day a
  11   week.   I had ambulatory patients for five hours a
  12   week.   And I was supervising one of the intern --
  13   about -- a unit of about 15 patients -- 15 beds it
  14   was divided by.
  15                 So I had a lot -- a lot to do there.
  16   So that's what -- but I -- during this time, I
  17   had -- and I had the research going on, and so I
  18   had a lot to write.      And I stopped -- that I could
  19   write on when stopping as a senior consultant,
  20   because I got more time -- spare time.
  21           Q.    Okay.   So in -- up until 2013, when you
  22   were both a professor at Norwegian University and
  23   also the head of the department at St. Olavs
  24   Hospital, can you break down for me how much time
  25   you spent on research and writing, how much time



 Golkow Litigation Services                                    Page 76
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 77 of 328

   1   you spent on administrative work versus teaching
   2   and treating patients.        So break down your time
   3   between those four areas.
   4            A.   Yes.    I think I worked 60 hours a week.
   5   I did administration 10 times a week -- 10 -- 10
   6   hours a week; clinical work, including endoscopy,
   7   25 hours a week; and what is left for research and
   8   writing papers, 15 hours.
   9            Q.   Another -- 15 hours?      So I think that
  10   adds up to 50 hours, though.
  11            A.   Yeah.
  12            Q.   And how about teaching?
  13            A.   5 hours a week.      Did you add it?
  14            Q.   So I -- that adds up to, I think, 55
  15   hours.    So I have administrative work, 10 hours;
  16   clinical, including endoscopies, for 24 hours;
  17   research and writing for 15 hours; and teaching for
  18   5 hours.
  19                 MR. RESTAINO:      I -- I believe he said
  20   25 hours for research.
  21   BY MS. DU PONT:
  22            Q.   Oh.
  23            A.   Yes.    Yeah.
  24            Q.   Sorry.    Misheard you.    So that's --
  25   that adds up to 65 hours a week?



 Golkow Litigation Services                                    Page 77
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 78 of 328

   1           A.    That -- that is -- that is too much.
   2           Q.    Okay.
   3           A.    There should be about -- about --
   4           Q.    Where do you want to cut down on the
   5   time?
   6           A.    60 hours a week would -- would be
   7   enough, I think.      Of course, I did work in
   8   weekends.
   9           Q.    Right.
  10           A.    It included that.     I did write --
  11           Q.    Would you think you spent more time
  12   research and writing or on your clinical work in a
  13   given week?
  14           A.    No.    I did more on the -- on the
  15   clinical work.
  16           Q.    Okay.    Once you retired from the head
  17   of the department and you became a senior
  18   consultant, how did your responsibilities change?
  19           A.    I had no more administration at the
  20   hospital.    And -- so I -- I probably also reduced
  21   my clinical work.      I continued with the endoscopy
  22   and the ambulatory patients.       So let us say -- say
  23   15 hours' clinical work and the rest --
  24           Q.    You said 15 hours of clinical work?
  25           A.    Yes.



 Golkow Litigation Services                                    Page 78
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 79 of 328

   1            Q.   Okay.
   2            A.   And I reduced the total work from 60 to
   3   50 hours a week, I suppose.
   4            Q.   And then when --
   5            A.   I continued -- and I continued the
   6   teaching and the research.
   7            Q.   Okay.    And when you stopped being a
   8   senior consultant in 2018, your clinical work
   9   stopped except for the four to five days a month
  10   where you did endoscopy at Aleris --
  11            A.   Yes.
  12            Q.   -- is that accurate?
  13            A.   Yes.
  14            Q.   Did you perform any other GI
  15   procedures, other than endoscopies, in your role as
  16   the head of the department?
  17            A.   At Aleris?
  18            Q.   Yes.    No, no, no.
  19            A.   It was --
  20            Q.   Sorry.    At -- at St. Olavs?
  21            A.   Procedure, it was only endoscopy --
  22            Q.   Okay.
  23            A.   -- because I had so many -- many things
  24   to do.    I couldn't take part in much of the other
  25   things.    But, of course, I knew what was going on



 Golkow Litigation Services                                    Page 79
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 80 of 328

   1   and the methods.
   2            Q.   Did you, in your role at St. Olavs,
   3   treat patients with erosive esophagitis?
   4            A.   Of course.    Yes.   A prevalent disease
   5   and particularly for old people doing endoscopy.
   6            Q.   How did you treat erosive esophagitis?
   7   What was your recommended treatment?
   8            A.   It depend -- it depended.       It depends
   9   on the severity.     Where in severe cases, I started
  10   with PPIs.    Less severe cases, I start -- started
  11   with histamine-2 blockers.       And -- and also advice
  12   on lifestyle and so on.
  13                 THE REPORTER:     Say that last part
  14   again.
  15                 THE WITNESS:     And, also, patients got
  16   information how to change their lifestyle.
  17   BY MS. DU PONT:
  18            Q.   So you did prescribe PPIs for erosive
  19   esophagitis or healing of erosive esophagitis in --
  20   in some cases?
  21            A.   Yes.   I -- I took care of the age of
  22   the patients.     More often, PP -- more often, PPIs
  23   to old people than to young people.
  24            Q.   And why was that?
  25            A.   Because cancer is a long-term event.



 Golkow Litigation Services                                    Page 80
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 81 of 328

   1   So if you're old, you probably will not develop any
   2   cancer or erosion.      You have a risk for it by the
   3   treatment.
   4           Q.    When was --
   5           A.    You will die -- you will die before you
   6   get it.
   7           Q.    When was the last time you prescribed a
   8   PPI?
   9           A.    I suppose it must be on the last day at
  10   Aleris.   I haven't prescribed anything else.
  11           Q.    So you said it was the last day at
  12   which hospital?
  13           A.    Aleris, where -- where I did the
  14   endoscopy.
  15           Q.    So the last time you prescribed a PPI
  16   was in 2020, when you stopped --
  17           A.    Yes.
  18           Q.    -- practicing medicine?
  19           A.    Yeah.    Yes.
  20           Q.    Did you prescribe PPIs to treat GERD?
  21           A.    Yes.
  22           Q.    And --
  23           A.    I -- I said GERD with severe
  24   esophagitis.    I would not -- if I didn't see
  25   anything -- esophagitis, I would not go -- would



 Golkow Litigation Services                                    Page 81
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 82 of 328

   1   not use PPIs.
   2            Q.   What would you use in the less severe
   3   cases?
   4            A.   H2 blockers.
   5            Q.   What if the H2 blockers were -- did not
   6   work?    Would you prescribe a PPI for those cases?
   7            A.   It would depend on the -- it would
   8   depend on the age.     But, also, then I would send
   9   the patients to -- to measure esophageal pH to see
  10   if it was really related to reflux, because many
  11   patients have symptoms from this area without
  12   having reflux.     So I would secure a diagnosis.
  13            Q.   So in those cases, you would send the
  14   patient who was not --
  15            A.   To 24 --
  16            Q.   -- responding to --
  17            A.   To 24 over --
  18                 MR. RESTAINO:     Let her finish her --
  19   her question.
  20   BY MS. DU PONT:
  21            Q.   Yeah, let me -- let me just finish what
  22   I'm asking.
  23                 So in cases where the patient didn't
  24   respond to an H2-RA blocker, you would send them to
  25   pH testing to see if they, in fact, had reflux?



 Golkow Litigation Services                                    Page 82
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 83 of 328

   1           A.    Yes.
   2           Q.    Any other alternatives that you would
   3   prescribe, other than H2-RAs and PPIs, to patients
   4   with symptomatic GERD?
   5           A.    If it was very seldom, perhaps I would
   6   use antacids.
   7           Q.    In what circumstances would you use
   8   antacids?
   9           A.    If -- if they had GERD episodes very
  10   seldomly, I would prefer antacids as the first
  11   treatment --
  12           Q.    Okay.
  13           A.    -- instead of continuous treatment.
  14           Q.    Did you describe PPIs for gastric
  15   ulcers associated with NSAIDs?
  16           A.    No.
  17           Q.    What would you prescribe for that
  18   condition?
  19           A.    It depends on -- on what type of --
  20   whether it's antiplatelet agents or whether it is
  21   anticoagulation drugs and so on.        And some, I would
  22   not treat at all.     Some, I would treat with H2
  23   blockers.
  24           Q.    Okay.   Did you prescribe PPIs for
  25   H. pylori eradication to reduce the risk of



 Golkow Litigation Services                                    Page 83
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 84 of 328

   1   duodenal ulcer recurrence?
   2           A.    Yes.
   3           Q.    And just as background, H. pylori
   4   occurs when the H. pylori -- sorry.        An H. pylori
   5   infection occurs when H. pylori bacteria infects
   6   one's stomach, right?
   7           A.    Yes.
   8           Q.    And that can cause peptic ulcers,
   9   correct?
  10           A.    It's the main cause of peptic ulcer.
  11           Q.    And it's also a cause of gastric
  12   cancer, correct?
  13           A.    Yes.
  14           Q.    And it can cause inflammation in the
  15   stomach, which is known as "gastritis," correct?
  16   The H. pylori can cause inflammation?
  17           A.    What?
  18           Q.    The -- the H. pylori can cause
  19   inflammation in the stomach and lead to gastritis,
  20   right, or gastritis is the inflammation?
  21           A.    Yes.
  22           Q.    And H. pylori is a known carcinogen,
  23   correct?
  24           A.    Yes.
  25           Q.    And PPIs are --



 Golkow Litigation Services                                    Page 84
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 85 of 328

   1            A.   It is -- it is not a direct carcinogen,
   2   but it -- the inflammation predisposes to gastric
   3   ulcer.    But it is -- nobody has shown any factor in
   4   H. pylori that causes gastric cancer without having
   5   caused atrophic gastritis in the oxyntic mucosa.
   6                 THE REPORTER:     Can you say that last
   7   part again, please.
   8                 THE WITNESS:     Nobody has shown that
   9   H. pylori causes gastric cancer without having
  10   caused atrophic oxyntic gastritis.        Did you catch
  11   it?
  12   BY MS. DU PONT:
  13            Q.   Yes.
  14                 You would agree with me that PPIs are a
  15   component of several first-line and salvage therapy
  16   regimens for H. pylori infection, right?
  17                 MR. RESTAINO:     Objection to form.
  18                 THE WITNESS:     What did you say?
  19   BY MS. DU PONT:
  20            Q.   PPIs are a component of first-line
  21   therapy for treating an H. pylori infection,
  22   correct?
  23            A.   Yes.   Yes.   Yeah.
  24            Q.   And they are also a component of
  25   salvage therapy regimens for H. pylori infection,



 Golkow Litigation Services                                    Page 85
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 86 of 328

   1   correct?
   2           A.    What do you mean with "salvage"?
   3           Q.    Not --
   4           A.    Do you mean --
   5           Q.    Second-line.
   6           A.    You mean -- you mean -- you mean
   7   ulcers?    You mean a peptic ulcer?
   8           Q.    I mean second-line.      Second-line
   9   therapy.
  10           A.    Yeah.    I would say if you mean
  11   different antibiotics combined with PPI, then I
  12   would say yes.
  13           Q.    Okay.    Okay.   When was the last time
  14   you prescribed a PPI as part of treatment or
  15   therapy for H. pylori?
  16           A.    It must have been in the spring of
  17   2020.
  18           Q.    Have you used a PPI to treat
  19   pathological hypersecretory conditions, including
  20   Zollinger-Ellison syndrome?
  21           A.    Yes.
  22           Q.    When was the last time you prescribed a
  23   PPI for this?
  24           A.    I can't say exactly.      It's a seldom
  25   disease.     Carcinoma is so seldom, so I can't say



 Golkow Litigation Services                                    Page 86
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 87 of 328

   1   which year.    But it's some years ago.
   2           Q.    Okay.    People with Zollinger-Ellison
   3   syndrome often have to take doses -- high doses of
   4   PPIs, right?    Yes?
   5           A.    Yes.
   6           Q.    And they often have to take PPIs long
   7   term, correct?
   8           A.    Yes.
   9           Q.    Are there any alternative treatments,
  10   other than PPIs, that you'd prescribe to patients
  11   with Zollinger-Ellison syndrome?
  12           A.    With surgery and -- you know, there are
  13   two types of gastrinomas, those connected to a
  14   genetic error, multiple endocrine neoplasia --
  15                 THE REPORTER:     Can you say that again,
  16   please.
  17                 THE WITNESS:     Multiple endocrine
  18   neoplasia type 1.      And the other one is called
  19   sporadic gastrinomas.      They are not connected to
  20   any genetic disease, and these patients may be
  21   cured by removing the gastrinoma.        So they need not
  22   long-term PPI treatment because they get normal
  23   gastrin and thus, therefore, no more
  24   hypersecretion.      So -- and then -- yes.     Did you
  25   catch it?



 Golkow Litigation Services                                    Page 87
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 88 of 328

   1   BY MS. DU PONT:
   2           Q.    Yes.   I -- I don't know if the -- the
   3   court reporter is nodding.       Okay.
   4                 Doctor, you're familiar with Barrett's
   5   esophagus?
   6           A.    Yes.
   7           Q.    And that can be a complication of GERD,
   8   correct?
   9           A.    Yes.
  10           Q.    Did you prescribe PPIs for patients
  11   that were suffering from Barrett's esophagus?
  12           A.    I did, but I was always a little
  13   reluctant, because I was not sure that they had --
  14   that they were effective in -- in preventing
  15   cancer.    But I did use it because it was old --
  16                 THE REPORTER:     It was what?
  17   BY MS. DU PONT:
  18           Q.    Because it was what?
  19           A.    Old -- it was a general treatment of
  20   Barrett's esophagus.
  21           Q.    What alternatives other than PPIs were
  22   there for patients with Barrett's esophagus?
  23           A.    It would be no other treatment, because
  24   these patients, they do not have GERD symptoms
  25   anymore because of the mucosa in the lower part of



 Golkow Litigation Services                                    Page 88
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 89 of 328

   1   the esophagus.     It's resistant towards acid.
   2   It's -- so they often have no symptoms anymore when
   3   they have developed Barrett's esophagus.
   4            Q.   So there was no alternative to PPI to
   5   treat a patient with Barrett's esophagus?
   6            A.   It -- it could be surgery,
   7   fundoplication.
   8            Q.   Okay.   So -- let me change my question.
   9   There was no other prescription therapy available
  10   for patients with Barrett's esophagus, other than a
  11   PPI?
  12            A.   Correct.
  13            Q.   Now, PPIs can prevent bleeding in
  14   patients at high risk, such as those on blood
  15   thinners, like antiplatelet medications; do you
  16   agree?
  17            A.   Yes.
  18            Q.   Did you prescribe PPIs for bleed
  19   prophylaxis?
  20            A.   I was seldom involved in that.        But I
  21   suppose that the -- the cardiologists, they
  22   probably did it routinely when they had to put
  23   patients on anticoagulation treatment.
  24                 THE REPORTER:     "Anti" what treatment?
  25                 THE WITNESS:     Anticoagulation.



 Golkow Litigation Services                                    Page 89
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 90 of 328

   1                 THE REPORTER:     Thank you.
   2   BY MS. DU PONT:
   3           Q.    But you agree that it's appropriate to
   4   prescribe PPIs for bleed prophylaxis in the correct
   5   patient -- in the appropriate patient, correct?
   6           A.    In -- in some patients.
   7           Q.    Now, we just talked about a number of
   8   conditions for which you were prescribing PPIs.              In
   9   prescribing PPIs to your patients, did you
  10   regularly test their serum gastrin?
  11           A.    No.
  12           Q.    Did you do any other special testing on
  13   patients that you put on PPIs?
  14           A.    Serum gastrin and chromogranin A would
  15   be appropriate, I think, in young people.          But most
  16   of those people getting PPI for long term, they
  17   are -- as I said, they are so old that they
  18   probably will not get any cancer anyway, or that is
  19   not indicated.
  20                 But I mean that chromogranin A should
  21   be regularly determined in patients on long-term
  22   PPI, because they -- a chromogranin A, reflux long
  23   term, or 24-over gastrin indirectly, it -- they
  24   can -- chromogranin A is released from ECL cells
  25   and -- and reflecting the ECL cell number or



 Golkow Litigation Services                                    Page 90
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 91 of 328

   1   plasia -- hyperplasia.
   2            Q.   So if I'm understanding what you just
   3   said, you're suggesting that chromogranin A may be
   4   a test you could conduct in long-term PPI users,
   5   correct?
   6            A.   Yeah.
   7            Q.   But -- but you didn't conduct that test
   8   when you treated patients on PPIs, correct?
   9            A.   Young patients.
  10            Q.   You conducted it in young patients?
  11            A.   Yeah, but not old patients.
  12            Q.   What percentage of your -- of your
  13   patient population was young patients?
  14            A.   Very few on PPIs because I -- I felt
  15   that it was not correct to put young people on --
  16   on long-term PPI treatment.
  17            Q.   And when did you begin testing the very
  18   few young people that were on long-term PPI
  19   treatment for chromogranin A?
  20            A.   The best way was to take a sample
  21   before starting and then, for instance, six months
  22   later.
  23            Q.   Okay.   When you treated patients for
  24   the various conditions we've been talking about,
  25   did you ever counsel them on ways to prevent



 Golkow Litigation Services                                    Page 91
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 92 of 328

   1   gastric cancer?
   2           A.    I didn't say to them that they had an
   3   increase in gastric cancer.       I did not tell them
   4   that.
   5           Q.    I think my question is a little
   6   different.    Did you counsel them on ways they could
   7   prevent gastric cancer?      And let me give you an
   8   example.     By stopping smoking.
   9           A.    No.   I think that's the -- smoking has
  10   such a minor influence on gastric cancers, so I
  11   didn't do that.
  12           Q.    Did you counsel them that they could
  13   prevent gastric cancer by managing their underlying
  14   health conditions, such as GERD?
  15           A.    Yes, I -- I gave them advice how to --
  16   to change life --
  17           Q.    What advice would you give them?
  18           A.    To sleep with the bed with the head
  19   high and their chest high and avoid meals in the
  20   evening before going to bed and alcohol in the
  21   evening.     Such -- such lifestyle advices I gave.
  22           Q.    And if you had a patient with
  23   H. pylori, would you counsel them to eradicate the
  24   H. pylori?
  25           A.    Always.



 Golkow Litigation Services                                    Page 92
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 93 of 328

   1           Q.    Doctor, you're not an oncologist,
   2   correct?
   3           A.    That -- I'm not an oncologist, but I
   4   have expertise in carcinogenesis.
   5           Q.    But you're not formally trained in
   6   oncology, right?
   7           A.    No.
   8           Q.    And you would defer to an oncologist
   9   regarding the appropriate treatment for gastric
  10   cancer, correct?
  11                 MR. RESTAINO:     Objection to form.
  12                 THE WITNESS:     Yeah, but it is -- I -- I
  13   would send the patient to the surgeon if it could
  14   be operated.
  15   BY MS. DU PONT:
  16           Q.    You wouldn't conduct the -- the surgery
  17   to remove the gastric cancer, correct?
  18           A.    Not I.
  19           Q.    Okay.
  20           A.    But we have surgeons.
  21           Q.    Okay.    Doctor, do you belong to any
  22   professional organizations in gastroenterology?
  23           A.    Yes.
  24           Q.    What do you -- what organizations do
  25   you belong to?



 Golkow Litigation Services                                    Page 93
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 94 of 328

   1           A.    The Norwegian association and the
   2   American association.
   3           Q.    The American Gastroenterology
   4   Society --
   5           A.    Yes.
   6           Q.    -- AGA?    You do belong to the AGA,
   7   correct?
   8           A.    Uh-huh.    Since 1983.
   9           Q.    And you agree this organization
  10   provides guidance to doctors when it comes to
  11   treating GI conditions, correct?
  12           A.    Yes.
  13           Q.    Now, we already talked a little bit
  14   earlier about -- about the book you published in
  15   2020 entitled "The Influence of the Pharmaceutical
  16   Industry on Medicine, as Exemplified by Proton Pump
  17   Inhibitors."
  18           A.    Yes.
  19           Q.    And as I understand your book, it -- it
  20   basically explains how the medical and scientific
  21   communities have consistently rejected your
  22   theories on the ECL cell role in gastric
  23   carcinogenesis; is that correct?
  24                 MR. RESTAINO:     Objection to form.
  25                 THE WITNESS:     In a way.



 Golkow Litigation Services                                    Page 94
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 95 of 328

   1   BY MS. DU PONT:
   2           Q.    In a way.
   3           A.    But it is changing.
   4           Q.    It's changing.
   5           A.    Yes.
   6           Q.    But in your book, you describe in great
   7   detail how your publications have been rejected by
   8   numerous journals throughout the year, correct?
   9   Through the years?
  10           A.    Yes.
  11           Q.    And in this book, you talk about
  12   AstraZeneca, right?
  13           A.    Yes.
  14           Q.    And you said you started writing the
  15   book in 2015, correct?
  16           A.    Yes, about that time.
  17           Q.    And you published it in 2020, correct?
  18           A.    Yes.
  19           Q.    Prior to publishing the book, did you
  20   have any of the internal AstraZeneca documents that
  21   you've accessed in this litigation available to
  22   you?
  23           A.    No.
  24           Q.    Doctor, are you familiar with the term
  25   "evidence-based medicine"?



 Golkow Litigation Services                                    Page 95
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 96 of 328

   1           A.    Once more.
   2           Q.    Are you familiar with the term
   3   "evidence-based medicine"?
   4           A.    Yes.
   5           Q.    And are you aware that evidence-based
   6   medicine is the prevailing way doctors and
   7   scientists make clinical decisions?
   8                 MR. RESTAINO:     Object to form.
   9                 THE WITNESS:     History of medicine,
  10   there are a lot of examples where the majority has
  11   been wrong.
  12   BY MS. DU PONT:
  13           Q.    So you reject evidence-based medicine?
  14           A.    I do -- do not reject it, but I say
  15   that the majority has not always the correct
  16   answer.
  17           Q.    By -- so you're saying the majority or
  18   the mainstream might have a blind faith in
  19   evidence-based medicine?
  20                 MR. RESTAINO:     Objection to form.
  21                 THE WITNESS:     Yes.
  22   BY MS. DU PONT:
  23           Q.    Do you understand that in holding
  24   that -- that view, you're outside of the scientific
  25   and clinical mainstream?



 Golkow Litigation Services                                    Page 96
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 97 of 328

   1                 MR. RESTAINO:     Objection to form.
   2                 THE WITNESS:     My publication tells --
   3   my publications tell for themselves.         I think
   4   nobody has shown that anything what I have written
   5   have -- have disapproved what I've written.
   6   Nobody.
   7   BY MS. DU PONT:
   8            Q.   Can you say that again, because I don't
   9   think I understood.
  10            A.   Nobody has shown that all what I have
  11   written, all I have done, that there are any errors
  12   there.    It -- it would be quite easy, for
  13   instance -- we were talking about -- perhaps I -- I
  14   suppose we will be talking about what is sufficient
  15   for tumor classification.       And the expert you
  16   provided says that it is not indicated with any
  17   eosin staining, except hematoxylin-eosin staining.
  18   The method --
  19                 THE REPORTER:     Except what?    I'm sorry.
  20   Except what?
  21                 THE WITNESS:     Hematoxylin-eosin
  22   staining.     Hematoxylin-eosin staining, a method
  23   that was developed in the 1880s.        And -- and I
  24   think that it's time in a classification,
  25   particularly in gastric carcinomas, to -- to



 Golkow Litigation Services                                    Page 97
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 98 of 328

   1   specific staining, and it is peculiar for me that
   2   has not been done by others.
   3                 MS. DU PONT:     Okay, Doctor.    I'm -- I'm
   4   going to just move to strike your answer as
   5   nonresponsive.
   6   BY MS. DU PONT:
   7            Q.   Because my question was -- was merely
   8   that -- do you agree that -- that your views are
   9   outside of the scientific and clinical mainstream?
  10                 MR. RESTAINO:     Same objection.
  11                 THE WITNESS:     It -- it depends.     In
  12   U.S., probably.      But it -- in Europe, it's more in
  13   mainstream, I would say.
  14   BY MS. DU PONT:
  15            Q.   Okay.    Well, we'll -- we'll go through
  16   some of your publications in a bit.        You've
  17   published several articles since becoming an expert
  18   for plaintiffs in this case, correct?
  19            A.   Yes.
  20            Q.   And those articles often discuss PPIs,
  21   right?
  22            A.   Yes.
  23            Q.   And those articles often discuss your
  24   mechanistic theories related to gastric cancer that
  25   you are putting forth in this case, correct?



 Golkow Litigation Services                                      Page 98
Case 3:18-cv-01063-JWD-EWD
                       Helge Document
                             Waldum,99-12
                                      M.D.,04/27/22
                                             Ph.D. Page 99 of 328

   1           A.    That is correct, because they are the
   2   best theories.     For instance, Helicobacter pylori,
   3   nobody can explain why Helicobacter pylori
   4   continues to predispose to cancer after having
   5   induced atrophic gastritis, and then you have no
   6   more inflammation.
   7                 Wang claims that it is inflammation
   8   that causes the cancer, but it continues after the
   9   inflammation has stopped.
  10           Q.    So I simply --
  11                 MS. DU PONT:     And I'm going to move to
  12   strike your answer as nonresponsive.
  13   BY MS. DU PONT:
  14           Q.    But I just asked if the articles that
  15   you've published since being retained as an expert
  16   in this case -- or since serving as an expert in
  17   this case often discuss your mechanistic theories
  18   related to gastric cancer that you are putting
  19   forth in this case.      A simple "yes" or "no" answer
  20   is fine.
  21                 MR. RESTAINO:     Objection to form.
  22                 THE WITNESS:     Yes.
  23   BY MS. DU PONT:
  24           Q.    And in those articles, you have not
  25   disclosed that you are working on behalf of



 Golkow Litigation Services                                    Page 99
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 100 of 328

   1    plaintiff in this litigation in those publications?
   2            A.    I -- I have not received any money
   3    before in February of this year.         So I thought that
   4    I should -- should not disclose it.
   5            Q.    So you haven't disclosed it because you
   6    weren't paid until February of 2022?
   7            A.    Yes.
   8            Q.    And so if you publish an article on
   9    PPIs and gastric cancer going forward after
  10    February of 2022, you will disclose --
  11            A.    Yes.
  12            Q.    -- your -- and let me just finish my
  13    answer [sic].
  14                  -- you will disclose your -- your
  15    involvement in the PPI litigation, correct?
  16            A.    Yes.
  17            Q.    And -- and your reasoning for not
  18    disclosing -- so even though you worked and had
  19    access to internal AstraZeneca documents and
  20    reviewed medical records for plaintiff and had come
  21    to the opinion that PPIs cause gastric cancer in
  22    this litigation, you didn't disclose it just simply
  23    because you had not been paid, correct?
  24                  MR. RESTAINO:     Objection to form.
  25                  THE WITNESS:     In a way.     But -- but my



 Golkow Litigation Services                                      Page 100
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 101 of 328

   1    opinion is much longer duration than this
   2    litigation.    It -- it has been -- and I started in
   3    gastrin also before PPIs came up.         So it's just
   4    based upon what I have disclosed in the research.
   5    It's nothing to do with AstraZeneca.
   6                  Actually, I invited Håkan Larsson in
   7    the '80s to cooperate with me, and we had an
   8    article published together in 1988.          And my second
   9    candidate for Ph.D., Håkan Larsson was one of the
  10    authors.
  11                  So I have nothing -- I have -- I am not
  12    an enemy of AstraZeneca, but I -- so this is what I
  13    came up to, and I think still it is the best that
  14    exist concerning the theories of gastric
  15    carcinogenesis.
  16    BY MS. DU PONT:
  17            Q.    Doctor, you're not formally trained in
  18    pathology, correct?
  19            A.    That's correct.
  20            Q.    You don't work or you never worked in
  21    the department of pathology at the Norwegian
  22    University of Science and Technology, correct?
  23            A.    We -- we -- I established a laboratory
  24    in -- doing pathology in the NTNU laboratory.            And
  25    I -- I will read what I said about pathology in my



 Golkow Litigation Services                                      Page 101
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 102 of 328

   1    report.
   2            Q.    I just simply asked you -- I don't need
   3    you to read what's in your report --
   4            A.    Wait.    I will -- I will, nevertheless,
   5    say that I have expertise in -- in evaluation of
   6    stain and what sort of -- type of stain we should
   7    use to disclose the real etiology and the real --
   8    and the cellular comp of origin of the tumors.
   9                  And I think nobody has shown that
  10    there's anything wrong with it.         But they have,
  11    curiously, not repeated it.        That's strange.     That
  12    would have been very easy to -- to say that this is
  13    not the case.     It -- it would have -- if -- if
  14    nobody can repeat the studies.        But they haven't,
  15    in spite of all the studies we have published in
  16    the area.
  17            Q.    Okay.    Dr. Waldum, I understand that's
  18    your opinion.     I -- I would like you, if you could,
  19    please, just answer the questions that I'm asking.
  20    I have limited time today.        So please try your
  21    best.
  22                  And I -- I understand that we're doing
  23    this remotely, and it might be difficult sometimes
  24    to understand my questions.        But please try to
  25    answer the question I'm asking so that we can get



 Golkow Litigation Services                                      Page 102
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 103 of 328

   1    through the material today and I don't have to
   2    bring you back again, okay?
   3            A.    Okay.
   4            Q.    You -- you're not the person, though,
   5    that looks under the microscope at a patient's
   6    pathology and writes the pathology report, right?
   7            A.    Correct.
   8            Q.    And in this very case, you did not
   9    review Mr. Baudin's pathology, correct?
  10            A.    Correct.
  11            Q.    You asked a pathologist, your
  12    colleague, Dr. Mjønes -- Mjønes, to review
  13    Mr. Baudin's pathology, correct?
  14            A.    Correct.    Correct.
  15            Q.    And you would defer to her about her
  16    interpretation of the pathology, correct?
  17            A.    Correct.
  18            Q.    And in general, you would refer to a
  19    clinical pathologist similar to Dr. Mjønes on their
  20    interpretation of the pathology, correct?
  21            A.    In all my publications, I have had one
  22    clinical pathologist.
  23            Q.    Okay.
  24            A.    And I had cooperated with the best in
  25    the world, Julia Polak from -- at Hammersmith,



 Golkow Litigation Services                                      Page 103
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 104 of 328

   1    Jun Soga from Japan.      And they have agreed, you
   2    know, with my opinions and contributions.
   3                  THE REPORTER:     They have agreed with
   4    what?
   5    BY MS. DU PONT:
   6            Q.    And the --
   7            A.    So I'm not completely alone.
   8            Q.    And you -- you asked them to consult
   9    with you -- because you don't have enough
  10    specialized training in pathology, you'd defer to
  11    their expertise, correct?
  12            A.    Yes, I think that is correct.
  13            Q.    And you don't have a -- you don't have
  14    formal training or a degree in cancer biology,
  15    correct?
  16            A.    That's correct.
  17            Q.    You're not a biostatistician?
  18            A.    Correct.
  19            Q.    You're not a toxicologist?
  20            A.    That's correct.
  21            Q.    And you don't have -- you've never
  22    worked for the FDA or any regulatory body, correct?
  23            A.    I -- I was invited to FDA in 2000
  24    about over-the-counter PPI.
  25            Q.    And we'll talk about that in a bit, but



 Golkow Litigation Services                                      Page 104
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 105 of 328

   1    you weren't -- you've never been an employee of the
   2    Food and Drug Administration in the United States?
   3            A.    No.    No.
   4            Q.    Now, we talked a little earlier, and we
   5    marked as Exhibit 4 your expert report in this
   6    case.   And I know you -- you live in Norway, and
   7    you've never been an expert in -- in U.S.
   8    litigation before.      So I just want to make sure you
   9    understand that the opinions that you put forth in
  10    your expert report are the opinions that are
  11    disclosed now and are the opinions that you will
  12    offer at trial.      Do you -- do you understand that?
  13            A.    Yes.
  14            Q.    And you wrote a very lengthy report.
  15    It was 143 pages before even we're talking about
  16    the exhibits.     And you set that -- your opinions
  17    forth and the support for it in that lengthy
  18    report, right?
  19            A.    Yes.
  20            Q.    And this is my opportunity right now to
  21    ask you questions about that report.          Do you
  22    understand that?
  23            A.    That's good.
  24            Q.    You can't come up with new information
  25    at the time of trial about Mr. Baudin's case and



 Golkow Litigation Services                                      Page 105
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 106 of 328

   1    your opinions then, right?        This is my opportunity
   2    now.    Do you understand that?
   3             A.   If something new -- new, important
   4    information come up, if that must be -- and it is
   5    relevant for the -- for the case, that -- I -- I
   6    can take that with me.
   7             Q.   So what new information are you -- are
   8    you speaking about?
   9             A.   Articles in journals on these subjects,
  10    not written by me, but by others.
  11             Q.   Okay.
  12                  MR. RESTAINO:     Julie, this is John.       If
  13    I may interject, he started that sentence with
  14    "if."
  15                  MS. DU PONT:     Understood.
  16    BY MS. DU PONT:
  17             Q.   I understand what you're saying.
  18    You're saying, if new information in the medical
  19    literature comes out on PPIs and gastric cancer --
  20             A.   I may use it.
  21             Q.   -- you might respond to that at -- at
  22    trial?
  23                  And -- and I think we can maybe
  24    disagree about whether you'd be allowed to testify
  25    about that new information, but I understand your



 Golkow Litigation Services                                      Page 106
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 107 of 328

   1    point.
   2                  Other than new medical literature that
   3    might come out in the future, can you agree with me
   4    that all of your opinions and the support for it
   5    are set forth in your report?
   6             A.   Yes.
   7             Q.   So you're not offering an opinion about
   8    the Nexium labeling or warnings that go out to
   9    physicians and/or patients, correct?
  10             A.   Yes.
  11             Q.   And you're not offering an opinion --
  12    and -- and I just want to make sure that the record
  13    is clear.     Can you just confirm you're not offering
  14    an opinion about the Nexium labeling or warnings --
  15             A.   Is it about rebound --
  16             Q.   -- is that correct?
  17             A.   Is it about rebound acid hypersecretion
  18    or gastric cancer --
  19                  THE REPORTER:     Say that again.      If it's
  20    about what?
  21                  MS. DU PONT:     No.
  22                  THE WITNESS:     Is it about rebound acid
  23    hypersecretion or gastric cancer or both?
  24    BY MS. DU PONT:
  25             Q.   I'm -- I'm -- let me ask a different



 Golkow Litigation Services                                      Page 107
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 108 of 328

   1    question.
   2                  There is labeling or information that
   3    is provided to physicians in the United States and
   4    sometimes to patients as well about Nexium.           Do you
   5    understand that?
   6            A.    Yeah.    Yes.
   7            Q.    You're not offering an opinion here
   8    today about whether that labeling and the warnings
   9    in that labeling are correct; is that true?
  10            A.    I -- I do not know what is the label,
  11    no.
  12            Q.    So the -- the information that is
  13    provided to physicians when they prescribe a
  14    medication in the United States is the labeling.
  15    Do you understand that?
  16            A.    Yes, I know -- yes.
  17            Q.    And what I'm asking is whether or not
  18    you're offering an opinion about whether that
  19    labeling that's provided to physicians in the
  20    United States is appropriate or not.
  21                  As I understand it, there are no
  22    opinions in your report about the labeling that is
  23    provided to physicians.
  24            A.    Okay.
  25            Q.    And I just want to confirm you're not



 Golkow Litigation Services                                      Page 108
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 109 of 328

   1    offering an opinion about that labeling.
   2            A.    Okay.
   3            Q.    You're not --
   4            A.    Correct.
   5            Q.    -- offering an opinion about the
   6    labeling, correct?
   7            A.    Yes.
   8            Q.    Correct?
   9            A.    Correct.
  10            Q.    And you're not offering an opinion
  11    about AstraZeneca's pharmacovigilant practice --
  12    pharmacovigilance practices, correct?          Do you
  13    understand my question?
  14            A.    I understood the question.        That is
  15    incorrect.
  16            Q.    So I didn't see any information in your
  17    report about AstraZeneca's pharmacovigilance
  18    practices.    So --
  19            A.    I didn't know that that was -- had
  20    anything to do with this case.
  21            Q.    So because it didn't have anything to
  22    do with this case, you aren't offering an opinion
  23    about AstraZeneca's pharmacovigilance practices,
  24    correct?
  25            A.    Correct.



 Golkow Litigation Services                                      Page 109
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 110 of 328

   1            Q.    And you're not offering an opinion that
   2    Nexium or any other PPIs should be taken off the
   3    market, correct?
   4            A.    That is correct.      But it should be --
   5    but it should be used carefully.
   6            Q.    The only -- you're offering opinions in
   7    this case about the mechanism by which you believe
   8    PPIs cause gastric cancer.        Do you understand that?
   9            A.    Correct.
  10            Q.    And as I understand it, your only
  11    opinion that you're offering on the mechanism by
  12    which you believe PPIs cause gastric cancer is
  13    through hypogastrinemia [sic] and ECL cell
  14    hyperplasia; is that correct?
  15            A.    Yes.
  16            Q.    And in this case, you are not offering
  17    an opinion on the role, if any, of PPIs in gastric
  18    cardia cancer, correct?
  19            A.    That is a problematic question.         The
  20    question of cardiac cancer is very difficult.
  21    Somebody would say that -- and not only me -- that
  22    cardiac cancers do not differ from cancers in the
  23    stomach, at other places of the stomach, and that,
  24    for instance, Barrett's esophagus, it -- it --
  25                  THE REPORTER:     What was that last word?



 Golkow Litigation Services                                      Page 110
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 111 of 328

   1                  THE WITNESS:     At Barrett's,
   2    B-R-R-R-E-T-T [sic].      Barrett's esophagus
   3    predisposes to esophageal cancer.         And because
   4    cardiac cancers and esophagus -- esophageal cancer
   5    in -- in distal or outer part of the esophagus
   6    are -- are lumped together, it is -- it is
   7    difficult to -- to be -- say yes or no or correct
   8    or incorrect in this case.
   9    BY MS. DU PONT:
  10            Q.    Okay.
  11            A.    Perhaps -- perhaps you know that the
  12    question of cardiac cancer came up in the '90s, and
  13    it was speculated that -- that these cancers are
  14    due to PPIs.     Do you know that?
  15            Q.    I'm asking the questions.
  16            A.    Yeah, yeah.
  17            Q.    And -- and let me just --
  18            A.    Yeah.    So -- so I will not answer
  19    correct or incorrect, because that question is --
  20    is too complex to give yes or no answer.
  21            Q.    Let me pull up, then, your report,
  22    which is Exhibit 4, and go to Page 52 of the
  23    report, which I believe is Page 53 of the PDF.
  24            A.    Yes.
  25            Q.    And do you see the last sentence in the



 Golkow Litigation Services                                      Page 111
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 112 of 328

   1    first paragraph under "Gastric Cancer"?
   2                  MS. DU PONT:     You need to scroll down a
   3    little bit.
   4                  THE WITNESS:     Nevertheless, the role
   5    of -- if any, of PPIs in cardiac
   6    carcinogenesis will not --
   7    BY MS. DU PONT:
   8            Q.    -- will not be covered in this report.
   9    Do you see that?
  10            A.    Yeah.
  11            Q.    So as I understood that sentence, I
  12    understood that sentence to mean that -- "The role,
  13    if any, of PPIs in cardiac carcinogenesis will not
  14    be covered in this report" means that you will not
  15    be talking about in this report or at trial the
  16    role of PPIs for cardia adenocarcinoma, correct?
  17            A.    Yes.    But you see, 2.8 percent of
  18    gastric carcinomas we are discussing, it's a very
  19    low number.    And -- and there are these carcinomas
  20    that many say are cardiac cancers, they are
  21    actually cancers of the esophagus; and, therefore,
  22    they are of no interest.       PPIs do not cause cancers
  23    in the esophagus.
  24            Q.    If I understood what you're -- you're
  25    saying correctly, you will not be addressing cardia



 Golkow Litigation Services                                      Page 112
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 113 of 328

   1    cancers in your report because you understand them
   2    to be esophageal cancers, and esophageal cancers
   3    are not caused by PPIs, correct?
   4            A.    Cardia cancers in -- in the -- at the
   5    stomach with -- surrounded by oxyntic mucosa
   6    should, as I see it, not be classified as cardia
   7    cancers, but as gastric cancers.
   8            Q.    That's not what this says in your
   9    report, Doctor.     This says that you're not going to
  10    be talking about PPIs in cardiac carcinogenesis.
  11            A.    That -- that is correct, but I mean
  12    that these cancers belong to gastric cancers at
  13    other places.     And -- and you have those cancers
  14    developing from Barrett's esophagus.          They are
  15    different.
  16            Q.    Cardia --
  17            A.    And --
  18            Q.    -- cancers are different than noncardia
  19    cancers, correct?
  20            A.    Cardiac cancers are different from --
  21    they -- they -- you have -- in this region, you
  22    have esophageal cancers that many believe that they
  23    are the same as cardiac cancers and -- although
  24    they may develop from esophagus.         And -- and
  25    when -- it is important to say whether this cancer



 Golkow Litigation Services                                      Page 113
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 114 of 328

   1    is in the cardiac region or the oxyntic region.
   2    And that is the reason why I wrote it like this.
   3            Q.    So I'm just trying to understand.          You
   4    are not offering an opinion about cardia gastric
   5    adenocarcinoma, correct?
   6                  MR. RESTAINO:     Object to form.
   7                  THE WITNESS:     I'm saying that cancers
   8    in -- at this location, there are different types.
   9    And those being -- those developing in oxyntic
  10    mucosa, they are -- that's -- they are like those
  11    developing in the oxyntic mucosa other places.
  12    Some -- some people would say that these are
  13    cardiac cancers.     It's -- it's the definition.
  14    BY MS. DU PONT:
  15            Q.    I'm just trying to understand what your
  16    opinion is here, because it seems pretty clear in
  17    the report that you drafted that -- and what I
  18    reviewed before to prepare for today, that you are
  19    not offering an opinion on the role of -- if any,
  20    of PPIs in cardia carcinogenesis.         That's what it
  21    says here, right?
  22            A.    Yes, but what is cardia cancers?
  23            Q.    What do you define as cardia cancer?
  24            A.    I would say that cancer developing in
  25    the oxyntic mucosa is an ordinary gastric cancer.



 Golkow Litigation Services                                      Page 114
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 115 of 328

   1            Q.    Even if --
   2                  MS. DU PONT:     Can we just take a break
   3    for a second?     Let's come back in ten minutes.
   4                  THE VIDEOGRAPHER:       The time now is
   5    8:43 a.m.    We are off the record.
   6                                * * *
   7                  (Whereupon, there was a recess in the
   8    proceedings from 8:43 a.m. to 8:58 a.m.)
   9                                * * *
  10                  THE VIDEOGRAPHER:       The time now is
  11    8:58 a.m.    We are back on the record.
  12                  MS. DU PONT:     Okay.    Can we pull up
  13    again Exhibit 4, which is his report, and go to
  14    Page 26.     Scroll down just a little bit.
  15    BY MS. DU PONT:
  16            Q.    Doctor, I'm referring you to Page 26 of
  17    your report, and in particular, Figure 1, which is
  18    the anatomy of the stomach.         Do you see that?
  19            A.    Yes.
  20            Q.    And do you see that Number 6 has a
  21    circle around a geographic location of the stomach
  22    which you have termed "Cardia"?
  23            A.    Yes.
  24            Q.    And if we could go to Page 27 of your
  25    report.



 Golkow Litigation Services                                      Page 115
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 116 of 328

   1             A.   But it's -- not all that is cardia
   2    there.    It is only the tiny ring.       That's cardiac
   3    mucosa.    You have --
   4             Q.   Doctor -- Doctor, let's just answer the
   5    questions I'm asking, okay?
   6             A.   Okay.
   7             Q.   You understand that there is a
   8    geographic location of the stomach that on the
   9    prior page -- and we can go back to Page 26 -- that
  10    you yourself in this report put a circle around and
  11    labeled "Cardia."      Do you see that?
  12             A.   I see that.
  13             Q.   Now, if we go to Page 27, or 28 of the
  14    PDF, you write in your report, again:          In the
  15    cardia, which has nothing to do with the heart but
  16    is the top region of the stomach and pyloric
  17    region.    Do you see that?
  18             A.   Yes.
  19             Q.   So you defined the cardia as the top
  20    region of the stomach and pyloric region.           Do you
  21    agree with me?
  22             A.   Pyloric region is at the opposite part
  23    of the stomach.      But you have mucous glands in the
  24    cardia.    It -- it is -- it has been disputed
  25    where -- where cardiac mucosa is at the metaplasia



 Golkow Litigation Services                                      Page 116
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 117 of 328

   1    or something normal --
   2            Q.    Doctor, I'm talking about cardia as a
   3    geographic location, which is how you depicted it
   4    on the prior page in Figure 1.        Do you agree you
   5    depicted the cardia as a geographic location?
   6            A.    Perhaps I -- I did that, but I mean
   7    that cardia is the tiny part of the upper stomach
   8    with cardiac mucosa that is gastric -- that is
   9    glands without oxyntic mucosa or the mucous glands.
  10            Q.    Doctor, go back to -- let's go back to
  11    Page 27.
  12            A.    Yes.
  13            Q.    Do you agree with me that you have put
  14    a picture in this report that has a circle and a
  15    Number 6 that you've labeled "Cardia" and is a
  16    geographic region of the stomach?         Do you agree
  17    with me?
  18            A.    Yes.   Yes, I agree I did that.        But you
  19    see the dark ring?      That is the cardiac mucosa.
  20            Q.    I'm not asking what the cardiac mucosa
  21    is.   I'm asking you what the cardia is, which is a
  22    geographic area of the stomach.         Do you understand
  23    that?
  24                  MR. RESTAINO:     Objection.     Asked and
  25    answered.



 Golkow Litigation Services                                      Page 117
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 118 of 328

   1                  THE WITNESS:     I would say that the ring
   2    is -- shouldn't have been so large because --
   3    BY MS. DU PONT:
   4            Q.    So now you're amending your report?
   5                  MR. RESTAINO:     Objection.
   6                  THE WITNESS:     Yes.
   7    BY MS. DU PONT:
   8            Q.    You're saying that this ring is wrong?
   9            A.    Yes.
  10            Q.    And go to the next page.        You're also
  11    saying that when you say cardia as the top region
  12    of the stomach, that's wrong, too?
  13            A.    No.
  14            Q.    So you agree with me that cardia is the
  15    top region of the stomach?
  16            A.    Yes.   But it doesn't include the
  17    esophagus.
  18            Q.    It's the top region of the stomach,
  19    which is separate from the esophagus, correct?
  20            A.    Yes.
  21            Q.    And now let's go back to Page 52, where
  22    you say:     Nevertheless, the role, if any, of PPIs
  23    in cardia -- cardiac -- which you just defined for
  24    me as the top region of the stomach -- will not be
  25    covered in this report.



 Golkow Litigation Services                                      Page 118
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 119 of 328

   1                  That is what you said, correct?
   2            A.    Yes.
   3            Q.    So you will not be covering in your
   4    report or testifying at trial about the role, if
   5    any, of PPIs in cardia, the top region of the
   6    stomach, carcinogenesis in this report, correct?
   7            A.    I -- I will come back to it --
   8            Q.    There's -- there's not time to come
   9    back to it.    I want to know if this statement in
  10    the report is true or not.        Are you -- are you
  11    taking it back now?
  12                  MR. RESTAINO:     Objection.
  13                  THE WITNESS:     I am -- I -- in this
  14    report, I am -- I will not come back to it.
  15    BY MS. DU PONT:
  16            Q.    In this report, you will not come back
  17    to the role of PPIs in cardiac carcinogenesis --
  18            A.    That's correct.
  19            Q.    -- and by "cardia," you mean the top
  20    region of the stomach, correct?
  21            A.    Correct.
  22            Q.    And so you're not offering an opinion
  23    in this report about the role, if any, of PPIs in
  24    cardiac carcinogenesis, correct?
  25                  MR. RESTAINO:     Objection.



 Golkow Litigation Services                                      Page 119
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 120 of 328

   1                  THE WITNESS:     Yes.
   2    BY MS. DU PONT:
   3            Q.    And by "yes," you mean correct?
   4            A.    Yes.    Correct.
   5            Q.    Okay.    Doctor, earlier, we were talking
   6    about the circumstances under which you prescribed
   7    PPIs.   Do you recall that?
   8            A.    Yes.
   9            Q.    And you said that you -- you
  10    prescribe -- you sometimes prescribe PPIs to young
  11    people.    Do you recall that discussion?
  12            A.    Yes.
  13            Q.    What do you mean by "young people"?
  14            A.    Below 50.
  15            Q.    50?
  16            A.    Yes.    Below --
  17            Q.    50 and under?
  18            A.    Yeah.
  19            Q.    And -- I'm glad I'm not -- I'm not --
  20    I'm still young.      Thank you.
  21                  MR. RESTAINO:      Let's not go there.
  22    BY MS. DU PONT:
  23            Q.    So when you said -- when you said you
  24    sent young people who had failed H2-RAs to get pH
  25    testing, if the pH testing comes back indicating



 Golkow Litigation Services                                      Page 120
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 121 of 328

   1    that GERD is actually happening, do you then
   2    prescribe the PPI to those patients?
   3            A.    Possibly.
   4            Q.    In what circumstances do you prescribe
   5    the PPI to a younger patient?        By that, you mean
   6    someone under 50.
   7            A.    Those having severe symptoms and their
   8    pH measurements shows that -- that this -- a
   9    synchrony between the symptoms and the reflux.
  10            Q.    Okay.    Do you ever recommend
  11    fundoplication surgery for -- for younger patients
  12    with GERD?
  13            A.    Yes.
  14            Q.    What's the failure rate of that
  15    surgery?
  16            A.    What is?
  17            Q.    The failure rate of that surgery?
  18            A.    What is -- once more.       What is the --
  19            Q.    What is the failure rate?
  20            A.    Failure.    There are a problem with such
  21    surgeries that more often have recurrence.           And
  22    some of the patients have some symptoms in
  23    swallowing.    They can throw up and so on.         So,
  24    therefore, there are problems also with the
  25    surgery.



 Golkow Litigation Services                                       Page 121
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 122 of 328

   1            Q.    And --
   2            A.    But -- yeah.
   3            Q.    -- how often do those problems occur?
   4    In what percentage of patients?
   5            A.    10, 20 percent perhaps.
   6            Q.    And when -- when that failure happens,
   7    do you have to place the patient back on a PPI?
   8            A.    Probably.
   9            Q.    In most circumstances when it fails, do
  10    you put them back on a PPI?
  11            A.    Yes.
  12            Q.    And when you're prescribing or when you
  13    did prescribe PPIs to all of your patients, did you
  14    warn them about the risk of gastric cancer?
  15            A.    I warn them that gastric juice is an
  16    important biological function, and taking away a
  17    biological function is never -- it has its risk,
  18    for instance, concerning infections in the gut and
  19    infections via the gut affecting the possibility of
  20    diseases at other places.       And I also mention that
  21    there is a small risk of gastric cancer.
  22            Q.    A small possible risk of gastric
  23    cancer?
  24            A.    Yes.
  25                  MS. DU PONT:     Okay.    You can take down



 Golkow Litigation Services                                      Page 122
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 123 of 328

   1    his report for now.
   2    BY MS. DU PONT:
   3            Q.    Doctor, you understand that PPIs have
   4    been on the market since 1989, right?
   5            A.    Yes.
   6            Q.    The first PPI to be approved was
   7    Prilosec or omeprazole in 1989, right?
   8            A.    Yes.
   9            Q.    And since --
  10            A.    Correct.
  11            Q.    And -- sorry.
  12                  And since then, there have been several
  13    other PPIs approved and put on the market, correct?
  14            A.    Correct.
  15            Q.    Are you familiar with the World Health
  16    Organization?
  17            A.    Correct.    Yes.
  18            Q.    And are you aware that omeprazole is on
  19    the World Health Organization's Model List of
  20    Essential Medicines?
  21            A.    No.
  22            Q.    Would it surprise you if it was on that
  23    list?
  24            A.    Yes.
  25                  MS. DU PONT:     Okay.    Why don't we pull



 Golkow Litigation Services                                      Page 123
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 124 of 328

   1    up Exhibit 7.
   2                  (WALDUM EXHIBIT 7, World Health
   3    Organization Model List of Essential Medicines,
   4    22nd List (2021), was marked for identification.)
   5                  MS. DU PONT:     And go to -- we'll mark
   6    that for the record, and go to Page 3 of the PDF.
   7    First of all, go back to the -- the cover page.
   8    Sorry.
   9    BY MS. DU PONT:
  10             Q.   You see that this is the World Health
  11    Organization Model List of Essential Medicines
  12    dated 2021?
  13             A.   Yes.
  14             Q.   And if we go to the third page, you'll
  15    note that this list presents a list of minimum
  16    medicines needs for basic healthcare system,
  17    listing the most efficacious, safe and
  18    cost-effective medicines for priority conditions.
  19    Do you see that?
  20             A.   Yes.
  21                  MS. DU PONT:     And if we go to Page 44
  22    of the PDF.
  23                  MR. GALLANT:     Julie, I'm sorry, can you
  24    drop this into the chat, or somebody drop --
  25                  MS. DU PONT:     Oh, sure.     I didn't



 Golkow Litigation Services                                      Page 124
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 125 of 328

   1    realize it hadn't been dropped.
   2                  Is it dropped in the chat now?
   3                  THE VIDEOGRAPHER:      I thought it was.
   4    Give me one moment.      I'm doing it now.
   5                  MS. DU PONT:     Okay.
   6                  THE VIDEOGRAPHER:      Sorry about that.
   7                  MR. GALLANT:     Thank you.
   8                  MS. DU PONT:     Okay.    It looks like it's
   9    in the chat now.
  10                  MR. GALLANT:     Yeah, I've got it.
  11                  MS. DU PONT:     Great.
  12                  Can we scroll down a little bit to the
  13    bottom of the page.
  14    BY MS. DU PONT:
  15            Q.    Doctor, do you see where it says
  16    "Gastrointestinal Medicines," and then 17.1 says
  17    "Antiulcer medicines," and under that is listed
  18    omeprazole?
  19                  MR. RESTAINO:     Sorry, Julie.      Is there
  20    a question pending?
  21    BY MS. DU PONT:
  22            Q.    I'm asking:     Do you see, Doctor, that
  23    omeprazole is listed here under "Gastrointestinal
  24    Medicines"?
  25            A.    Yes.



 Golkow Litigation Services                                      Page 125
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 126 of 328

   1             Q.   So omeprazole is on the list of WHO --
   2    or the WHO Model List of Essential Medicines,
   3    correct?
   4             A.   Ranitidine also.
   5             Q.   Right.    But omeprazole is also on the
   6    list -- is on the list, correct?
   7             A.   Yes.
   8                  MS. DU PONT:     Okay.    You can take that
   9    down.
  10    BY MS. DU PONT:
  11             Q.   Now, you know that PPIs, and in
  12    particular, Prilosec, was approved for
  13    over-the-counter use in the United States in 2003,
  14    correct?
  15             A.   Yes.    I participated in the meeting in
  16    FDA in 2000, and it was postponed one year, and
  17    then it was accepted.
  18             Q.   So Prilosec was approved for
  19    over-the-counter use in the United States in 2003,
  20    right?
  21             A.   Okay.
  22             Q.   Do you agree?
  23             A.   I know it is accepted.
  24             Q.   Okay.    And after that, FDA approved
  25    other PPIs, including Nexium, for over-the-counter



 Golkow Litigation Services                                      Page 126
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 127 of 328

   1    use, right?
   2            A.    Okay.    Correct.
   3            Q.    And PPIs have been approved for
   4    over-the-counter use in Norway by the Norwegian
   5    Medicine Agency, correct?
   6            A.    Yes.
   7            Q.    And PPIs are approved for use in
   8    children in the United States, correct?
   9            A.    Yes.
  10            Q.    And as we already discussed, PPIs are
  11    approved for a variety of serious medical
  12    conditions.    In fact, you've prescribed PPIs for
  13    several of those medical conditions, correct?
  14            A.    Correct.
  15            Q.    And in some instances, PPIs are more
  16    effective than the other available medications,
  17    correct?
  18                  MR. RESTAINO:     Object to form.
  19                  THE WITNESS:     You mean -- you mean
  20    GERD?   That is correct.
  21    BY MS. DU PONT:
  22            Q.    So let me just ask it.       PPIs are more
  23    effective than other -- other available medications
  24    to treat GERD, correct?
  25            A.    Correct.



 Golkow Litigation Services                                      Page 127
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 128 of 328

   1            Q.    Would you agree with me that PPIs
   2    should not be discontinued in patients with
   3    complicated GERD, such as those with a history of
   4    severe erosive esophagitis, esophageal ulcer or
   5    peptic stricture?
   6            A.    Yes.
   7            Q.    And --
   8            A.    Yeah, I -- I'll say yes.
   9            Q.    Okay.    And PPIs should not be
  10    discontinued in patients with Barrett's esophagus,
  11    correct?
  12            A.    There, I'm a little more reluctant.
  13    But it seems to be -- have an effect on Barrett's
  14    esophagus, so I'd say yes.
  15            Q.    The -- the AGA has recognized that PPIs
  16    should not be discontinued in patients with
  17    Barrett's esophagus, correct?
  18            A.    Yeah.    Correct.
  19            Q.    And, in fact, there are studies that
  20    show that PPI treatment significantly reduces the
  21    risk of esophageal adenocarcinoma and/or high-grade
  22    dysplasia in patients with Barrett's esophagus,
  23    correct?
  24            A.    There are two small studies -- two
  25    studies indicating a faint effect on PPI



 Golkow Litigation Services                                      Page 128
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 129 of 328

   1    treatment --
   2                  THE REPORTER:     Indicating a what
   3    effect?
   4    BY MS. DU PONT:
   5            Q.    So there are two --
   6            A.    So it is -- so it is correct that there
   7    are not much -- there are only two studies and
   8    showing a slight reduction in gastric cancer.
   9            Q.    But there are two studies that show a
  10    reduction in esophageal cancer --
  11            A.    Esophageal cancer, yeah.
  12            Q.    -- with a prescription of PPI --
  13            A.    Yeah.
  14                  MR. RESTAINO:     Wait for her to finish
  15    her question, if you would, Doctor.
  16    BY MS. DU PONT:
  17            Q.    So just so I have a clean record, there
  18    are two studies that show a reduction in esophageal
  19    cancer with the prescription of PPIs for Barrett's
  20    esophagus, correct?
  21            A.    Correct.
  22            Q.    And one of those studies was the AspECT
  23    trial, correct?
  24            A.    Probably.     Correct.
  25            Q.    And in that trial, high-dose PPI and



 Golkow Litigation Services                                      Page 129
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 130 of 328

   1    aspirin significantly and safely improved outcomes
   2    in patients with Barrett's esophagus, correct?
   3            A.    Yes.    Correct.
   4            Q.    PPIs should not be stopped in patients
   5    at high risk for upper GI bleeding, correct?
   6            A.    It depends -- I -- I would not say it's
   7    correct.     It depends on the cause of the bleeding
   8    and not just gas -- upper gastrointestinal
   9    bleeding.
  10            Q.    I don't think I understood what you
  11    said.   The -- it depends on what?
  12            A.    It -- it depends on the cause of the
  13    bleeding.
  14            Q.    The course?
  15            A.    The cause, what is causing the
  16    bleeding.
  17            Q.    Oh, what is causing the bleeding.          I
  18    understand --
  19            A.    Yeah.
  20            Q.    -- what you're saying.
  21                  But for some patients at high risk for
  22    upper GI bleeding, PPIs should not be stopped,
  23    correct?
  24            A.    For some patients, correct.
  25            Q.    And for which patients?        In what --



 Golkow Litigation Services                                      Page 130
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 131 of 328

   1    what patients should it not be stopped?
   2            A.    It -- it should not be stopped in
   3    patients with -- with bleeding from portal
   4    hypertension and so on.       But otherwise -- and
   5    having bled from the esophagus of esophagitis, I
   6    would say it should not be stopped.
   7                  But for gastric -- chronic gastric
   8    ulcers fortunately does not exist anymore because
   9    of the Helicobacter pylori eradication, and then
  10    you should eradicate Helicobacter pylori instead of
  11    continuing the patients on long-term treatment.            So
  12    it depends --
  13            Q.    Okay.
  14            A.    -- on the situation.
  15            Q.    Would you agree with me that users of
  16    PPIs tend to have more -- more comor -- let me
  17    just --
  18            A.    More --
  19            Q.    -- comorbidities than people that don't
  20    take PPIs?
  21                  MR. RESTAINO:     Objection to form.
  22                  THE WITNESS:     No, but I have never been
  23    involved or never believed in all these side
  24    effects outside the stomach.
  25    BY MS. DU PONT:



 Golkow Litigation Services                                      Page 131
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 132 of 328

   1            Q.    Maybe -- I'm going to ask the question
   2    a little differently because I'm not sure if you
   3    understood what I asked.
   4                  Do users of PPIs tend to be sicker than
   5    patients who don't use PPIs?
   6                  MR. RESTAINO:     Object to the form.
   7                  THE WITNESS:     No.   No.
   8    BY MS. DU PONT:
   9            Q.    No?    Okay.
  10                  MS. DU PONT:     Let's -- let's pull up
  11    Exhibit 13.
  12                  (WALDUM EXHIBIT 13, Article titled
  13    Hypergastrinemia and mortality in gastric
  14    adenocarcinoma:      a population-based cohort study,
  15    the HUNT study, was marked for identification.)
  16    BY MS. DU PONT:
  17            Q.    See that this is an article that you
  18    wrote, Dr. Waldum --
  19            A.    Yes.
  20            Q.    -- in -- just this year, right?
  21            A.    Yes.
  22            Q.    It was published online in -- on
  23    January 22nd, 2022?
  24            A.    Yes.
  25            Q.    Do you know if this will be published



 Golkow Litigation Services                                      Page 132
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 133 of 328

   1    in print eventually?
   2            A.    What?
   3            Q.    Do you know if this will eventually be
   4    published in print, or is it only an online
   5    journal?
   6            A.    This -- this will be printed?
   7            Q.    Yeah.    Will it be published in a
   8    printed journal, or is it just going to be online?
   9            A.    Yeah, a printed journal.        I will -- I
  10    will say it is already journal for ten years.
  11            Q.    Okay.    When will -- when will this come
  12    out in print?
  13            A.    I -- I suppose it would be printed in
  14    these days.
  15            Q.    Okay.    And when it comes out in print,
  16    do you plan to disclose that you're an expert in
  17    the PPI litigation?
  18            A.    I would have no problem with that.
  19    Because --
  20            Q.    So you do intend to disclose it?
  21            A.    Because this -- this manner -- this
  22    paper just shows that gastric cancer induced by
  23    hypergastrinemia is not more serious than gastric
  24    carcinoma induced by other causes.
  25            Q.    Okay.



 Golkow Litigation Services                                      Page 133
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 134 of 328

   1             A.   So it is -- it's -- it doesn't say
   2    anything about the risk of hypergastrinemia.           It
   3    is --
   4                  THE REPORTER:     It doesn't say anything
   5    about what?
   6                  THE WITNESS:     It -- it -- the
   7    hypergastrinemia causes cancer not more serious
   8    than other -- gastric carcinomas caused by other
   9    causes, like Helicobacter pylori.         That is how I
  10    would interpret that.
  11    BY MS. DU PONT:
  12             Q.   So you're saying that this study showed
  13    no association between hypergastrinemia and all --
  14    all caused mortality in patients with gastric
  15    adenocarcinoma?
  16             A.   That's correct.
  17             Q.   Okay.    And if we go to Page -- go
  18    ahead.
  19             A.   I'm sorry.     I -- and I drop it.
  20                  MS. DU PONT:     Okay.    If we go to Page 4
  21    of the article.     It might be a different page.
  22    Let's go to the next page.        There it is.     Sorry.
  23    Go back up.    Go back up.     Sorry.
  24    BY MS. DU PONT:
  25             Q.   In the -- in the right-hand column



 Golkow Litigation Services                                      Page 134
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 135 of 328

   1    here, in the middle of the -- of the paragraph
   2    where it says starts with "Hypergastrinemia"; do
   3    you see that, where the pointer is?
   4            A.    Yeah.
   5            Q.    You write --
   6            A.    Yeah.
   7            Q.    -- Hypergastrinemia is associated with
   8    use of PPIs and users tend to have more
   9    comorbidities which could impact mortality.           Do you
  10    see that?
  11            A.    Yes.
  12            Q.    So you agree with me that users of PPIs
  13    tend to have more comorbidities, correct?
  14            A.    Probably, yes.
  15            Q.    Okay.    So when you said earlier that
  16    you didn't think that users of PPIs had more --
  17    more comorbidities, you misspoke?
  18            A.    Due to PPI.     You asked me whether they
  19    had -- had side effects due to PPI outside the
  20    stomach.
  21            Q.    I guess I was asking something a little
  22    differently.     What I was asking is:       Are -- do
  23    patients who take PPIs, do they tend to be sicker,
  24    not do they get sick because of PPIs.          Do you
  25    understand now?



 Golkow Litigation Services                                      Page 135
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 136 of 328

   1             A.    Okay.   I -- I answered differently
   2    because I -- I thought that you meant that --
   3             Q.    Okay.
   4             A.    -- PPIs --
   5             Q.    So just so we have a clear record, you
   6    agree with me that people who take PPIs tend to
   7    generally be sicker, not because they take PPIs,
   8    but because they have more health conditions than
   9    people who do not?
  10             A.    I believe many doctors put them on PPIs
  11    when they are at the frail condition and -- and
  12    sicker.
  13             Q.    Okay.   Thank you.
  14                   MS. DU PONT:    Okay.    You can pull that
  15    down.    Let's pull back up his report and go to
  16    Page 26.      It's Exhibit 4, if that helps.       I'm
  17    sorry.    I didn't say that --
  18    BY MS. DU PONT:
  19             Q.    I just want to briefly talk through the
  20    anatomy of the stomach more than we already have.
  21                   Now, I know, just looking at Figure 1
  22    here, this doesn't really show much of the
  23    esophagus, but we can see maybe a little bit of it
  24    at the top of -- left-hand side of the picture.            Do
  25    you see it?



 Golkow Litigation Services                                      Page 136
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 137 of 328

   1            A.    Yes.
   2            Q.    And does the esophagus generally have
   3    squamous mucosa?
   4            A.    Yes.
   5            Q.    But when a person develops a condition
   6    called "Barrett's esophagus," it's my understanding
   7    that the squamous mucosa is replaced with tissue
   8    that looks more similar to the intestines or the
   9    stomach and that that's referred to as
  10    "metaplasia"; is that right?
  11            A.    That's correct.      Intestinal metaplasia,
  12    because you have goblet cells there.
  13            Q.    Right.    And this --
  14                  THE REPORTER:     I'm sorry.     Because you
  15    have what?
  16                  MS. DU PONT:     Goblet cells.
  17                  THE WITNESS:     Goblets --
  18                  THE REPORTER:     Thank you.
  19    BY MS. DU PONT:
  20            Q.    And this typically happens in patients
  21    with severe GERD, correct?
  22            A.    Yes.
  23            Q.    Now, the esophagus attaches to the
  24    stomach via the esophagogastric junction or cardiac
  25    orifice, correct?



 Golkow Litigation Services                                      Page 137
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 138 of 328

   1            A.    Yes.
   2            Q.    And the cardia, which is Number 6 here
   3    on the figure, has mucus-secreting cells, correct?
   4            A.    There -- in the cardia, there are
   5    mucous glands.     And the normal cardia is
   6    5 millimeter, only 5 millimeter, and -- and then
   7    you have oxyntic glands.
   8            Q.    So if I just heard you correct, the --
   9    the normal cardia in a patient is what?
  10            A.    5 millimeter.     5 millimeter in
  11    Caucasian.    Asian people have -- have been claimed
  12    to have 15 millimeter of mucous glands there.
  13            Q.    I'm sorry.     What type of people have
  14    15 millimeter?
  15            A.    People from Asia.
  16            Q.    People from Asia?
  17            A.    Yeah.
  18            Q.    Now, you would agree with me that
  19    "cardia" is sometimes used interchangeably with the
  20    term "proximal stomach," correct?
  21                  MR. RESTAINO:     Objection.
  22                  THE WITNESS:     Yes.   In -- in a way, it
  23    is.   But it is incorrect use.
  24    BY MS. DU PONT:
  25            Q.    It is a -- it is a correct use?



 Golkow Litigation Services                                      Page 138
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 139 of 328

   1            A.     No, not correct use.      Incorrect.
   2                   MS. DU PONT:    Okay.    Let's -- let's
   3    pull up Exhibit 16, then.
   4                   (WALDUM EXHIBIT 16, Article titled
   5    Gastritis, Gastric Polyps and Gastric Cancer, was
   6    marked for identification.)
   7    BY MS. DU PONT:
   8            Q.     So, Doctor, we've marked as Exhibit 16
   9    to this record an article by you and Dr. Fossmark
  10    entitled "Gastritis, Gastric Polyps and Gastric
  11    Cancer," published --
  12            A.     Yes.
  13            Q.     -- in the "International Journal of
  14    Molecular Sciences."      Do you see that?
  15            A.     Yes.
  16                   MS. DU PONT:    And if we could go to
  17    Page 5 of that article.       Hold on one second.
  18    Actually -- sorry.      Why don't we -- give me just
  19    one second.     Okay.   Yeah, go back to Page 5.       And
  20    if you can go a little bit further down, it's about
  21    halfway.     Stop.
  22    BY MS. DU PONT:
  23            Q.     Do you see where it starts:       The
  24    localisation of gastric carcinomas has been
  25    classified into proximal --



 Golkow Litigation Services                                      Page 139
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 140 of 328

   1            A.    Yeah.
   2            Q.    -- meaning those localised close to the
   3    cardia and distal as those localised to the rest of
   4    the stomach.     Do you see that?
   5            A.    Yes.
   6            Q.    That's what you wrote in an article --
   7            A.    You can -- you --
   8                  MR. RESTAINO:     Wait.
   9    BY MS. DU PONT:
  10            Q.    Sorry.    Let me finish my question.
  11                  That's what you wrote in an article
  12    published last year, correct?
  13            A.    It's correct, but you can continue and
  14    read more.
  15            Q.    But you agree with me, Doctor, that the
  16    geographic region of the cardia is referred to as
  17    the "proximal stomach," correct?
  18            A.    Yes, but I disagree.       You'll see in the
  19    next sentence.
  20            Q.    I understand that you think it's
  21    illogical, but you agree with me that the
  22    geographic location of the gastric -- sorry -- the
  23    geographic region of the cardia is referred to as
  24    the "proximal stomach" in medicine?
  25                  MR. RESTAINO:     Objection.



 Golkow Litigation Services                                      Page 140
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 141 of 328

   1                  THE WITNESS:     But this classification
   2    means both the cardia and the up part -- upper part
   3    of -- of the oxyntic mucosa, I would say.           I think
   4    that very few says that cardiac and -- and proximal
   5    gastric cancers, that many people would say that
   6    that's equally.
   7    BY MS. DU PONT:
   8            Q.    Can you repeat what you said?         Because
   9    I don't understand what you said.
  10            A.    Yeah.    I -- I think that many people
  11    saying about -- it's a lot of confusion related to
  12    this, to say that proximal gastric carcinomas,
  13    because some means that that is cancers occurring
  14    in the oxyntic mucosa and esophagus and -- and
  15    fundus, and others means that it's only the cardiac
  16    mucosa.    So this is not clear.
  17            Q.    So you weren't clear when you described
  18    the proximal --
  19            A.    I was clear.
  20            Q.    What?
  21            A.    I was clear.     But -- but I -- it has
  22    been classified into proximal, meaning of those
  23    localized close to the cardia, and distal is those
  24    localized to the rest of the stomach.          But -- but I
  25    would not agree, and it has -- you see, it has been



 Golkow Litigation Services                                      Page 141
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 142 of 328

   1    classified.
   2            Q.    Right.    But you agree that it -- that
   3    it has been classified --
   4            A.    Yes.
   5            Q.    -- by the medical community as --
   6            A.    Yes.
   7            Q.    -- cardia is the proximal stomach; you
   8    agree with that?
   9            A.    Yeah, but is illogical.
  10            Q.    I understand you think it's illogical.
  11    I'm just trying to understand.
  12                  Despite the fact that you think it's
  13    illogical, you agree with me that the medical
  14    community has classified the cardia as the proximal
  15    stomach?
  16                  MR. RESTAINO:     Objection to form.
  17                  THE WITNESS:     I think -- I -- I think
  18    it will differ.      It's not agreement.
  19    BY MS. DU PONT:
  20            Q.    I understand you don't agree with --
  21            A.    I -- I do not agree, but I think many
  22    would not agree.
  23            Q.    Okay.    Understood.    Okay.
  24                  But you would agree with me that the
  25    proximal stomach at least includes the cardia,



 Golkow Litigation Services                                      Page 142
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 143 of 328

   1    correct?
   2            A.    Yes.
   3            Q.    Now, if you -- let's go to Page 50 of
   4    your report.
   5                  MS. DU PONT:     You can take this down.
   6    There you go.     Is that Page 50?      Okay.
   7    BY MS. DU PONT:
   8            Q.    If we go to the second-to-the-last
   9    paragraph, you write:       Concerning the etiology of
  10    gastric cancer, the role of GERD should also be
  11    mentioned.    In this context the entity of gastric
  12    cardiac cancers is defined as those cancers located
  13    between 3 centimeters below and 2 centimeters above
  14    the gastroesophageal junction line is central.
  15                  Did I read that correctly?
  16            A.    Yes.
  17            Q.    And so as you've stated here in your
  18    report, the -- the entity of gastric cardiac
  19    cancers is defined as those cancers located between
  20    3 centimeters below and 2 centimeters above the
  21    gastroesophageal junction line, correct?
  22            A.    Yes.
  23            Q.    Now, if we go back to Page 26 again.
  24    You also have on this Figure 1 the fundus.           Do you
  25    see that?



 Golkow Litigation Services                                      Page 143
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 144 of 328

   1            A.    Yes.
   2            Q.    And you also have the body, correct?
   3            A.    Yes.
   4            Q.    And those two regions contain most of
   5    the acid-secreting cells of the stomach, correct?
   6            A.    Correct.
   7            Q.    Then you have the antrum?
   8            A.    Yes.
   9            Q.    And where is that on this picture?
  10    It's 8, right?     I don't see it on the picture.         Can
  11    you tell me where 8 should be on the picture?
  12            A.    It is the portion marked 10 --
  13            Q.    Okay.
  14            A.    -- I would say.      And you have a mix --
  15    you have oxyntic glands deeper into the antrum, as
  16    we previously thought.       It was also studied by
  17    Goldenring group about five years ago that
  18    described oxyntic glands deeper into the antrum
  19    before.    But at least the area where 10 should be
  20    completely antral mucosa.
  21            Q.    So as I understand it, the antrum, what
  22    you're saying is -- is 10 on the picture --
  23            A.    Yes.
  24            Q.    -- that's the part of the stomach which
  25    grinds stomach contents and pushes digested food



 Golkow Litigation Services                                      Page 144
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 145 of 328

   1    into the small intestine, right?
   2            A.    Correct.
   3                  MS. DU PONT:     Now, we can -- we can
   4    pull down his report for a second.
   5    BY MS. DU PONT:
   6            Q.    GERD, which we've been talking about
   7    already, occurs when stomach contents and gastric
   8    juice reflux upwards to the esophagus, right?
   9            A.    Correct.
  10            Q.    And there are many risk factors for
  11    GERD, correct?
  12            A.    Correct.
  13            Q.    And those include being obese or
  14    overweight, right?
  15            A.    Obesity predisposes to hiatal hernia, I
  16    would say.
  17            Q.    But obesity also predisposes you to
  18    GERD, correct?
  19            A.    Yeah, but it has a separate -- yes, I
  20    would say so; although, hiatal hernia is an
  21    important part of GERD.
  22            Q.    Right.    And -- and that's a separate
  23    risk factor for GERD, right, having a hiatal
  24    hernia, correct?
  25            A.    Yeah.    Yes.



 Golkow Litigation Services                                      Page 145
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 146 of 328

   1             Q.   And the gastric juice can damage tissue
   2    not designed to be exposed to acid, correct?
   3             A.   Correct.
   4             Q.   For example, it can damage the
   5    esophageal mucosa, right?
   6             A.   Correct.
   7             Q.   And gastric juice can even damage areas
   8    that are designed to be exposed -- that are
   9    designed to be exposed to acid, right?
  10             A.   Correct.    You have duodenal/gastric
  11    ulcer.
  12             Q.   And that occurs when there's increased
  13    gastric acidity, right?
  14             A.   Duodenal ulcer has increased gastric
  15    ulcer.    It has not increased, but because of -- you
  16    have gastritis with reduced ability to withstand
  17    gastric juice, you -- you get ulcers.
  18             Q.   And that's what --
  19             A.   So --
  20             Q.   -- you say in your -- I'm sorry.         I
  21    didn't mean to cut you off.
  22             A.   So duodenal ulcer increase acid
  23    secretion.    Gastric ulcer often reduced acid
  24    secretion.
  25             Q.   And you say in your report it can



 Golkow Litigation Services                                      Page 146
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 147 of 328

   1    damage the tissue because there's a reduction in
   2    defense mechanisms, right?
   3            A.    Yeah.    Correct.
   4            Q.    And GERD is a chronic health condition
   5    for many people; would you agree?
   6            A.    Yes.
   7            Q.    And if left untreated, it can have
   8    implications outside of the GI tract, correct?            And
   9    by that, I mean it can cause you to have a cough or
  10    worsen asthma.
  11            A.    Yes, if -- if you have very severe
  12    GERD.
  13            Q.    Now, we were talking earlier about
  14    Barrett's esophagus.      Would you agree with me that
  15    untreated GERD can cause Barrett's esophagus?
  16            A.    Correct.
  17            Q.    And Barrett's esophagus is a
  18    precancerous condition of the esophagus, right?
  19            A.    Correct.
  20            Q.    But it can eventually lead to
  21    esophageal adenocarcinoma if it is left untreated,
  22    correct?
  23            A.    Correct.
  24            Q.    And what are the risk factors for
  25    Barrett's esophagus?



 Golkow Litigation Services                                      Page 147
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 148 of 328

   1            A.    I think it's reflux.
   2            Q.    But would you agree with me that
   3    certain people are more likely to get Barrett's
   4    esophagus?    For example, if you have a family
   5    history of Barrett's esophagus or esophageal
   6    cancer, you may be at a higher risk of developing
   7    Barrett's esophagus, true?
   8            A.    It could be that you inherit some
   9    weakness in the diaphragm and -- and the lower
  10    esophageal sphincter.       But otherwise, I -- I do not
  11    know --
  12            Q.    Okay.
  13            A.    -- for that.
  14            Q.    Men are more likely to develop
  15    Barrett's esophagus than women, correct?
  16            A.    That is correct.      Men is -- if obesity
  17    plays any role, I think mens are more obese today
  18    than women.
  19            Q.    And if you are white or Caucasian,
  20    you're more likely to develop Barrett's esophagus?
  21            A.    I believe so.
  22            Q.    And if you're over 50, are you more
  23    likely to develop Barrett's esophagus?
  24            A.    Yes, because of -- the muscle loses --
  25    muscle loses its tone in the lower --



 Golkow Litigation Services                                      Page 148
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 149 of 328

   1             Q.   What reduces its toll?       What -- what --
   2             A.   Tone.    Tone.   The muscular tone in the
   3    lower esophageal sphincter.
   4             Q.   Okay.
   5             A.   Relaxation.
   6             Q.   Okay.    And current or past smoking can
   7    increase your chances of developing Barrett's
   8    esophagus, true?
   9             A.   It is possible.      I don't know.
  10             Q.   And you -- I think you already
  11    mentioned this.      Being overweight or obese can
  12    increase your chances for Barrett's esophagus,
  13    correct?
  14             A.   Yes.
  15             Q.   Now, GERD may predispose people to
  16    polyps in the area of the GE junction, correct?
  17             A.   It has been reported, yes.
  18             Q.   We talked a little bit about hiatal
  19    hernia.    Let's just talk about what that actually
  20    means.    A hiatal hernia occurs when the upper part
  21    of the stomach bulges through the diaphragm into
  22    the chest cavity, correct?
  23             A.   Yes.    Correct.
  24             Q.   And we already mentioned it can
  25    increase GERD, right?



 Golkow Litigation Services                                      Page 149
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 150 of 328

   1             A.   Correct.
   2             Q.   And make it worse?
   3             A.   Correct.
   4             Q.   And basically, hernias interfere with
   5    the esophageal emptying by causing a backflow of
   6    stomach acid into the esophagus, right?
   7             A.   Correct.
   8             Q.   And hernias can trap acid in the hernia
   9    sac, which are then refluxed back into the
  10    esophagus during swallowing, right?
  11             A.   Yeah.    Hiatal hernia sac, you -- you
  12    have no sphincter at the top.        I don't see how
  13    contents will be -- you have no sphincter at the
  14    top and now at the bottom.        I think it's go up and
  15    down, that -- that you haven't -- will not have it
  16    constantly.    So I hesitate a little about that
  17    question.     It's known that --
  18             Q.   So --
  19             A.   It's known that the hiatal hernia
  20    provokes or makes reflux worse.         But whether you
  21    have a pouch of acid constantly in the esophagus, I
  22    doubt.
  23             Q.   You don't know if there's more acid in
  24    the esophagus; is that what you're saying?
  25             A.   No.   It's -- it is more acidity in the



 Golkow Litigation Services                                      Page 150
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 151 of 328

   1    esophagus, but it's not the same acid that is
   2    staying there for a long time.         I think it's going
   3    up and down.
   4            Q.    It's going up and down?
   5            A.    Yeah.
   6            Q.    There's more exposure of acid to the
   7    esophagus?
   8            A.    It's more exposure.       That's correct.
   9            Q.    Okay.    So patients with a hiatal hernia
  10    and an incompetent cardia have significantly more
  11    esophageal acid exposure than those with no hiatal
  12    hernia and an incompetent cardia, right?
  13                  MR. RESTAINO:      Object to form.
  14                  THE WITNESS:     Okay.    Yes.
  15    BY MS. DU PONT:
  16            Q.    And the only way to fix a hiatal --
  17    hiatal hernia is surgery, right?
  18            A.    Correct.
  19            Q.    And antireflux surgery is sometimes
  20    recommended for people with GERD and large hiatal
  21    hernias, correct?
  22            A.    Yes.    Correct.
  23            Q.    I want to switch gears -- one last
  24    question, actually.      Can a hiatal hernia be a risk
  25    factor for cardia gastric cancer?



 Golkow Litigation Services                                      Page 151
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 152 of 328

   1            A.    Repeat it once more.
   2            Q.    Can a hiatal hernia be a risk factor
   3    for cardia gastric adenocarcinoma?
   4            A.    I would say that there may develop
   5    gastric carcinomas in hiatal hernia.          But whether
   6    you should call it cardiac cancer, that is a
   7    question.    That I would not generally agree.
   8            Q.    Okay.    Let's switch gears just a little
   9    bit and talk about cancer.        Would you agree with
  10    me, Doctor, that cancer is a multistep process
  11    which takes years, if not decades, in humans to
  12    develop?
  13            A.    Yes.
  14            Q.    And would you agree with me that DNA
  15    damage is a necessary step to tumorigenesis?
  16            A.    Yes.
  17            Q.    Would you also agree that chronic
  18    inflammation is an important factor in
  19    carcinogenesis, including gastric cancer
  20    carcinogenesis?
  21                  MR. RESTAINO:     Object to form.
  22                  THE WITNESS:     I -- I wouldn't -- I
  23    would -- wouldn't say generally that chronic
  24    inflammation causes or predisposes to cancer.
  25                  But, for instance, Helicobacter pylori,



 Golkow Litigation Services                                      Page 152
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 153 of 328

   1    the most important cause of gastric cancer, induces
   2    inflammation.     But it seems not that the
   3    inflammation itself is of important, because you do
   4    not get cancer before you have atrophic gastritis,
   5    and then you have no inflammation.         So I will say
   6    that in gastric cancer, inflammation indirectly
   7    causes gastric cancer.
   8    BY MS. DU PONT:
   9            Q.    Okay.    Would you agree with me that
  10    gastric cancer, like all cancers, requires a
  11    multistep process which takes years, if not
  12    decades, in humans?
  13                  MR. RESTAINO:     Object to form.
  14                  THE WITNESS:     Yes, I agree.
  15    BY MS. DU PONT:
  16            Q.    So gastric cancers don't develop in one
  17    or two years, right?
  18            A.    Correct.
  19            Q.    Is there a minimum amount of time
  20    necessary for gastric cancer to develop?
  21            A.    You know, you have no minimum, but you
  22    have normal distribution.       And -- and if you are --
  23    have a bad chance and got a very important
  24    mutation, you may develop cancer after a few years,
  25    but that is seldom.      But in biology, you have no --



 Golkow Litigation Services                                      Page 153
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 154 of 328

   1    no minimum and no maximum.        It is a distribution.
   2            Q.    But in general, you said you won't see
   3    gastric cancer develop in less than three years,
   4    even in patients with mutations, correct?
   5            A.    Yes.
   6            Q.    And gastric cancer can occur in
   7    patients who have never taken PPIs, correct?
   8            A.    Yes.    Correct.
   9            Q.    And there's no medical test to
  10    determine whether a patient's gastric cancer of any
  11    type was caused by a PPI, correct?
  12            A.    No.    If you do -- you do proper
  13    classification of a tumor, you can come with -- if
  14    you find -- let me speak about a Spanish family.
  15    Cousins married, and they've got ten children.
  16    Five of them developed ECL cell carcinoids at the
  17    age of 20s, and -- and one developed gastric
  18    carcinoma at the age of 30s.
  19                  So then you have the -- the mean time
  20    for ECL cell tumors to develop.         It's -- probably
  21    would be about 20 years.
  22                  Does that answer the question?         It's
  23    remarkable that none of your reports mention the
  24    Spanish family that actually shows that this family
  25    had a mutation in one of the genes of the proton



 Golkow Litigation Services                                      Page 154
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 155 of 328

   1    pump; and, therefore, their children did not
   2    produce acid at all, and they developed ECL cell
   3    tumors of different malignancy at the age of 20 or
   4    30.
   5            Q.    All of those family members developed
   6    neuroendocrine tumors, correct?
   7            A.    It was initially classified as
   8    adenocarcinomas.      But when we got the preparation,
   9    we did staining for neuroendocrine markers.           We
  10    reclassified this as -- as a neuroendocrine
  11    carcinomas.
  12                  And, therefore, I'm a little astonished
  13    that one of your experts said that it is no need to
  14    do classification due to specific staining.           But,
  15    of course, it is if you know the condition in which
  16    the tumor developed.
  17                  And also, for instance, for using PPI,
  18    if you have used PPIs for a long time, you should
  19    do staining for neuroendocrine cells or ECL cells
  20    anyhow, because without doing that, you will --
  21    you'll reclassify it as an adenocarcinoma with no
  22    relation to PPIs.      So --
  23            Q.    Okay.    Okay.   We'll come back to that.
  24    We'll come back to that.
  25                  Let's talk about the risk factors for



 Golkow Litigation Services                                      Page 155
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 156 of 328

   1    gastric cancer.      Do you agree that age is a risk
   2    factor for developing gastric cancer?
   3            A.    For most of the cancers, including
   4    gastric cancer.
   5            Q.    Male gender is a risk factor for
   6    gastric cancer, correct?
   7            A.    It seems so.
   8            Q.    It seems so, or is it -- is it a risk
   9    factor?
  10            A.    It -- it is correct, yeah.
  11            Q.    And H. pylori, we've already talked
  12    about, is a established cause of gastric cancer,
  13    correct?
  14            A.    It is -- it's probably about 90 percent
  15    of gastric cancers are due to H. pylori.
  16            Q.    And autoimmune gastritis is a risk
  17    factor for gastric cancer?
  18            A.    Yes.    Correct.
  19            Q.    Diet can be a risk factor for gastric
  20    cancer?
  21            A.    Many claims that.      Many -- many claim
  22    that, and -- but the data are scarce.
  23            Q.    So when you say "Many claim that,"
  24    would you agree with me that it is generally
  25    accepted that eating food preserved by salting,



 Golkow Litigation Services                                      Page 156
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 157 of 328

   1    such as salted fish and meat, increases the risk of
   2    stomach cancer?
   3            A.    There was a paper recently describing
   4    that salted fish did not provoke cancer, but
   5    salt -- salted meat did.
   6            Q.    Okay.
   7            A.    So it -- it is possible that not
   8    exposing the food for -- the meat for heat is a
   9    factor.    So it could be another infections in the
  10    meat that causes the cancer.
  11            Q.    But there is some literature out there
  12    that associates certain diets with gastric cancer,
  13    correct?
  14            A.    Yes.
  15            Q.    And alcohol use is a risk factor for
  16    gastric cancer?
  17            A.    Marginally.
  18            Q.    But it is considered a risk factor for
  19    gastric cancer?
  20            A.    It is considered, but I -- I am not
  21    sure.
  22            Q.    Tobacco use is a risk factor for
  23    gastric cancer, correct?
  24            A.    Yes.    But nowadays, few smoke.
  25            Q.    But what?



 Golkow Litigation Services                                      Page 157
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 158 of 328

   1            A.    But nowadays, there are few smokers.
   2            Q.    I think in the United States we may
   3    still have more than a few smokers.
   4                  Epstein-Barr virus infection has been
   5    linked to some gastric cancers, correct?
   6            A.    Once more.
   7            Q.    Epstein-Barr virus has been linked to
   8    some gastric --
   9            A.    Yeah.
  10            Q.    -- cancers, correct?
  11            A.    That's correct.      That's -- it is
  12    claimed to be about 5 percent of the cancers --
  13    gastric cancers due to Epstein-Barr virus.
  14            Q.    And I think we've talked about this
  15    already, but being overweight or obese has been
  16    linked to gastric cancer, correct?
  17            A.    Correct.
  18            Q.    And chronic inflammation is an
  19    important factor -- I think you called it an
  20    indirect factor -- in carcinogenesis, including
  21    gastric cancer, correct?
  22            A.    For gastric cancer, I mean that is an
  23    indirect factor.
  24            Q.    And family history or genetics can be
  25    factors in the development of gastric cancer,



 Golkow Litigation Services                                      Page 158
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 159 of 328

   1    correct?
   2            A.    Correct.
   3            Q.    And GERD, which we've talked a lot
   4    about already, is an established cause of gastric
   5    cancer, correct?
   6            A.    Established cause of esophageal cancer?
   7            Q.    As well as gastric cardia cancer,
   8    correct?
   9            A.    It depends on what you call -- whether
  10    you're in -- whether you take esophageal -- distal
  11    esophageal cancers in the same --
  12                  THE REPORTER:     Can you say that again?
  13                  THE WITNESS:     If you -- if you say that
  14    distal esophageal cancer is a cardiac cancer, I
  15    think there's no doubt.       Whether cardiac cancer
  16    occurring in the stomach area, then it's more
  17    uncertain.    Did you -- did you catch it?
  18    BY MS. DU PONT:
  19            Q.    Yeah.    I'm just trying to understand
  20    what you said.
  21                  Are there some stomach cancers where
  22    GERD is an established cause?        Did you hear my
  23    question?
  24            A.    Yeah, I -- I do.      I -- it's probable in
  25    some cases.



 Golkow Litigation Services                                      Page 159
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 160 of 328

   1             Q.    And -- okay.    Let me -- I'll come back
   2    to that.      I have to think about that more.
   3                   You can't cite for me any medical or
   4    scientific organization that concludes that PPI use
   5    causes gastric cancer of any type, right?
   6             A.    Not any organization.      But I think that
   7    there are -- you know the history by -- so many are
   8    afraid of gastric cancer due to PPI use, because it
   9    started with rats developing tumors and -- and
  10    every -- and it has been claimed that the rats
  11    are -- are different from all other species.
  12                   Now we have more species developing
  13    cancer in -- due to PPI.       But all these rodents are
  14    also said to be special, but taking into -- but --
  15    but the rodents live 1 to 2 years, and man, 70
  16    years.    So it's -- I think that in society there is
  17    uncertainty on --
  18             Q.    So -- understood.
  19                   MS. DU PONT:    And I -- I want to move
  20    to strike your answer as nonresponsive.
  21    BY MS. DU PONT:
  22             Q.    I was -- I'm just focused on medical
  23    organizations.     Sitting here --
  24             A.    I --
  25             Q.    -- today, do you --



 Golkow Litigation Services                                      Page 160
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 161 of 328

   1            A.    I --
   2                  MR. RESTAINO:     Wait for the question.
   3    BY MS. DU PONT:
   4            Q.    Let me -- let me finish.
   5                  Sitting here today, you can't cite any
   6    medical or scientific organization that concludes
   7    PPI use causes gastric cancer of any type, correct?
   8            A.    Correct.
   9            Q.    And, in fact, the American -- in fact,
  10    there are organizations that specifically say that
  11    the existing data does not establish causation.
  12    Are you aware of that?
  13            A.    Yes.
  14            Q.    There are different types of gastric
  15    cancer, right?
  16            A.    Correct.
  17            Q.    And adenocarcinoma is the most common
  18    type of gastric cancer, correct?
  19            A.    Correct.
  20            Q.    Those make up 90 to 95 percent of
  21    cancers of the stomach?
  22            A.    Probably, correct.
  23            Q.    And there are two main histological
  24    types of adenocarcinoma, intestinal and diffuse,
  25    according to the Lauren classification, correct?



 Golkow Litigation Services                                      Page 161
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 162 of 328

   1            A.    Correct.
   2            Q.    And diffuse is less common than the
   3    intestinal type, right?
   4            A.    No.   The diffuse type -- during the
   5    last decades, the prevalence of intestinal type has
   6    constantly declined; whereas, the diffuse, the
   7    prevalence has stayed constant or even slight --
   8    slight increase, for instance, in -- in young white
   9    men in U.S.
  10            Q.    But you understand that even with that
  11    slight change recently, intestinal type is still
  12    more common than the diffuse type, correct?
  13            A.    It is more common, but not -- the
  14    difference is much less than it was before.
  15            Q.    I understand.
  16                  Intestinal is and remains the most
  17    common histological subtype of adenocarcinoma,
  18    correct?
  19            A.    Correct.
  20            Q.    Now, gastric adenocarcinoma has also
  21    been categorized molecularly, right?
  22            A.    Correct.
  23            Q.    And it's been divided into four types
  24    by The Cancer Genome Atlas program, right?
  25            A.    Correct.



 Golkow Litigation Services                                      Page 162
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 163 of 328

   1            Q.    And those four types are Epstein-Barr
   2    virus-positive tumors, microsatellite unstable
   3    tumors, genomically stable tumors, and tumors with
   4    chromosomal instability, right?
   5            A.    Correct.
   6            Q.    And that last category, tumors with
   7    chromosomal instability, those tumors tend to show
   8    aneuploidy, correct?
   9            A.    Correct.
  10            Q.    And the tumors with the chromosomal
  11    instability are the most common type of all four of
  12    those categories, right?
  13            A.    I believe so.
  14            Q.    And the modern classification system
  15    that we just talked about says nothing about
  16    neuroendocrine features, correct?
  17            A.    Correct.
  18            Q.    Now, neuroendocrine tumors are a
  19    distinct type of stomach tumor, right?
  20            A.    There is much more -- this type is much
  21    more prevalent than realized because pathologists
  22    do not do staining for them.        They are
  23    underdiagnosed.
  24            Q.    But it's a distinct -- a -- a
  25    neuroendocrine tumor is a distinct type of stomach



 Golkow Litigation Services                                      Page 163
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 164 of 328

   1    tumor separate and apart from adenocarcinoma,
   2    correct?
   3             A.   No, it is not correct, because as I
   4    told you, we -- we have reclassified
   5    adenocarcinomas to neuroendocrine carcinomas when
   6    we do specific staining.
   7             Q.   It's a separate diagnosis to have a
   8    neuroendocrine tumor versus an adenocarcinoma,
   9    right?
  10             A.   It is a separate diagnosis, no,
  11    that's -- is not correct.
  12             Q.   It is, but it's incorrect?
  13             A.   Misclassifications.
  14             Q.   I understand that there may be
  15    misclassifications of tumors, but there's a
  16    different classification for a neuroendocrine tumor
  17    versus an adenocarcinoma, correct?
  18             A.   Correct.
  19             Q.   We also can refer to neuroendocrine
  20    tumors as "carcinoids," right?
  21             A.   That is a more benign type of
  22    neuroendocrine tumors.
  23             Q.   What do you mean --
  24             A.   You have --
  25             Q.   -- by "more maligned"?



 Golkow Litigation Services                                      Page 164
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 165 of 328

   1            A.    It is a rather benign type of tumors.
   2    Actually, gastric neuro -- the NETs that they are
   3    called are carcinoids.       They have increase in
   4    prevalence during -- in last decades.          Whether this
   5    is due to increased frequency of endoscop -- upper
   6    GI endoscopy or whether it's a real increase has
   7    been disputed.     But neuroendocrine NETs, that is a
   8    typical tumor that you would expect in patients on
   9    PPI, the first --
  10            Q.    Okay.    I -- I think I'm following, but
  11    let me ask some follow-up questions.
  12                  In your report, you refer to three
  13    different types of neuroendocrine tumors; do you
  14    recall that?
  15            A.    I -- I think it's NETs and --
  16            Q.    NETs?
  17            A.    -- neuroendocrine.
  18            Q.    Okay.
  19            A.    Neuroendocrine tumors, also previously
  20    called "carcinoids."      They have changed the name of
  21    them.   And then you have neuroendocrine carcinomas.
  22            Q.    Okay.    There are three different types
  23    of NETs, which is a neuroendocrine tumor, correct?
  24            A.    Oh, oh, okay, that -- that is NETs
  25    caused by -- by atrophic autoimmune gastritis.



 Golkow Litigation Services                                      Page 165
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 166 of 328

   1            Q.    Okay.
   2            A.    NETs -- NETs caused by gastrinomas and
   3    NETs developed without hypergastrinemia, that is
   4    correct.
   5            Q.    Why don't we pull up Page 65 of your
   6    report so we can make sure you and I are following
   7    each other.
   8                  MS. DU PONT:     It's Exhibit 4.
   9    BY MS. DU PONT:
  10            Q.    Here in your report --
  11            A.    Yes.
  12            Q.    -- you -- you talk about gastric NETs,
  13    which in parentheses you say are also referred to
  14    as carcinoids, right?       Do you see that at the top
  15    of the page?
  16            A.    Yeah, I see that.      There is no
  17    increasing pressure to -- to include a fourth type,
  18    gastric NETs due to PPI use.        I would say that's a
  19    natural thing, would be to -- to take them together
  20    with gastric NETs due to gastrinoma.          Because there
  21    is no inflammation related to this development of
  22    these gastric NETs, except the -- the -- those of
  23    the autoimmune type showing that -- Wang, for
  24    instance, claiming that inflammation is so
  25    important in tumorigenesis for --



 Golkow Litigation Services                                      Page 166
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 167 of 328

   1            Q.    Okay.    Let me just focus on the three
   2    types of NETs, and then I can ask some follow-up
   3    questions.    And try to listen to the questions I'm
   4    asking, Doctor.
   5                  You list here three types of NETs:
   6    Gastric carcinoid type 1, due to hypergastrinemia
   7    secondary to atrophic gastritis.         Do you see that?
   8            A.    Yes.
   9            Q.    And that's the most common type of
  10    gastric NET, right?
  11            A.    Correct.
  12            Q.    And it -- it arises in a chronic
  13    hypochlorhydric state, right?
  14            A.    Correct.
  15            Q.    For example, with autoimmune atrophic
  16    gastritis, right?
  17            A.    Correct.
  18            Q.    And these are typically -- I think you
  19    told us this already -- low-grade tumors, right?
  20            A.    Correct.
  21            Q.    And their clinical behavior is usually
  22    very indolent, right?
  23            A.    Correct.
  24            Q.    And these type 1 carcinoids or NETs
  25    have a good prognosis with a 95 to a 100 percent



 Golkow Litigation Services                                      Page 167
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 168 of 328

   1    five-year survival rate, right?
   2            A.    But people die of them.        Some people
   3    die of them.
   4            Q.    Right.    That's why there's a 95 to
   5    100 percent --
   6            A.    Yeah.
   7            Q.    -- right?
   8                  Or, actually, I think you say in your
   9    report 96 to 100 percent; is that right?
  10            A.    It could be.     But people die of them.
  11            Q.    And as you note in your report,
  12    treatment with PPIs is not included in this
  13    classification, right?
  14            A.    That's correct.
  15            Q.    And --
  16            A.    But -- but as I said, there are many --
  17    many researcher asking for a new -- new type,
  18    type 4, due to PPIs.
  19            Q.    But currently, there is no type 4 for
  20    PPIs, correct?
  21            A.    In this classification, that's correct.
  22    But nevertheless, there are many reports asking for
  23    type 4 --
  24            Q.    To date --
  25            A.    -- due to --



 Golkow Litigation Services                                      Page 168
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 169 of 328

   1            Q.    -- there is no type 4 related to PPIs,
   2    correct?
   3            A.    Type 4 will be due to PPIs.
   4            Q.    But there is no type 4 right now,
   5    correct?
   6            A.    That is correct.
   7            Q.    Type 2 gastric NETs are also
   8    well-differentiated NETs, correct?
   9            A.    That is correct.      But I would say that
  10    it's important to notice that there are two -- as I
  11    said, there are two types of gastric -- of
  12    gastrinomas.     Those are due to a genetic mutation
  13    when -- one; and the other, sporadic.
  14                  And, for instance, Wang claims that
  15    there is no development of gastric carcinomas of
  16    patients with -- with gastrinomas, although they
  17    are highly hypergastrinemic.        And the reason why is
  18    that patients with sporadic gastrinoma, they either
  19    become cured by surgery or they die early.           So they
  20    would not have time to develop gastric carcinoma
  21    secondary to hypergastrinemia.
  22            Q.    Type 3 NETs are not associated with
  23    elevated serum gastrin, correct?
  24            A.    That is correct.      It is probably a
  25    spontaneous mutation in an important gene.



 Golkow Litigation Services                                      Page 169
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 170 of 328

   1            Q.    And these type 3 NETs are carcinoids?
   2            A.    They are -- they are more higher grade,
   3    more malignant than the other two.
   4            Q.    Understood.     Okay.
   5                  Now, there's a type of gastric cancer
   6    called "signet-ring cell carcinoma," and that is
   7    another distinct type of gastric cancer, correct?
   8            A.    It's a subgroup of the gastric
   9    carcinomas of diffuse type.        But they -- they --
  10    many of the cancer cells contain an amorphous
  11    substance that has been believed to be mucin.            And
  12    that is the reason why these cancers are -- mucin
  13    is produced by the epithelial cells, exocrine
  14    cells; so, therefore, these tumors are classified
  15    as -- as adenocarcinomas.
  16                  But when we started to do specific
  17    staining, both in -- both with immunohistochemistry
  18    and also in situ hybridization, we could not find
  19    any -- any signs of mucin, but we could detect
  20    neuroendocrine markers in these amorphous
  21    substance.
  22                  And it has to be remembered that --
  23    that PAS-considered staining for mucin is not a
  24    specific thing.     So the community has relied on an
  25    unspecific staining method in the classification,



 Golkow Litigation Services                                      Page 170
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 171 of 328

   1    showing that it has every reason to not accept all
   2    the classifications that are generally accepted.
   3             Q.   Doctor, the prevalent theory to date
   4    has been that signet-ring cell carcinomas originate
   5    from stem cells in the glandular neck region,
   6    right?
   7             A.   If you say so.      And it could be.
   8             Q.   I think you say so.
   9             A.   But -- but --
  10             Q.   On Page 82 of your report --
  11             A.   But -- but --
  12             Q.   -- you wrote that.
  13             A.   -- Wang -- Wang --
  14             Q.   Let's look --
  15             A.   -- writes that --
  16             Q.   -- at Page 82 of your report.         Sorry.
  17    I think it's 83, yeah.
  18             A.   Are we still on the signet-ring --
  19    signet-ring?
  20             Q.   Yes.   Here, you write:      The prevalent
  21    theory to date has been that these carcinomas, like
  22    other gastric carcinomas, originate from stem cells
  23    in the glandular neck region.        Do you see that?
  24             A.   Yes.
  25             Q.   And you stand by that statement,



 Golkow Litigation Services                                      Page 171
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 172 of 328

   1    correct?
   2            A.    Okay.    It was -- at that time, yes.
   3            Q.    You stand by your statement here,
   4    correct?
   5            A.    Okay.    Correct.
   6            Q.    Now --
   7                  MS. DU PONT:     We can -- we can pull
   8    down the report for now.
   9                  THE WITNESS:     We shouldn't --
  10    BY MS. DU PONT:
  11            Q.    Do you need a break?
  12            A.    No.
  13            Q.    Okay.    Let's talk about fundic gland
  14    polyps.    Fundic gland polyps can arise
  15    sporadically, right?
  16            A.    They -- they are interesting because
  17    they develop -- they are -- most of them are due to
  18    PPIs, and it is peculiar that Helicobacter pylori
  19    infection protects from fundic gland polyps.
  20            Q.    I asked you whether they can arise
  21    sporadically.     Can they?
  22            A.    Yes.
  23            Q.    Fundic gland polyps can also arise in
  24    patients with a condition called "familial
  25    adenomatous polyposis," or "FAP," right?



 Golkow Litigation Services                                      Page 172
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 173 of 328

   1            A.    Okay.    Yes.
   2            Q.    And sporadic fundic gland polyps are
   3    usually considered benign, right?
   4            A.    It is not certain so now because it --
   5    it -- there are some reports that fundic gland
   6    polyps secondary to PPI use have become malignant,
   7    particularly so in the case of --
   8                  THE REPORTER:     Particularly in the case
   9    of what?
  10    BY MS. DU PONT:
  11            Q.    I didn't hear it either.
  12            A.    What?
  13            Q.    What did you say?      We can't hear you.
  14            A.    Case reports show that fundic gland
  15    polyps that develop due to PPI treatment became
  16    malignant, but there is no large study showing it.
  17            Q.    Fundic gland polyps, though, are not
  18    caused by hypergastrinemia, correct?
  19            A.    Probably.     Yeah.
  20            Q.    That's correct?
  21            A.    Yeah.    I would say so.
  22            Q.    And these fundic gland polyps are often
  23    discovered incidentally on an endoscopy, right?
  24            A.    Yes.
  25            Q.    It's not recommended that you do



 Golkow Litigation Services                                      Page 173
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 174 of 328

   1    routine surveillance for fundic gland polyps,
   2    right?
   3             A.   Until now, it has been correct.
   4             Q.   Until what?
   5             A.   Until now, that is correct.
   6             Q.   Okay.    Now, there's also a polyp called
   7    a "hyperplastic polyps" -- "polyp," right?
   8             A.   Correct.
   9             Q.   And those are also typically benign,
  10    right?
  11             A.   Correct.    But they may become
  12    malignant.
  13             Q.   Understood.     But they're typically
  14    benign, right?
  15             A.   Correct.
  16             Q.   Hyperplastic polyps typically occur in
  17    the context of inflammation or gastritis and
  18    atrophy, right?
  19             A.   Correct.
  20             Q.   And they can develop in the cardia of
  21    patients with GERD, right?
  22             A.   Seldom, but probably.       Correct.
  23             Q.   You would agree with me that gastrin is
  24    not the only factor involved in the development of
  25    hyperplastic polyps, correct?



 Golkow Litigation Services                                      Page 174
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 175 of 328

   1            A.    Correct.
   2            Q.    And you're not offering the opinion
   3    that PPIs cause hyperplastic polyps, correct?
   4            A.    I will not say no, but it -- it may be
   5    a factor.
   6            Q.    So you're saying it's a possibility
   7    that PPIs can lead to hyperplastic polyps, correct?
   8            A.    Correct.    Correct.
   9            Q.    And just because a hyperplastic polyp
  10    is incidentally found in a PPI user does not mean
  11    that the PPI caused the hyperplastic polyp,
  12    correct?
  13            A.    Correct.
  14            Q.    Now, adenomatous polyps occur in the
  15    setting of chronic inflammation or atrophic
  16    gastritis, true?
  17            A.    Correct.
  18            Q.    They're also seen in the setting of
  19    hereditary disorders, correct?
  20            A.    In the setting of hereditary.
  21            Q.    Hereditary disorders?
  22            A.    Yeah.    Correct.
  23            Q.    And PPIs are not associated with ade --
  24    how do you say it, Doctor, ade --
  25            A.    Adenomatous.     Adenomatous.



 Golkow Litigation Services                                      Page 175
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 176 of 328

   1            Q.    -- adenomatous polyps, correct?
   2            A.    Probably.
   3            Q.    Let me just --
   4            A.    Correct.
   5            Q.    -- say it again --
   6            A.    Correct.
   7            Q.    -- because I messed that up.
   8            A.    Correct.
   9            Q.    PPIs are not associated with
  10    adenomatous polyps, correct?
  11            A.    Correct.    I know of no study telling
  12    it.   I do not know of any study --
  13            Q.    You don't know of any study showing an
  14    association between PPIs and adenomatous polyps,
  15    correct?
  16            A.    Correct.
  17                  MS. DU PONT:     Why don't we take a break
  18    because I'm about to move to a different topic.            I
  19    think we've been going for a while now.
  20                  THE VIDEOGRAPHER:      The time now --
  21                  MS. DU PONT:     How long a break do you
  22    need?
  23                  MR. RESTAINO:     Well, it's -- it's 3:22
  24    here.   How about if we take a 15- to 20-minute
  25    break and we can wolf down a sandwich at this time.



 Golkow Litigation Services                                      Page 176
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 177 of 328

   1                  MS. DU PONT:     That's fine with me.
   2                  MR. RESTAINO:     Is that all right?
   3                  MS. DU PONT:     Yep.
   4                  MR. RESTAINO:     So maybe we'll come back
   5    about 20 minutes to 4:00 or -- so that will be
   6    20 -- 20 minutes to 10:00 your time?          I'm not sure
   7    where you are.
   8                  MS. DU PONT:     10:40 our time.      10:40 --
   9                  MR. RESTAINO:     Okay.
  10                  MS. DU PONT:     -- Eastern.     Thank you.
  11                  MR. RESTAINO:     All right.
  12                  THE VIDEOGRAPHER:       The time is
  13    10:23 a.m.    We are off the record.
  14                                * * *
  15                  (Whereupon, there was a luncheon recess
  16    in the proceedings from 10:23 a.m. to 10:44 a.m.)
  17                                * * *
  18                  THE VIDEOGRAPHER:       The time now is
  19    10:44 a.m.    We are back on the record.
  20    BY MS. DU PONT:
  21            Q.    We're back, Dr. Waldum.        Did you get a
  22    chance to have some lunch?
  23            A.    Yes.   You too?
  24            Q.    No, not lunch yet, but I'll get there
  25    eventually.



 Golkow Litigation Services                                      Page 177
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 178 of 328

   1                  So I want to switch gears a little bit
   2    and talk about your interactions with the Food and
   3    Drug Administration, and it came up a little bit
   4    earlier in the day.      Is it true, Doctor, that
   5    you've told the FDA on at least two occasions about
   6    your safety concerns with respect to PPIs and
   7    gastric cancer?
   8            A.    You mean the meeting in 2000?
   9            Q.    Yes, that would be one of the times
  10    where you expressed your safety concerns regarding
  11    PPIs.
  12            A.    That's -- that's correct.
  13            Q.    The first time you mentioned was in
  14    2000 at the FDA's advisory committee on the
  15    over-the-counter use of omeprazole, right?
  16            A.    Correct.
  17            Q.    And an FDA advisory committee is
  18    organized by FDA where they invite experts to
  19    provide their views and advice on scientific
  20    matters; is that fair?
  21            A.    Correct.
  22            Q.    You attended as a nonvoting member of
  23    the panel, correct?
  24            A.    Correct.
  25            Q.    And when you attended, you expressed



 Golkow Litigation Services                                      Page 178
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 179 of 328

   1    safety concerns about the use of omeprazole based
   2    on findings in rats, correct?
   3            A.    And my own findings in man.
   4            Q.    And you told the ad -- ad -- sorry --
   5    advisory committee that you felt the risk over --
   6    the risk of over-the-counter was dangerous; is that
   7    fair?
   8            A.    Yes.
   9            Q.    And at that advisory committee, you
  10    specifically expressed your concerns about the
  11    biological effect of suppressing gastric acid; is
  12    that right?
  13            A.    Probably right, but I also expressed my
  14    concern regarding gastric tumors.
  15            Q.    And at that advisory committee meeting,
  16    the medical officer in the division of
  17    gastrointestinal and coagulation drug products,
  18    Mark Avigan, presented for the FDA.          Do you
  19    remember that?
  20            A.    I don't remember him.
  21            Q.    Do you recall someone from the FDA
  22    speaking at the ad comm?
  23            A.    I don't remember any name.
  24            Q.    You don't remember the name, but you do
  25    know someone at FDA spoke at the ad comm?



 Golkow Litigation Services                                      Page 179
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 180 of 328

   1            A.    Probably.
   2                  MS. DU PONT:     Let's -- let's pull up --
   3                  THE WITNESS:     In the -- in the
   4    committee, George Sachs was one of the experts, and
   5    he --
   6    BY MS. DU PONT:
   7            Q.    George Sachs?
   8            A.    Yeah.    He -- he was the man behind
   9    the -- the proton pump.       He explained the -- the
  10    proton pump.     And -- and then Astra came with --
  11    no, Hässle said that they had the drug that was
  12    very efficient, and George Sachs collaborated with
  13    Astra at that time.
  14            Q.    Okay.    And -- and I'm focused not --
  15    not on those people, but on the Food and Drug
  16    Administration employees that spoke at -- at that
  17    advisory committee.      And maybe just to remind you,
  18    because I understand it was a while ago, let's pull
  19    up Exhibit 39.     And go --
  20                  MS. DU PONT:     I'll let you pull that
  21    up.
  22                  (WALDUM EXHIBIT 39, Joint Meeting of
  23    the Nonprescription Drugs and Gastrointestinal
  24    Drugs Advisory Committees dated 10/20/00, was
  25    marked for identification.)



 Golkow Litigation Services                                      Page 180
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 181 of 328

   1    BY MS. DU PONT:
   2            Q.    Do you see that this is the
   3    October 20th, 2000, transcript of the joint meeting
   4    of the nonprescription drugs and gastrointestinal
   5    drugs advisory committee?
   6            A.    Okay.
   7                  MS. DU PONT:     And if we go to Page 120.
   8    Scroll down a little bit.
   9    BY MS. DU PONT:
  10            Q.    You see that Dr. Avigan introduces
  11    himself and says he's the medical officer in the
  12    division of gastrointestinal and coagulation drug
  13    products.    Do you see that?
  14            A.    Yes.
  15            Q.    So do you now recall that Dr. Avigan
  16    from the FDA spoke at this advisory committee
  17    meeting?
  18            A.    Yes.    It's -- faintly.     I remember it
  19    faintly.
  20                  MS. DU PONT:     Okay.    And if we go to
  21    Page 142 and scroll.
  22    BY MS. DU PONT:
  23            Q.    He -- he says:      Nonetheless, taking
  24    these deficiencies into account, at present based
  25    on the composite of the clinical studies, the



 Golkow Litigation Services                                      Page 181
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 182 of 328

   1    SafeTNet data and the literature, the development
   2    of omeprazole induced ECL cell hyperplasia in
   3    humans, unlike rats, has not been linked to
   4    progression of carcinoid tumors with the caveats
   5    that I've mentioned.      Do you see that?
   6            A.    Yes.
   7            Q.    And he goes on to say:       There is no
   8    apparent causal relationship between omeprazole and
   9    carcinoid tumors, gastric adenocarcinoma,
  10    colorectal adenocarcinoma, and other malignancies.
  11    Do you see that?
  12            A.    Yes.
  13            Q.    So in 2000, at the advisory committee
  14    meeting that was addressing the over-the-counter
  15    use of Prilosec, the FDA was on record of saying
  16    there was no apparent causal relationship between
  17    omeprazole and carcinoid tumors, correct?
  18            A.    They did.     But it is strange that they
  19    could say something like that, because the rats
  20    developed the tumors, and in man you had -- it
  21    started as the same type of changes, ECL cell
  22    hyperplasia in the rats.
  23            Q.    And so I understand -- I understand,
  24    Doctor, you disagreed with the conclusion of the
  25    FDA in 2000 --



 Golkow Litigation Services                                      Page 182
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 183 of 328

   1            A.    Yes.
   2            Q.    -- that there was no apparent causal
   3    relationship between PPIs and gastric cancer, okay?
   4            A.    I disagree.
   5            Q.    Now, you wrote about your participation
   6    in this advisory committee in your book, right?
   7            A.    Yeah.
   8            Q.    Do you remember that?       Yes?
   9            A.    What did you -- what did you say?          I
  10    wrote about --
  11            Q.    I'm sorry.     You wrote about your
  12    participation in this advisory committee meeting in
  13    2000 in your book, right?       You wrote about it?
  14            A.    I think I wrote -- wrote about my
  15    cooperation with Citizen.
  16            Q.    Well --
  17            A.    Did I write about --
  18            Q.    I think you actually wrote about both.
  19            A.    Okay.
  20            Q.    You're correct, you wrote about the
  21    Public Citizen.      But let's -- let's take a look at
  22    your book.    Your -- in your book, it's going to
  23    be --
  24                  MS. DU PONT:     We'll mark this as
  25    Exhibit 6.



 Golkow Litigation Services                                      Page 183
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 184 of 328

   1                  (WALDUM EXHIBIT 6, Book titled
   2    The Influence of the Pharmaceutical Industry on
   3    Medicine, as Exemplified by Proton Pump Inhibitors,
   4    was marked for identification.)
   5    BY MS. DU PONT:
   6            Q.    And I just want to explain, Dr. Waldum.
   7    We've photocopied your book for the purpose of this
   8    deposition and -- so we can show it on the screen
   9    so people can see.      It's only for the purposes of
  10    this deposition.
  11                  I don't want to be accused of
  12    violating -- violating any copyright.          I would have
  13    given the court reporter a copy of your book if
  14    this were in person.      Do you understand that?
  15            A.    No problem for me.      And no problem for
  16    me.
  17            Q.    Okay.
  18            A.    You may give it to anybody.
  19            Q.    Okay.    So this is -- what we've
  20    marked as Exhibit 6 is your book, Dr. Waldum,
  21    "The Influence of the Pharmaceutical Industry on
  22    Medicine, as Exemplified by Proton Pump
  23    Inhibitors"; do you see that?
  24            A.    Yes.
  25            Q.    And if we go to Page 100 of the book,



 Golkow Litigation Services                                      Page 184
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 185 of 328

   1    but I think it's 107 in the PDF, you talk about
   2    over-the-counter PPIs --
   3             A.   Okay.    Yeah, that's correct.
   4             Q.   -- in the U.S. and Norway, right?
   5                  And if we look at the last two
   6    sentences of this page -- there, perfect -- you
   7    write:    Although PPIs apparently have few acute
   8    side effects, I tried to focus on problems related
   9    to rebound acid hypersecretion, the dangers of
  10    infections by the oral route in patients lacking
  11    gastric acid, and the possible carcinogenic effect
  12    of long-term hypergastrinemia.        Do you see that?
  13             A.   Yes.
  14             Q.   And so after the ad comm, it was -- or
  15    at the time of the ad comm, it was your belief that
  16    there was a possible carcinogenic effect of
  17    long-term hypogastrinemia [sic] caused by PPIs,
  18    right?    That's what you write?
  19             A.   It was what I pointed out in the year
  20    2000.
  21             Q.   Yep.
  22             A.   And it was not what I meant in 2020.
  23             Q.   Okay.    Now, after the ad comm in 2001,
  24    you submitted a letter to FDA correcting the -- the
  25    record and also submitting all of your concerns



 Golkow Litigation Services                                      Page 185
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 186 of 328

   1    about PPIs and gastric cancer, right?
   2            A.    To -- together with the Citizen?
   3            Q.    Not to the Citizen yet.        I'm just --
   4    look at Pages -- the next --
   5            A.    Yeah.
   6            Q.    -- few pages of your book where you
   7    talk about how you submitted further information to
   8    the FDA.     Do you see that?     You wrote to the FDA
   9    here on Page 101 --
  10            A.    Yeah.
  11            Q.    -- 102 and 103, right?
  12            A.    Yep.
  13            Q.    And despite you writing to the FDA
  14    about your concerns over PPIs and gastric cancer,
  15    ultimately, FDA approved omeprazole for
  16    over-the-counter use in 2003, correct?
  17            A.    Correct.
  18            Q.    And later, the FDA would go on to
  19    approve other over-the-counter PPIs, like Nexium,
  20    correct?
  21            A.    Correct.
  22            Q.    And you're aware that the FDA defines
  23    over-the-counter medications as drugs that are safe
  24    and effective for use by the general public without
  25    seeking treatment by a healthcare professional,



 Golkow Litigation Services                                      Page 186
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 187 of 328

   1    right?
   2             A.   Correct.
   3             Q.   Now, the second time that you told FDA
   4    about your views on PPIs and gastric cancer was in
   5    2011 in relationship to your work with Public
   6    Citizen, correct?
   7             A.   In relationship to the work with?
   8             Q.   Public Citizen.
   9             A.   Yes, I was --
  10             Q.   Along with Public Citizen, I should
  11    say.
  12             A.   I was approached by Dr. -- by
  13    Director Wolfe, and I wrote what I meant about the
  14    risk of PPIs, but --
  15             Q.   So you were -- okay.       Go ahead.    Sorry.
  16    I didn't mean to cut you off.
  17             A.   I -- I mean that I did not say anything
  18    about fractures and something like that, that --
  19    I -- we looked at this yesterday on this signature.
  20    I had an attachment that I signed about gastric
  21    cancer and rebound acid hypersecretion and probably
  22    also on infections.      But I -- I have never been
  23    writing anything about risk of fractures,
  24    pneumonia, and something like that.          I --
  25             Q.   Got it.    And -- and I wasn't asking



 Golkow Litigation Services                                      Page 187
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 188 of 328

   1    about fractures or the risk of pneumonia.           I'd like
   2    to focus on the letter and what you said about PPIs
   3    and gastric cancer as well as PPIs in rebound acid
   4    hypersecretion, okay?       That's what I --
   5            A.    Okay.
   6            Q.    -- want to focus on.
   7                  MS. DU PONT:     So if we could pull up
   8    your letter that you sent to Public Citizen as
   9    Exhibit 37.
  10                  (WALDUM EXHIBIT 37, Letter dated
  11    8/23/11 from Public Citizen to Margaret A. Hamburg,
  12    M.D., was marked for identification.)
  13                  MS. DU PONT:     And if we go to
  14    Page 15 -- well -- let's start on the first page
  15    just so we orient ourselves.
  16    BY MS. DU PONT:
  17            Q.    So this is a letter sent to FDA on the
  18    Public Citizen letterhead.        And then if we scroll
  19    to the last page, I just want to establish that you
  20    signed it.
  21                  MS. DU PONT:     Go up a little bit.
  22    BY MS. DU PONT:
  23            Q.    Okay.    So you see here the
  24    certification?     One of the -- there's -- there's
  25    several people here in the certification from



 Golkow Litigation Services                                      Page 188
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 189 of 328

   1    Public Citizen, but your name is also listed here,
   2    correct?
   3            A.    Yes.    Yes, I noticed that.      But I think
   4    that I didn't sign that one.        I signed a separate
   5    attachment.
   6            Q.    Okay.    But you were one of the authors
   7    of this letter to Public Citizen in --
   8            A.    That is correct.
   9            Q.    -- 2011?
  10                  MS. DU PONT:     Okay.    So let's now go to
  11    Page 15, which it might be 16 of the PDF.
  12    BY MS. DU PONT:
  13            Q.    Okay.    This section is focused on PPIs
  14    and the development of gastric cancer, right?            Do
  15    you see that?
  16            A.    Yes.
  17            Q.    And under that header, you write:
  18    Numerous animal studies have shown that PPIs may be
  19    associated with the development of gastric
  20    carcinoids and carcinomas, two types of stomach
  21    cancer.    Do you see that?
  22            A.    Yeah.
  23            Q.    And on Page 15 through 18, you explain
  24    in detail your theories about how PPIs cause both
  25    gastric carcinoid tumors and gastric



 Golkow Litigation Services                                      Page 189
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 190 of 328

   1    adenocarcinoma; is that fair?
   2             A.    Okay.
   3             Q.    And you conclude on Page 18, if we
   4    could go there, which is 19 of the PDF -- maybe
   5    not.
   6                   MS. DU PONT:    Yeah, go up a little bit.
   7    Sorry.    Go up.   So -- sorry.     Above the H on
   8    Page 18.      It is actually Page 18.
   9    BY MS. DU PONT:
  10             Q.    You conclude here in the -- under the
  11    heading "PPIs and gastric cancer:         a plausible
  12    association?" --
  13             A.    Yes.
  14             Q.    -- that -- you conclude that PPI
  15    therapy, by inducing chronically high levels of
  16    gastrin, can potentially lead to carcinoid tumors
  17    and, possibly, gastric adenocarcinoma.          Do you see
  18    that?
  19             A.    Yeah.   Yes.
  20             Q.    So in 2011, you believed that PPI
  21    therapy could possibly lead to gastric carcinoids
  22    and gastric adenocarcinoma, true?
  23             A.    Potentially to gastric carci --
  24    possibly gastric adenocarcinomas.         I was quite
  25    convinced that they -- they might induce carcinoid



 Golkow Litigation Services                                      Page 190
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 191 of 328

   1    tumors because AstraZeneca in -- Washington in
   2    2000 -- Proctor --
   3                  THE REPORTER:     I'm sorry.     Can you
   4    repeat that, please?
   5                  THE WITNESS:     At the meeting on the PPI
   6    over the counter in Washington in 2000, Procter &
   7    Gamble reported that they had seen tumors in
   8    patients taking PPI.      But they were not afraid of
   9    them because they disappeared when they stopped
  10    treatment.    So already in the year 2000 AstraZeneca
  11    knew that the PPIs induced carcinoids also in man.
  12    BY MS. DU PONT:
  13            Q.    Okay.
  14            A.    So I --
  15            Q.    So I just want to understand.         Let me
  16    focus on -- on -- let me change my question a
  17    little bit.
  18                  In 2011, you believed that PPI therapy
  19    could possibly lead to gastric adenocarcinoma,
  20    correct?
  21            A.    Yeah.
  22            Q.    Okay.    And your petition -- your
  23    Citizens petition caught the attention of
  24    "GI & Hepatology News" in 2011, didn't it?           Do you
  25    recall that?



 Golkow Litigation Services                                      Page 191
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 192 of 328

   1            A.    Yeah.
   2            Q.    And other experts in the field
   3    commented on your petition, and they did not share
   4    your views on PPIs and gastric cancer, did they?
   5            A.    No, I don't suppose so.
   6            Q.    In fact, they denied any neoplastic
   7    risk related to PPIs, didn't they?
   8            A.    I suppose so.
   9            Q.    Now, in 2011, in the same petition that
  10    we're talking about now, you also raised issues
  11    about adding a black box warning on rebound acid
  12    hypersecretion, correct?
  13            A.    Correct.
  14            Q.    Now --
  15                  MS. DU PONT:     We can take this -- this
  16    letter down.     And let's mark as the next exhibit,
  17    Exhibit 42.
  18                  (WALDUM EXHIBIT 42, Letter dated
  19    10/31/14 from Department of Health & Human Services
  20    to Eric Nellis, Drs. Almashar, Carome, Wolfe, and
  21    Waldum, was marked for identification.)
  22    BY MS. DU PONT:
  23            Q.    And this is going to be FDA's response
  24    to the Public Citizen petition letter in 2014.            So
  25    do you see in front of you that there's -- this is



 Golkow Litigation Services                                      Page 192
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 193 of 328

   1    a letter from the Food and Drug Administration to
   2    both Public Citizen as well as you, Dr. Waldum --
   3            A.    Yes.
   4            Q.    -- on October 31st, 2014?
   5            A.    I see it.
   6            Q.    And if we go --
   7                  MS. DU PONT:     Just scroll down just a
   8    little bit.
   9    BY MS. DU PONT:
  10            Q.    You see that this is a letter
  11    responding to your Citizen petition dated
  12    August 23rd, 2011.      Do you see that?
  13            A.    Yes.
  14            Q.    And if we go to Page 19, the FDA talks
  15    about information about PPIs unrelated to requested
  16    actions.     Do you see that?
  17            A.    Once more.
  18            Q.    Do you see -- I just want you to focus
  19    on this section entitled "Information About PPIs
  20    Unrelated to Requested Actions."         Do you see that?
  21            A.    Okay.    Yes.
  22            Q.    FDA notes here that your petition
  23    states that there may be a potential link between
  24    PPI use and gastric cancer.        Do you see that?
  25            A.    Yeah.



 Golkow Litigation Services                                      Page 193
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 194 of 328

   1            Q.    And they further note:       Regarding the
   2    potential risk of cancer linked to PPI use, as you
   3    noted in your petition, there is insufficient
   4    evidence to -- to show such a link.          Do you see
   5    that?
   6            A.    Yes.
   7            Q.    And I read that correctly, correct?          I
   8    read it right?
   9            A.    Yes.
  10            Q.    And FDA further notes that it would
  11    continue to monitor this matter, and if data
  12    becomes available establishing causal association
  13    between PPIs and gastric cancer, FDA will consider
  14    whether a labeling change or other regulatory
  15    actions are warranted.       Did I read that correctly?
  16            A.    Yes.
  17            Q.    So in 2014, the FDA told you,
  18    Dr. Waldum, that there was insufficient evidence to
  19    show a link between PPI use and gastric cancer,
  20    correct?
  21            A.    Correct.
  22            Q.    And, now, since this Public Citizen
  23    correspondence between 2011 and 2014, have you
  24    raised your concerns about PPIs and gastric cancer
  25    to the FDA?



 Golkow Litigation Services                                      Page 194
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 195 of 328

   1            A.    No.
   2            Q.    And as of today, FDA has not taken any
   3    regulatory action on gastric cancer, correct?
   4            A.    Correct.
   5            Q.    To this day, FDA has not required a
   6    gastric cancer warning in PPI labels, correct?
   7            A.    Correct.
   8            Q.    Now, FDA also responded to your
   9    petition with respect to rebound acid
  10    hypersecretion in 2014.
  11                  MS. DU PONT:     And if we go to Page 6 of
  12    the document that's up on the screen.          Scroll down.
  13

  14    BY MS. DU PONT:
  15            Q.    I just want to direct you to one
  16    more -- sorry.      This is the FDA response.
  17                  MS. DU PONT:     And let's go to the next
  18    page.   Stop there.
  19    BY MS. DU PONT:
  20            Q.    Do you see that the FDA responds here:
  21    In sum, we have concluded that there is
  22    insufficient evidence of a causal association
  23    between the cessation of PPI therapy and the
  24    emergence of clinically significant symptoms of
  25    rebound acid hypersecretion in patients.



 Golkow Litigation Services                                      Page 195
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 196 of 328

   1    Therefore, warnings regarding rebound acid
   2    hypersecretion in the labeling of PPI products,
   3    including boxed warnings, are not warranted at this
   4    time for either prescription or nonprescription
   5    products.    Your petition is denied.        I read that
   6    correctly, correct?
   7            A.    You read it -- you read it correctly.
   8    But this decision may result -- there are other
   9    decisions, because rebound acid hypersecretion is a
  10    consequence of normal physiology and regulation of
  11    gastric acid secretion.       So it -- it occurs, and it
  12    may be substantial.      And it has been known that
  13    patients with gastrinoma and high acid secretion --
  14    gastric acid secretion do develop GERD.
  15                  And so -- and -- and, also, Håkan
  16    Larsson and Astra showed in rats in the late '80s
  17    that the rats also developed rebound acid
  18    hypersecretion.     So the reason why some haven't
  19    found rebound acid secretion is that they didn't
  20    understand how to examine to find it.
  21                  I -- I made, also, this -- for the
  22    first time, I examined because I didn't take into
  23    consideration the long-time acid inhibition you had
  24    after stopping treatment with PPIs.          But when I let
  25    it go, two weeks after stopping treatment, there



 Golkow Litigation Services                                      Page 196
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 197 of 328

   1    was an enormous increase in acid secretion.           And
   2    Reimer in Copenhagen described in Gastroenterology
   3    in 2009 that students having no dyspepsia, when
   4    they were given PPIs, developed dyspepsia --
   5            Q.    Okay.
   6            A.    -- about 50 percent of them.
   7                  So -- so, of course, it has clinical
   8    consequences.     And every clinician treating
   9    patients with -- with PPIs due to accepted
  10    indication, I have experienced that it is difficult
  11    to stop treatment if started.        So -- so it is
  12    obviously an incorrect --
  13            Q.    Okay.
  14            A.    -- decision.     But whether it should be
  15    put on the label, I -- it doesn't matter for me
  16    whether it's labeled or not that rebound --
  17            Q.    Okay.
  18            A.    -- acid hypersecretion be clinical
  19    consequences.     It's no doubt about that.
  20            Q.    So -- so, Doctor, you don't -- or you
  21    agree with me, though, that FDA in 2014 told you
  22    that there was insufficient evidence of causal
  23    association between ceasing PPI therapy and the
  24    emergence of clinically relevant symptoms of
  25    rebound acid hypersecretion, correct?          You agree



 Golkow Litigation Services                                      Page 197
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 198 of 328

   1    with me that that happened?
   2            A.    No.    No.
   3            Q.    No -- you don't agree with me that
   4    the -- you must not understand my question, Doctor.
   5            A.    I -- I understood the question.         They
   6    wrote that --
   7            Q.    The FDA told you -- I -- I know you
   8    disagree with the FDA.       I understand.     You disagree
   9    with the FDA.
  10            A.    But --
  11                  MR. RESTAINO:     Wait.    Wait.   There's no
  12    question pending.      Let her ask her question.
  13    BY MS. DU PONT:
  14            Q.    You agree with me that the FDA told you
  15    and Public Citizen in 2014 that they thought there
  16    was insufficient evidence of a connection between
  17    PPIs and clinically relevant rebound acid
  18    hypersecretion, right?
  19            A.    Yes.
  20            Q.    They told you that?
  21            A.    Yes.
  22            Q.    Okay.    And I understand.      You disagree
  23    with their conclusion, right?
  24            A.    Yes.
  25            Q.    Okay.    That's all.    I just wanted to



 Golkow Litigation Services                                      Page 198
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 199 of 328

   1    make sure the record was clear.
   2                  Now, you -- you note in your report, I
   3    think on Page 92, that FDA addressed rebound acid
   4    hypersecretion again in 2018 and 2019.          Do you
   5    recall that?
   6            A.    I -- I know that.
   7            Q.    Okay.    So if you know that -- and in
   8    2018 and 2019, the FDA reached the same conclusion
   9    as it did in 2014, right?       Again, it didn't think
  10    there was enough evidence to warrant a black box
  11    warning, right?
  12            A.    That is correct, but they concluded
  13    that -- that RAHS can occur after cessation of
  14    several weeks of PPI therapy.
  15            Q.    Well, let's take a look at what the FDA
  16    actually wrote.      And we can pull up Exhibit 139.
  17                  (WALDUM EXHIBIT 139, Office of
  18    Surveillance and Epidemiology (OSE) Memorandum
  19    dated 12/21/18, Subject:       Rebound Acid
  20    Hypersecretion, was marked for identification.)
  21    BY MS. DU PONT:
  22            Q.    And this is a report by FDA dated
  23    December 21st, 2018.      Do you see that?
  24            A.    Yes.
  25            Q.    And if we go to the conclusion section,



 Golkow Litigation Services                                      Page 199
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 200 of 328

   1    which I think is near the last page -- I think it's
   2    Page 15.
   3                  THE VIDEOGRAPHER:      Is that correct?
   4                  MS. DU PONT:     Yeah, that's -- that's
   5    exactly where we need to be.        Thank you, Melissa.
   6    BY MS. DU PONT:
   7            Q.    Do you see the conclusion here?         The
   8    FDA reviewed 18 FAERS cases and 16 literature
   9    publications, not previously reviewed by the agency
  10    as part of the 2014 Citizen petition response.            Do
  11    you see that?
  12            A.    Yes.
  13            Q.    And found no evidence to contradict the
  14    agency's previous conclusions.        Do you see that?
  15            A.    Yes.
  16            Q.    No scientifically sound evidence that
  17    directly associated the occurrence of rebound acid
  18    hypersecretion with the occurrence of clinically
  19    significant symptoms regarding this safety issue.
  20    Do you see that?
  21            A.    Yes.
  22            Q.    And to this day, FDA has not added a
  23    warning on rebound acid hypersecretion to the
  24    labels for PPI, correct?
  25            A.    That is correct.



 Golkow Litigation Services                                      Page 200
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 201 of 328

   1             Q.   Now --
   2                  MS. DU PONT:     We can take this document
   3    down.
   4    BY MS. DU PONT:
   5             Q.   Doctor, you agree that the Norwegian
   6    Medicine Agency also had a hearing on whether PPIs
   7    should be sold over the counter in the 2000s,
   8    right?
   9             A.   Correct.
  10             Q.   And you submitted a negative opinion on
  11    behalf of your university, correct?
  12             A.   Correct.
  13             Q.   And the Norwegian Medicine Agency
  14    rejected your views and approved PPIs for
  15    over-the-counter use, right?
  16             A.   Correct.    Their physiological knowledge
  17    was not better then in the U.S.
  18                  MR. RESTAINO:     Wait for there to be a
  19    question.
  20                  MS. DU PONT:     I'm just going to move to
  21    strike everything after "yes."
  22    BY MS. DU PONT:
  23             Q.   Doctor, I'm going to switch gears a
  24    little bit, and I want to talk to you about your
  25    opinions on ECL cells, okay?



 Golkow Litigation Services                                      Page 201
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 202 of 328

   1            A.    Okay.
   2            Q.    And I just want to make sure I'm
   3    getting your theory correct.        Your theory is that
   4    hypogastrinemia [sic], whether it's induced by PPIs
   5    or otherwise, can lead to the development of
   6    gastric cancer --
   7            A.    Yes.
   8            Q.    -- is that true?
   9                  MR. RESTAINO:     Julie, so that the -- so
  10    that the record is complete -- I'm sorry.           I didn't
  11    hear.   Was it "hyper" or "hypo" that you said?
  12                  MS. DU PONT:     Hypergastrinemia.
  13                  MR. RESTAINO:     Okay.    Thank you.    Thank
  14    you.
  15    BY MS. DU PONT:
  16            Q.    And you believe hypogastrinemia [sic]
  17    itself is sufficient to cause carcinogenesis; is
  18    that accurate?
  19            A.    Yes.
  20            Q.    And you're not offering the opinion
  21    that gastrin directly causes DNA damage, correct?
  22            A.    It is due to the proliferation or the
  23    cell division.     Every cell division has the risk of
  24    DNA mutation.     It is not direct --
  25            Q.    But there's no --



 Golkow Litigation Services                                      Page 202
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 203 of 328

   1            A.    It is not directly carcinogenic, but
   2    due to the stimulation of proliferation, it
   3    increase the risk of gastric carcinoma.
   4            Q.    Got it.    So there's -- so gastrin or
   5    increased levels of gastrin do not cause direct DNA
   6    damage; rather, they cause increased proliferation?
   7            A.    Correct.
   8            Q.    And as I understand it, your opinion is
   9    that the ECL cell gives rise to low-grade gastric
  10    neuroendocrine tumors, or NETs --
  11            A.    Correct.
  12            Q.    -- and high-grade malignancies,
  13    including both neuroendocrine tumors and
  14    adenocarcinomas; is that right?
  15            A.    Correct.
  16            Q.    And you believe this is true not just
  17    for rats, but for humans as well?
  18            A.    Correct.
  19            Q.    You agree, though, that the currently
  20    accepted theory of tumorigenesis is that neoplasia
  21    originate from stem cells, right?
  22            A.    That -- that is -- that is correct.
  23    But you said it properly, the theory.          It's not a
  24    fact.
  25            Q.    Okay.    And you appreciate that your



 Golkow Litigation Services                                      Page 203
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 204 of 328

   1    theory that tumors can develop from all cell types,
   2    not just stem cells, is not the currently accepted
   3    theory of tumorigenesis, correct?
   4            A.    Not the currently accepted --
   5            Q.    Yours is the alternate view, right?
   6            A.    Yeah.
   7            Q.    So you've come to accept that your
   8    theory or your hypothesis that ECL cell has a role
   9    in carcinogenesis has not been accepted by your
  10    peers, despite many publications by you on this
  11    topic, right?
  12                  MR. RESTAINO:     Object to form.
  13                  THE WITNESS:     In a way, it is correct,
  14    but it is increasingly more people accepting it.
  15    And as I said to you -- as I said before, if you
  16    don't accept that ECL cell developed into cancer in
  17    the Spanish family, then it is very difficult to
  18    understand of the -- the other people
  19    understands -- understand physiology and
  20    carcinogenesis.
  21    BY MS. DU PONT:
  22            Q.    But -- but you would agree with me that
  23    most experts within gastric pathology and
  24    gastroenterology, at least as of 2018, concluded
  25    that the ECL cell did not play any appreciable role



 Golkow Litigation Services                                      Page 204
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 205 of 328

   1    in human gastric carcinogenesis, correct?
   2                  MR. RESTAINO:     Object -- object to
   3    form.
   4                  THE WITNESS:     I -- I will -- will agree
   5    in that.     But if you have such a biased reference
   6    to papers, it is understandable.         For instance, as
   7    Wang, he -- he has not even written anything about
   8    hormonal carcinogenesis, although hormones is the
   9    most important cause of cancer; for instance, in
  10    cancer of the breast, cancer of -- cancer of the
  11    prostate.    And -- and none of your experts --
  12    experts here have included hormonal carcinogenesis.
  13    It's peculiar.
  14    BY MS. DU PONT:
  15            Q.    I -- I understand what you're saying,
  16    but my question is not really focused on other
  17    hormones.    My question is really just focused on
  18    your theory of ECL carcinogenesis.
  19                  You would agree with me that most
  20    experts within gastric pathology and
  21    gastroenterology at present conclude that the ECL
  22    cell does not play any appreciable role in human
  23    gastric carcinogenesis?
  24            A.    I --
  25                  MR. RESTAINO:     Object.



 Golkow Litigation Services                                      Page 205
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 206 of 328

   1                  THE WITNESS:     I agree.    I -- I agree on
   2    that.
   3    BY MS. DU PONT:
   4             Q.   You acknowledge in your book that your
   5    opinions on the ECL cell's role in human gastric
   6    carcinogenesis have not been widely accepted,
   7    right?
   8             A.   Yes.
   9             Q.   In fact, you and your research group
  10    are largely the only researchers putting forth this
  11    theory, right?
  12             A.   Yes.
  13             Q.   And you've been publishing on this
  14    theory for years, if not decades, right?
  15             A.   Decades.
  16             Q.   And it's still not widely accepted,
  17    correct?
  18             A.   Nobody has made the studies I have
  19    done.    If they -- if they did, they could say, is
  20    this correct, or is it not correct.          It's easy to.
  21    But it's difficult to me -- for me to do any more
  22    than to publish papers on it --
  23             Q.   I understand.
  24                  Now, you have acknowledged in your own
  25    publications that the ECL cell has been



 Golkow Litigation Services                                      Page 206
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 207 of 328

   1    acknowledged to give rise to neuroendocrine tumors,
   2    or NETs, but not to play any role in carcinogenesis
   3    of gastric adenocarcinomas, right?
   4            A.    It's more accepted that the ECL cell is
   5    the origin of -- of gastric NETs than gastric
   6    carcinomas.    That is correct.
   7                  But nevertheless, we -- I have
   8    published examples of how gastric NETs develop into
   9    gastric carcinomas; for instance, in the Spanish
  10    family, and also a patient with autoimmune
  11    gastritis, which we could follow during five years'
  12    disease.     Starting each year, she had atrophic
  13    gastritis, pernicious anemia, and a carcinoid was
  14    removed from the stomach, ECL cell carcinoids.            And
  15    during -- during five years, the tumor become
  16    highly malignant, and the patient died of it, and
  17    it -- it was an EC -- ECL cell carcinoma --
  18            Q.    I understand -- I understand you've
  19    published on the topic, but I'm not really focused
  20    on your publications.
  21                  What I'm trying to understand is, I
  22    think, what you've acknowledged in your own
  23    publications, which is that the ECL cell does not
  24    play any role in the carcinogenesis of gastric
  25    adenocarcinomas.     That's what the mainstream



 Golkow Litigation Services                                      Page 207
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 208 of 328

   1    thinking is, correct?
   2             A.   I -- I make another example.         Wang, in
   3    his expert report, says that gastric carcinomas of
   4    diffuse type, they lack E-cadherin.          That is the
   5    same molecule that patients with hereditary gastric
   6    cancer lacks.     And we showed in 2013 that ECL cell
   7    does not express E-cadherin.        And that is an
   8    explanation why these cells can spread much more
   9    greater than by the other cells types.
  10                  So they are in a way starting at the
  11    point where they already has -- they already have
  12    properties that make them more prone to develop
  13    tumor.    And that was not either referred.
  14             Q.   Let's -- maybe it'll help if we pull up
  15    one of your recent articles.        I'll get the right
  16    exhibit number.     It's Exhibit Number 32.
  17                  (WALDUM EXHIBIT 32, Article titled
  18    Towards Understanding of Gastric Cancer Based upon
  19    Physiological Role of Gastrin and ECL Cells, was
  20    marked for identification.)
  21    BY MS. DU PONT:
  22             Q.   And you see that this is an article
  23    published by you, Dr. Waldum, and Patricia Mjønes,
  24    right?
  25             A.   That's correct.



 Golkow Litigation Services                                      Page 208
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 209 of 328

   1             Q.   And it was published in November of
   2    2020, correct?
   3             A.   Yes.
   4             Q.   And the title is "Towards Understanding
   5    of Gastric Cancer Cell [sic] Based upon
   6    Physiological Role of Gastrin and ECL Cells,"
   7    right?
   8             A.   Correct.
   9             Q.   And on Page 1, if we scroll down just a
  10    little bit to the abstract.        It's about halfway
  11    through the abstract, you write:         The ECL cell has
  12    long been acknowledged to give rise to
  13    neuroendocrine tumours, or NETs, but not to play
  14    any role in carcinogenesis of gastric
  15    adenocarcinomas.      Do you see that?
  16             A.   Yes.
  17             Q.   And you stand by that statement, that
  18    you wrote in 2020, today, correct?
  19             A.   It -- it was not my meaning, but -- but
  20    it was what was accepted generally.
  21             Q.   And if we go to Page 3 of your article.
  22                  MS. DU PONT:     Scroll down a little bit.
  23    Keep scrolling.      Stop.   Stop.   Stop.
  24    BY MS. DU PONT:
  25             Q.   Do you see where it starts after



 Golkow Litigation Services                                      Page 209
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 210 of 328

   1    Footnote 57, "However"?
   2            A.    Yes.
   3            Q.    However -- so in -- in this article,
   4    you and Dr. Mjønes are noting:        Another -- However,
   5    another Italian central in neuroendocrine
   6    pathology, Solcia --
   7            A.    Solcia.
   8            Q.    -- Solcia, together with coauthors,
   9    concluded that gastrin can promote the
  10    proliferation of ECL cells but is per se apparently
  11    unable to induce ECL cell transformation.
  12            A.    Yes.    That is a correct citation.
  13            Q.    And -- and then that view was supported
  14    by another recent review from the group of
  15    Robert T. Jensen.      Do you see that?
  16            A.    Yes.
  17            Q.    So --
  18            A.    I -- I try to be correct when I refer
  19    to papers.
  20            Q.    I -- I understand that, and that's why
  21    you note at least -- sorry.        That's why you note
  22    here that gastrin has been claimed not to play any
  23    role in the development of gastric cancer, correct?
  24            A.    Yes.    I will say something about
  25    Solcia.    He -- he was a leading pathologist in



 Golkow Litigation Services                                      Page 210
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 211 of 328

   1    neuroendocrinology from the early '70s.          And in the
   2    late '70s, he was very interested in gastric
   3    carcinoids and gastric -- and gastric
   4    neuroendocrine carcinomas.
   5                  At -- after the middle of the '80s, he
   6    came to this conclusion that gastrin and ECL cell
   7    could not develop into gastric carcinomas because
   8    they didn't transform as they claimed.
   9            Q.    And he wasn't alone.       Robert Jensen
  10    confirmed that, correct?
  11            A.    Robert Jensen supported that view, I
  12    think, and supported Solcia.        But he hasn't done
  13    any studies related to it, I would say.
  14                  But as Wang, Solcia also claimed
  15    species differences, because it's know -- note that
  16    ECL cell does transform in many rodents.           And the
  17    genetic similarities between rats and man is more
  18    than 90 percent.     So it's more likely than less
  19    that if you find it in a rat, it also is the same
  20    for man.
  21            Q.    So let me just get back to the paper
  22    that we're looking at, though.
  23                  In this article published in 2020, you
  24    acknowledge that you and Dr. Mjønes or your group
  25    are alone in your view about the role of ECL -- the



 Golkow Litigation Services                                      Page 211
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 212 of 328

   1    ECL cell in gastric cancer, correct?
   2                  MR. RESTAINO:     Object to form.
   3                  THE WITNESS:     There are more, but not
   4    many.
   5    BY MS. DU PONT:
   6            Q.    Who -- who else has shared your view
   7    about the ECL cell in gastric cancer?
   8            A.    Well, it's a Chinese paper in 2019.          I
   9    cannot remember it now, but I --
  10            Q.    Okay.
  11            A.    -- do support it.
  12            Q.    Are you referring to the publication by
  13    Joo, J-O-O?
  14            A.    I don't remember.      It could be.
  15                  MS. DU PONT:     Why don't we pull up that
  16    publication, which I believe is Exhibit 46.
  17                  (WALDUM EXHIBIT 46, Article titled
  18    Proton pump inhibitor:       The dual role in gastric
  19    cancer, was marked for identification.)
  20    BY MS. DU PONT:
  21            Q.    And this is an article from 2019.
  22    First author, Joo, entitled "Proton pump inhibitor:
  23    The dual role in gastric cancer."         Do you see that?
  24            A.    Yes.
  25            Q.    Is this the -- the article you were --



 Golkow Litigation Services                                      Page 212
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 213 of 328

   1             A.   Can I --
   2             Q.   -- referring to?
   3             A.   Can I see the abstract?        Can I -- can
   4    you --
   5             Q.   Sure.
   6             A.   -- show me the abstract?
   7                  At least -- However, a number of
   8    physicians have raised concern about the serious
   9    side effects of long-term use of PPIs -- so I'm not
  10    completely alone -- including the development of
  11    gastric cancer.
  12             Q.   And that's --
  13             A.   And then he --
  14             Q.   Okay.
  15             A.   And then he's -- he's referring to
  16    epidemiological studies.       And so we are not
  17    completely alone.
  18             Q.   Well, let's -- I -- I want to take a
  19    look at -- on Page 9 of this article what exactly
  20    the conclusion was of these authors.          Do you see
  21    here --
  22                  MS. DU PONT:     You can stop.
  23    BY MS. DU PONT:
  24             Q.   They write:     Many physicians have
  25    raised concerns that long-term PPI use may be a



 Golkow Litigation Services                                      Page 213
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 214 of 328

   1    significant risk factor for GI tract neoplasia,
   2    including gastric cancer, and data from recent
   3    clinical studies supports this hypothesis.
   4    However, from a methodological point of view,
   5    application of the results from observational
   6    clinical studies is limited until solid evidence is
   7    available to establish the long-term use of PPI and
   8    its association with gastric cancer.          However, in
   9    patients with premalignant lesions such as atrophic
  10    gastritis or intestinal metaplasia, it may be
  11    necessary to restrict long-term PPI administration,
  12    even after H. pylori eradication, to prevent
  13    gastric cancer.     By contrast, theoretical
  14    investigations and experimental findings suggest
  15    that PPIs may play a role -- an adjunct role of
  16    improving the efficacy of chemotherapy for
  17    malignant tumors including stomach cancer.           Do you
  18    see that?
  19            A.    Yes, but I would say that I agree
  20    completely in this statement, that it is necessary
  21    to restrict long-term PPI administration, even
  22    after H. pylori eradication, to prevent gastric
  23    cancer.
  24                  It is -- it is what -- and that is the
  25    reason why you have such studies showing that



 Golkow Litigation Services                                      Page 214
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 215 of 328

   1    gastric cancer is increased much earlier than
   2    expected when starting PPIs.        Because these
   3    patients had a tumor that had started, and then you
   4    added PPIs, then that speed of growth increased --
   5    increased.    So --
   6            Q.    But, Doctor, I -- I just want to focus,
   7    though, on -- on what the -- the authors here
   8    concluded.    What they're saying is that PPIs may
   9    actually be preventive for stomach cancer, correct?
  10    That's what they say in the second-to-last --
  11            A.    What do they say exactly?        By contrast?
  12            Q.    Yes.    By contrast, PPIs may play an
  13    adjunct role of improving the efficacy of
  14    chemotherapy for malignant tumors including stomach
  15    cancer.
  16            A.    Did you see:     By contrast, theoretical
  17    investigations.      That -- and also:     Experimental
  18    findings suggest that PPIs may play a role --
  19    adjunct role.
  20                  It is probably that they have found
  21    some protease factors that has been known to
  22    inhibit carcinogenesis, but they -- they will not
  23    show that it actually does inhibit gastric
  24    carcinogenesis.      So I -- I would say that this
  25    paper support -- this support our view that we are



 Golkow Litigation Services                                      Page 215
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 216 of 328

   1    not completely alone.
   2            Q.    I think what the authors are saying --
   3    and I think you should -- I think you'll agree with
   4    me -- is that it may be possible it causes gastric
   5    cancer; it may be possible it actually helps treat
   6    gastric cancer.     That's what they're saying, right?
   7                  MR. RESTAINO:     Objection.
   8                  THE WITNESS:     In a way, that is
   9    correct.     But if -- if you have got gastric cancer,
  10    I think we -- that is the important thing and
  11    not -- how to treat it.       You have -- you have a
  12    better chance if you have that.
  13                  MS. DU PONT:     Okay.    Let's take this
  14    down.
  15    BY MS. DU PONT:
  16            Q.    Doctor, you don't cite any U.S.
  17    gastroenterology guidelines in your report, do you?
  18            A.    I don't think so.
  19            Q.    Did you review any U.S.
  20    gastroenterology guidelines in forming your
  21    opinions in this case?
  22            A.    No.
  23            Q.    And you would agree with me that no
  24    U.S. gastroenterology guidelines specifically
  25    recommend testing or monitoring serum gastrin



 Golkow Litigation Services                                      Page 216
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 217 of 328

   1    levels for PPI users, correct?
   2            A.    Correct.
   3            Q.    And no U.S. guidelines recommend
   4    testing or monitoring serum gastrin levels to
   5    identify anyone at risk, regardless of reason for
   6    developing gastric adenocarcinoma, correct?
   7            A.    Correct.
   8            Q.    And no USG -- sorry.       No U.S.
   9    gastroenterology guidelines recommend monitoring
  10    anyone on PPIs or otherwise for CgA levels to
  11    predict gastric adenocarcinoma, correct?
  12            A.    Correct.
  13            Q.    That's never been the standard of care
  14    anywhere, right?
  15            A.    In U.S., not.
  16            Q.    It's not been the standard --
  17            A.    I -- I --
  18            Q.    -- of care in Norway either?
  19            A.    I suppose that -- I suppose that that
  20    is a reason that so few papers on this have
  21    appeared from U.S., because everybody think that
  22    this is no matter; and, therefore, they will not
  23    find anything.     You -- you must -- you must search
  24    for something to find it and not say that it is not
  25    actual.



 Golkow Litigation Services                                      Page 217
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 218 of 328

   1            Q.    But no U.S. oncology guidelines
   2    recommend testing or monitoring serum gastrin
   3    levels of PPI users, correct?
   4            A.    Oncologists, they are mainly concerned
   5    in the treatment of cancer and not -- they are not
   6    so interested in the causation.
   7            Q.    But you -- you are not aware of any
   8    U.S. oncology guidelines that recommend testing or
   9    monitoring serum gastrin levels of PPI users --
  10            A.    No.
  11            Q.    -- are you?
  12            A.    That's correct.
  13            Q.    Nor are you aware of any guidelines in
  14    the United States that recommend monitoring of CgA
  15    levels for gastric carcinoma, correct?
  16            A.    Correct.
  17            Q.    And no medical organization in the
  18    United States lists ECL cell hyperplasia or
  19    hypogastrinemia [sic] as a risk factor or cause of
  20    gastric adenocarcinoma, does it?         I think you're on
  21    mute.
  22                  MS. ALTHOFF:     And I think you meant
  23    "hyper" --
  24                  THE WITNESS:     Correct.
  25                  MS. ALTHOFF:     -- Julie.



 Golkow Litigation Services                                      Page 218
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 219 of 328

   1                  THE WITNESS:     Unmute.
   2    BY MS. DU PONT:
   3            Q.    Sorry.    Let me just rephrase my
   4    question, because there was not a clear record,
   5    because I think I misspoke and you were on mute.
   6                  In your report, you don't cite any
   7    American medical organization that lists ECL cell
   8    hyperplasia or hypergastrinemia as risk factors for
   9    or causes of gastric adenocarcinoma, correct?
  10            A.    Correct.
  11            Q.    Can you point me to any medical
  12    organization anywhere in the world that tells
  13    doctors or patients that ECL cell hyperplasia or
  14    hypergastrinemia are risk factors for gastric
  15    adenocarcinoma?
  16            A.    No.
  17            Q.    And there have not been any randomized
  18    controlled trials in human beings that have
  19    confirmed your theory that hypergastrinemia or
  20    elevated serum gastrin causes gastric
  21    adenocarcinoma, correct?
  22            A.    Thank you for the -- for the question.
  23    How would we -- we agreed upon that gastric cancer
  24    takes years to develop.       It will be impossible to
  25    do any study on that in man.        We must rely on



 Golkow Litigation Services                                      Page 219
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 220 of 328

   1    animal studies.     And that is the point here.        When
   2    omeprazole was accepted for clinical use, it was
   3    the first time that the drug causing a malignant
   4    disease in an animal that was accepted for clinical
   5    use.
   6                  And that is the reason why that during
   7    all these years afterwards that I've been concerned
   8    about this.    For instance, in gastroenterology,
   9    there are some years between, but nevertheless,
  10    there are -- there are leading articles reflecting
  11    on this problem.     And they all would say there --
  12    there is no risk, but there are.         In the deep of --
  13    many doctors haven't thought about it.          And,
  14    therefore, animal studies have to be relied on.
  15            Q.    I -- I understand what you're saying
  16    about the clinical studies, but to date, no
  17    clinical trial, no randomized controlled trial has
  18    confirmed your theory that hypergastrinemia causes
  19    gastric adenocarcinoma, has it?
  20            A.    In my report, I show that every
  21    condition with hypergastrinemia uses gastric tumors
  22    in rats, in different other rodents and also in
  23    man.
  24            Q.    But there is no randomized controlled
  25    clinical trial that has confirmed your theory that



 Golkow Litigation Services                                      Page 220
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 221 of 328

   1    hypergastrinemia causes gastric adenocarcinoma, has
   2    there?
   3             A.   No.   It depends on what you would --
   4    how you -- you will find that hypergastrinemia
   5    predisposes to gastric cancer.        For instance, there
   6    are two studies, one from Finland, a combination of
   7    a U.S./Finnish study showing that patients that had
   8    high gastrin 20, 30 years before had an increased
   9    risk of gastric cancer.
  10                  And they have this epidemiological
  11    study from Norway where I took the study to that
  12    study where patients with higher gastrin values
  13    developed gastric cancer in the oxyntic mucosa more
  14    often than those with lower gastric -- lower
  15    gastrin values.     That is the best that exists.
  16             Q.   Doctor, the answer to my question of
  17    whether there's been a randomized controlled
  18    clinical trial that has shown hypergastrinemia
  19    leads to gastric cancer is "no," isn't it?
  20             A.   It depends on how you evaluate it.
  21    Patients with autoimmune gastritis, one would say
  22    they have high gastrin values, and they have both
  23    ECL cell NETs and gastric carcinomas.          One would
  24    say that -- that they develop -- develop this
  25    because of the inflammation.        I would say that they



 Golkow Litigation Services                                      Page 221
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 222 of 328

   1    develop it because of gastrin.        So it is difficult
   2    to come around with.
   3            Q.    Okay.    We'll move on.
   4                  Doctor, your own research has confirmed
   5    that hypergastrinemia is not associated with
   6    increased mortality, right?
   7            A.    Yeah.    That -- that -- patients with --
   8    with gastric cancer are not -- have not increased
   9    mortality when they have hypergastrinemia.           And I
  10    think that is quite easy to explain.          Because the
  11    cancers in this situation develop slowly.           And you
  12    need not to have such deep mutation affecting the
  13    cell so much, and nevertheless, it develop into a
  14    cancer.    So at a certain stage, it will not be more
  15    malignant than other gastric cancers.
  16                  So we talked about this gastric NETs or
  17    carcinoids.    They were more benign in the -- when
  18    they were developed in hypergastrinemic state than
  19    spontaneously.     That is the same for gastric
  20    cancer, I would say.
  21            Q.    Okay.    We talked a little earlier about
  22    Zollinger-Ellison syndrome; do you remember that?
  23            A.    Zollinger-Ellison syndrome?
  24            Q.    Yes.
  25            A.    Yeah.



 Golkow Litigation Services                                      Page 222
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 223 of 328

   1             Q.   That's a condition characterized by
   2    high levels of gastrin, correct?
   3             A.   Yes.
   4             Q.   And Zollinger-Ellison syndrome patients
   5    often have ten times the upper limit of normal
   6    gastrin levels, correct?
   7             A.   Yes.    Correct.
   8             Q.   And I'm just going to refer to it as
   9    "ZES"; is that okay?
  10             A.   Okay.
  11             Q.   ZES patients reportedly have much
  12    higher levels of gastrin than people taking PPIs,
  13    right?
  14             A.   Yes.
  15             Q.   But --
  16             A.   But -- but -- but --
  17                  MR. RESTAINO:      There's no question.
  18                  THE WITNESS:     Okay.
  19    BY MS. DU PONT:
  20             Q.   Let's -- let me just keep asking --
  21             A.   Yeah.
  22             Q.   -- my question.
  23                  But Zollinger -- but ZES patients do
  24    not have a higher risk of gastric adenocarcinoma
  25    compared to the general population, do they?



 Golkow Litigation Services                                      Page 223
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 224 of 328

   1            A.    That is correct.
   2            Q.    And can you point me to any data
   3    showing that ZES patients have higher rates of
   4    gastric adenocarcinoma than the general population?
   5            A.    We are talking about Zollinger-Ellison
   6    syndrome --
   7            Q.    Yes.
   8            A.    -- patients.     And as I said, you have
   9    two types of Zollinger-Ellison's syndrome.           It is a
  10    malignant disease.      Half of them, you have the type
  11    connected to multiple endocrine neoplasia.
  12                  THE REPORTER:     To what?
  13                  THE WITNESS:     They develop --
  14                  THE REPORTER:     Connected to what?
  15                  THE WITNESS:     Multiple endocrine
  16    neoplasia type 1.      They develop carcinoids,
  17    ECL cell carcinoids more often than those having
  18    carcinomas of sporadic type.
  19                  But patients with sporadic-type
  20    gastrinoma, they have -- they have more malignant
  21    disease.     If they are operated before metastasis,
  22    they recover, and they will have normal gastrin.
  23    If they -- if you can't or -- or -- do surgery and
  24    radically remove all the carcinoma, then they will
  25    die after a shorter time.       So these patients will



 Golkow Litigation Services                                      Page 224
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 225 of 328

   1    not have a long period with hypergastrinemia, and
   2    of course, they will not develop adenocarcinoma
   3    that we agreed upon takes time to develop.
   4    BY MS. DU PONT:
   5            Q.    But my question was not about the
   6    different types of ZES.       My question was:      Is there
   7    any data that you can point me to that ZES patients
   8    have higher rates of gastric adenocarcinoma than
   9    the general population?       You can't point me to any
  10    data showing that, correct?
  11            A.    I gave you an explanation why they --
  12    they don't live long enough and -- with
  13    hypergastrinemia.
  14            Q.    But there is no data showing ZES
  15    patients have higher rates of gastric cancer than
  16    the general population, is there?
  17            A.    That's correct, because they do not --
  18            Q.    Got it.
  19            A.    -- live long enough.
  20            Q.    Are you aware of research, including
  21    research in animal models, that suggest gastrin may
  22    actually suppress certain types of gastric
  23    adenocarcinoma?
  24            A.    It could be that the PPIs have, you
  25    know -- it's whether the gastrin receptor mediates



 Golkow Litigation Services                                      Page 225
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 226 of 328

   1    a positive trophic effect or a negative trophic
   2    effect.
   3                  It could be that you -- in the G-cells
   4    in the antrum could have a negative -- that gastrin
   5    could have a negative atrophic effect on the antral
   6    G-cells, and thus have a negative effect on the
   7    development of gastric cancer there opposite to
   8    what is found in the -- in the oxyntic area where
   9    it is a positive effect related to growth.
  10            Q.    So there is evidence out there that
  11    gastrin may actually suppress certain types of
  12    gastric adenocarcinomas?
  13            A.    In the antrum, but there is at -- it's
  14    at least a suggestion.       There are very few studies,
  15    but I -- I have seen it.
  16            Q.    Let me switch gears -- gears just a
  17    little bit and talk again about gastroenterology
  18    guidelines.    There's no U.S. gastroenterology
  19    guidelines that recommends taking biopsies from
  20    patients on PPIs and performing neuroendocrine
  21    stains on the tissue to look for ECL hyperplasia,
  22    is there?
  23            A.    I know that because you will not detect
  24    what is going on.
  25            Q.    So the answer is no, there are no



 Golkow Litigation Services                                      Page 226
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 227 of 328

   1    guidelines that recommend that?
   2            A.    Correct.
   3            Q.    And there are no U.S. guidelines that
   4    say that doctors should take a biopsy to stain for
   5    ECL hyperplasia -- cell hyperplasia to identify
   6    people at an increased risk of gastric
   7    adenocarcinoma, correct?
   8            A.    Correct.
   9            Q.    And no U.S. guideline says to test for
  10    chromogranin A levels to see if a patient may have
  11    an ECL mass to identify people at risk for gastric
  12    adenocarcinoma, correct?
  13            A.    Correct.    Correct.
  14            Q.    And no U.S. gastroenterology guidelines
  15    tells doctors that ECL cell hyperplasia is an
  16    established marker for an increased risk of any
  17    type of gastric adenocarcinoma, correct?
  18            A.    Correct.    Correct.
  19            Q.    And similarly, no U.S. oncology
  20    guideline recommends looking for ECL hyperplasia to
  21    identify people at risk of developing gastric
  22    adenocarcinomas, correct?
  23            A.    Correct.
  24            Q.    And no regulatory agency has identified
  25    ECL cell hyperplasia as a marker for gastric



 Golkow Litigation Services                                      Page 227
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 228 of 328

   1    adenocarcinoma risk, correct?
   2            A.    Correct.
   3            Q.    Would you agree with me that ECL cells
   4    proliferate slowly?
   5            A.    Correct.    It was doubted whether they
   6    did divide at all.      I had a dispute in the '90s
   7    about that with a pathologist that claimed they --
   8    they did not proliferate.       That has become clear
   9    later, that they do proliferate.
  10            Q.    They do proliferate, albeit very
  11    slowly, correct?
  12            A.    It's very slowly.      And, for instance,
  13    when you -- when you treat patients having been
  14    treated for 10 weeks with PPI in an acceptable
  15    dose, it took 20 weeks until after cessation of
  16    treatment until you had normal ECL cell density,
  17    showing how long the time it takes and --
  18            Q.    Let me ask you a different question.
  19            A.    That was a Austria study.        That was a
  20    study from Austria --
  21            Q.    Austria?
  22            A.    -- in there, yeah.
  23            Q.    Have you shown in your research how
  24    long ECL cells last for before they die?
  25            A.    They have a long longevity.        I can't



 Golkow Litigation Services                                      Page 228
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 229 of 328

   1    say how long.
   2            Q.    Is it a few weeks?
   3            A.    More -- some months.
   4            Q.    Some months.
   5                  And have you shown how often they
   6    divide?
   7            A.    They have -- without hypergastrinemia,
   8    they have a very slow proliferation.          But, for
   9    instance, one study in -- in mice, published in
  10    2020, he showed that they -- a very rapid
  11    proliferation.     And he then made -- he -- he
  12    claimed that mature ECL cell proliferated much
  13    slower than young or progenitor ECL cells, that
  14    there was a brief proliferation in that model --
  15    mice model.
  16            Q.    Have you shown in your research how ECL
  17    cells acquire mutations that lead to cancer?
  18            A.    I -- I have not studied which type of
  19    mutation ECL cell gains before developing into
  20    cancer, and I don't know anybody -- I do not know
  21    any study of that.
  22            Q.    So just so the record is clear, you
  23    have not shown in your research how ECL cells
  24    acquire mutations, and no one else has either,
  25    correct?



 Golkow Litigation Services                                      Page 229
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 230 of 328

   1            A.    Correct.    But it is -- every cell
   2    division will lead to a mutation -- it leads to a
   3    mutation.    And that will be by chance which
   4    mutation that occurs.       And if you have bad chance,
   5    that is a mutation that affects an important part
   6    of the regulation of the ECL cell proliferation or
   7    properties.    That is the usual way.
   8            Q.    But you haven't shown a specific way in
   9    any of your research, correct?
  10            A.    I have not examined that because I
  11    think that that would differ from case to case.
  12            Q.    You don't have any evidence that ECL
  13    cells can self-renew, do you?
  14            A.    That ECL cell can --
  15            Q.    Can self-renew?
  16                  MR. RESTAINO:     Object to form.
  17                  THE WITNESS:     What did -- can --
  18    BY MS. DU PONT:
  19            Q.    Can self- -- you don't have any
  20    evidence that ECL cells can self-renew, do you?
  21            A.    Yes, it has been shown that they --
  22    they proliferate and that you have Ki-67 in ECL
  23    cell NETs showing that they proliferate.
  24            Q.    I didn't ask if they proliferate.          Let
  25    me just ask a different question.



 Golkow Litigation Services                                      Page 230
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 231 of 328

   1                  Have you shown that you can grow ECL
   2    cells in culture?
   3            A.    No.    You know, these hormonal cells,
   4    they are very differentiated, even when they cause
   5    malignancy.    It is a special trait with these
   6    tumors, that they look very like the normal cells,
   7    but nevertheless, they behave malignant and --
   8                  So they will not grow easily, at least
   9    from ECL cell NETs.      It could be that if you tried
  10    to -- ECL cell neuroendocrine carcinomas, you may
  11    perhaps succeed.
  12            Q.    Okay.    I want to talk a little bit
  13    about the diffuse type of adenocarcinoma and your
  14    theory about that, okay?
  15            A.    Yes.
  16            Q.    You believe that the ECL cell is the
  17    cell of origin for diffuse-type gastric
  18    adenocarcinoma, in particular, the signet-ring
  19    subtype of diffuse adenocarcinoma; is that right?
  20            A.    Correct.
  21            Q.    And your research has primarily focused
  22    on ECL cells and adenocarcinoma of the diffuse
  23    type, right?
  24            A.    Correct.
  25            Q.    And on Page 67 of your report, which is



 Golkow Litigation Services                                      Page 231
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 232 of 328

   1    Exhibit 4 -- and let's just see if you -- I'm going
   2    to have to pull it up.       You write:    The presence --
   3                   MS. DU PONT:    Oh, here she comes.       I
   4    think it'll be Page 68 on the PF -- PDF.           Stop.     Go
   5    back up.      Go back up.   No, not -- go -- yeah.
   6    There we go.     Stop.
   7    BY MS. DU PONT:
   8             Q.    Do you see here on Page 67 of your
   9    report, you write:       The presence of neuroendocrine
  10    tumour cells in adenocarcinomas has been a problem
  11    in cancer classification for a long time?
  12             A.    That is correct.
  13             Q.    However, it is more likely than not
  14    that the ECL cell is a cell of origin for gastric
  15    carcinomas of the diffuse type.         Do you see that?
  16             A.    Yes.
  17             Q.    So your opinion is that the ECL cell is
  18    the cell of origin for diffuse-type adenocarcinoma,
  19    right?
  20             A.    Correct.
  21             Q.    And the basis for that opinion is that
  22    diffuse-type adenocarcinomas have been shown to
  23    exhibit neuroendocrine features or markers based on
  24    immuno -- immunohistochemistry staining, right?
  25             A.    Not only immunohistochemistry, but I



 Golkow Litigation Services                                      Page 232
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 233 of 328

   1    think in situ hybridization, too --
   2             Q.   Understood.
   3             A.   -- and in electron microscopy -- in
   4    electron microscopic examination.
   5             Q.   Now, you believe that neuroendocrine
   6    markers are compatible with ECL cell origin,
   7    correct?
   8             A.   Correct.
   9             Q.   But they're not definitive proof of ECL
  10    cell origin, correct?
  11             A.   I would say that it's the best way to
  12    determine the origin.
  13             Q.   Okay.    But excluding your own
  14    publications, are you aware of any scientific
  15    literature that says that if an adenocarcinoma
  16    displays neuroendocrine markers, then it must have
  17    originated from an ECL cell?
  18             A.   For instance, signet-ring cell
  19    carcinomas, there are more papers showing
  20    neuroendocrine differentiation, possibly not -- not
  21    necessarily ECL cell differentiation, but
  22    neuroendocrine differentiation.         So I think that's
  23    for signet-ring cells.       Signet-ring cell
  24    carcinomas, the probability -- probability is
  25    great.



 Golkow Litigation Services                                      Page 233
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 234 of 328

   1             Q.   So there are publications -- I just
   2    want to understand -- I understood what you said.
   3    There are publications on signet-ring cell
   4    adenocarcinomas that report that the presence of
   5    neuroendocrine markers means that the ECL cell is
   6    the cell of origin for that cancer?
   7             A.   I -- I said that there are
   8    neuroendocrine markers and -- but I don't remember
   9    whether they concluded that they -- they were ECL
  10    cell origin.
  11             Q.   So that's where I'm focused.         I
  12    understand there might be publications that talk
  13    about neuroendocrine markers in signet cells.            But
  14    there aren't any that discuss that those
  15    neuroendocrine markers mean that the ECL cell was
  16    the cell of origin, correct?
  17             A.   It -- it depends on the markers,
  18    whether they are specific for -- for ECL cells or
  19    whether they are general neuroendocrine markers.
  20             Q.   What's the process, then?        Maybe
  21    it's -- I'm just confused.        What's the process for
  22    definitively determining the cell of origin of a
  23    tumor?
  24             A.   If -- if you know the cell origin of a
  25    tumor, you know by the regulation of its growth,



 Golkow Litigation Services                                      Page 234
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 235 of 328

   1    you will know how it develops.
   2            Q.    But how do you determine the cell of
   3    origin of a tumor?      What research do you need to do
   4    to determine that?
   5            A.    If you so -- if you show that the
   6    cancer cells obtain fresh markers, then you can
   7    reasonably -- be reasonably sure that -- of its
   8    origin.
   9            Q.    Have you done any genetic or epigenetic
  10    testing to determine whether the ECL cell is the
  11    cell of origin for diffuse gastric carcinomas?
  12            A.    You touched upon previously.         It's
  13    genetic classification of tumors.         It has not been
  14    very successful, and it has not been adopted by
  15    many.   And I think it has not been very useful for
  16    treatment of cancers either.
  17                  That's -- this -- that classification,
  18    mixed cause of gastric cancer and the Epstein-Barr
  19    virus and mixed factors in the pathogenesis, that
  20    is the genetic changes.       So I think that, then, to
  21    do such a study, you must compare the -- the
  22    genetic expression of normal ECL cell with the
  23    cancer cells.     And that can be done.       And -- and I
  24    have not done that -- that yet.
  25            Q.    You have not compared the genetic



 Golkow Litigation Services                                       Page 235
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 236 of 328

   1    origin using --
   2            A.    You -- you must compare with a
   3    normal -- genetic expression in the normal cell and
   4    compare it with a gastric cell.         You cannot say
   5    from just doing a genetic examination of the
   6    expression of a cancer cell, where it comes from,
   7    if you don't know the possible cells of origin.
   8            Q.    So you have not done that testing to
   9    compare --
  10            A.    I haven't done that.
  11            Q.    Let me just finish my question.
  12                  You haven't done that testing to
  13    compare the normal cell to the cancer cell to
  14    determine the cell of origin, correct?
  15            A.    No, I haven't.
  16            Q.    And you haven't shown in any research
  17    that ECL cells transform into stem cells, correct?
  18            A.    That ECL cells --
  19            Q.    -- transform into stem cells?
  20            A.    No.
  21            Q.    And let's switch to intestinal-type
  22    adenocarcinoma, okay?
  23            A.    It is --
  24            Q.    I'm going to focus now on
  25    intestinal-type adenocarcinoma, okay?



 Golkow Litigation Services                                      Page 236
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 237 of 328

   1            A.    Okay.    Okay.   Yeah.    Let -- let me --
   2    before we --
   3            Q.    Do you want to take a break?
   4            A.    -- stop -- stop -- no.
   5                  Before we stop on the diffuse type, I
   6    think Wang had no hypothesis or idea how they
   7    developed, just --
   8            Q.    I did not understand what you said.
   9    There was no question --
  10            A.    Tim --
  11                  MR. RESTAINO:     Let's just -- there's --
  12    BY MS. DU PONT:
  13            Q.    -- pending.
  14                  MR. RESTAINO:     Yeah's, there's no
  15    answer -- no question pending.         So just --
  16                  THE WITNESS:     Okay.
  17                  MR. RESTAINO:     -- wait for her
  18    question.
  19                  MS. DU PONT:     We'll just strike that.
  20    BY MS. DU PONT:
  21            Q.    Mr. Restaino will have an opportunity
  22    at the end of the deposition to ask you questions.
  23    So if you feel like you didn't get to explain
  24    anything, he can ask you questions about that,
  25    okay, Dr. Waldum?



 Golkow Litigation Services                                      Page 237
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 238 of 328

   1            A.    Okay.    Okay.
   2            Q.    Dr. Waldum, the scientifically accepted
   3    way by which intestinal-type gastric adenocarcinoma
   4    develops is through the Correa pathway, right?
   5            A.    Yes, yes.
   6            Q.    Increased serum gastrin is not a factor
   7    in the Correa pathway, correct?
   8            A.    Correct.
   9            Q.    And ECL cells are not a factor in the
  10    Correa pathway, correct?
  11            A.    That is correct.
  12            Q.    And the intestinal-type gastric
  13    adenocarcinoma originates from the stem cell,
  14    correct?
  15            A.    Probably correct.
  16            Q.    And you believe the ECL cell plays a
  17    role in the development of intestinal-type
  18    adenocarcinoma; however, you acknowledge it is not
  19    known whether this is due to a direct or indirect
  20    effect on the stem cell, correct?
  21            A.    It -- it is concerning gastrin.         I do
  22    not know whether it is a direct or indirect effect
  23    concerning ECL cell.
  24            Q.    I -- I understand what you're saying.
  25            A.    Yeah.    It is --



 Golkow Litigation Services                                      Page 238
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 239 of 328

   1             Q.   You're saying it's not known whether
   2    there's a direct effect upon the gastrin receptor
   3    that is indirect -- sorry.        Let me -- let me
   4    withdraw that question.
   5             A.   That is correct.
   6             Q.   Let me just ask the question so it's
   7    clear.    You're saying you don't know whether it's a
   8    direct effect on the gastrin receptor or an
   9    indirect effect on the gastrin receptor that
  10    influences the stem cell, correct?
  11             A.   Yes.   That is correct.
  12             Q.   So how can you conclude that the
  13    gastric carcinomas of intestinal type most probably
  14    originate from the stem cells secondary to
  15    continuous overstimulation by, for instance, Reg
  16    protein continuously overreleased by an increased
  17    ECL cell mass due to hypergastrinemia?          How can you
  18    conclude that if you don't know whether it's
  19    indirect or direct?
  20             A.   There has been found no gastrin
  21    receptor on the stem cell.        That was -- but we know
  22    that the stem cell must be include -- must be
  23    included in the trophic effect of gastrin by
  24    oxyntic mucosa, because all the cell types do
  25    increase in -- in number, except the ECL cell that



 Golkow Litigation Services                                      Page 239
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 240 of 328

   1    increases much more than the other cells.
   2                  And Timothy Wang has not found any
   3    gastrin receptor on the stem cell either.           But
   4    hypergastrinemia induces ECL cell hyperplasia.             And
   5    the ECL cells produces some substance like Reg
   6    protein, having a trophic effect on the stem cell.
   7    They produce basic fibroblast growth factor,
   8    inducing --
   9                  THE REPORTER:     They produce what
  10    factor?
  11                  THE WITNESS:     Basic fibro -- fibroblast
  12    growth factor and then -- and also histamine, all
  13    playing a role in the spread of cancers and causing
  14    fibrosis.
  15                  And -- so if it's -- we must remember
  16    that Helicobacter pylori, the main cause of gastric
  17    cancer, do not cause cancer without having induced
  18    oxyntic atrophy.     And concerning Correa cascade, it
  19    is recently disputed whether the metaplasia
  20    actually plays any role in that carcinogenesis or
  21    whether it's just a marker of cancer.
  22                  Now, many, even American, publications
  23    on that talk -- again, you have this gastric
  24    atrophy, and -- and does it have a direct effect on
  25    the stem cell, or is it via gastrin, ECL cell and



 Golkow Litigation Services                                       Page 240
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 241 of 328

   1    Reg protein.     You have -- you have a cascade there
   2    that is difficult to say what is correct.
   3    BY MS. DU PONT:
   4             Q.   So if I'm understanding you correctly,
   5    Doctor, this theory that the ECL cell may somehow
   6    be stimulating the stem cell, that's just a
   7    hypothesis on your part, correct?
   8             A.   Yeah.
   9             Q.   You agree that the role of the Reg
  10    protein, if any, in gastric cancer has not been
  11    established as an accepted way by which
  12    intestinal-type adenocarcinoma develops?
  13             A.   Correct.
  14             Q.   Are you aware of any literature that
  15    Reg proteins may be markers of inflammation?
  16             A.   No.    Not -- not all Reg proteins, at
  17    least.    There's four different Reg proteins.
  18                  MS. DU PONT:     Why don't we take a break
  19    at this point.      I know we've been going for a
  20    while.
  21                  THE VIDEOGRAPHER:      The time now is
  22    12:15 p.m.    We are off the record.
  23                                * * *
  24                  (Whereupon, there was a recess in the
  25    proceedings from 12:15 p.m. to 12:31 p.m.)



 Golkow Litigation Services                                      Page 241
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 242 of 328

   1                                * * *
   2                  THE VIDEOGRAPHER:      The time now is
   3    12:31 p.m.    We are back on the record.
   4    BY MS. DU PONT:
   5            Q.    Okay, Dr. Waldum.      I'm switching gears
   6    a little bit, and I want to just talk about gastric
   7    cancer and PPIs.
   8                  If a patient takes PPIs and develops
   9    gastric cancer, regardless of type, location, how
  10    long they were taking the PPI, will you always say
  11    that PPIs were the cause or contributor to their
  12    gastric cancer?
  13            A.    No.
  14            Q.    So under what circumstances would PPIs
  15    not be a cause of gastric cancer?
  16            A.    Short-term use.
  17            Q.    What is short term?
  18            A.    A few months.
  19            Q.    How long does a patient have to take
  20    PPIs for you to consider it a cause of gastric
  21    cancer?
  22                  MR. RESTAINO:     Object to form.
  23                  THE WITNESS:     As we were discussing
  24    before, it depends when the patient have any
  25    condition that predisposes to gastric cancer



 Golkow Litigation Services                                      Page 242
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 243 of 328

   1    before; for instance, that they had Helicobacter
   2    pylori.    Whether eradicated or whether he still has
   3    Helicobacter pylori infection, the times will --
   4    the time will be shorter until the tumor develop.
   5    BY MS. DU PONT:
   6            Q.    How about -- so if they do have
   7    H. pylori infection, how long do they have to take
   8    a PPI for you to consider it a cause of their
   9    gastric cancer?
  10            A.    We have the Cheung study from Hong Kong
  11    showing increase to this during the first -- I
  12    think increasing risk with time from Year 1 or 2
  13    until Year 7 in that study, and that is probably
  14    the correct answer.
  15            Q.    So the patient has to have taken a PPI
  16    for at least a year if they've had an H. pylori
  17    infection for you to consider it a cause of their
  18    gastric cancer?
  19            A.    It is no absolute limits, you know.          It
  20    is -- but the longer you take it, the higher the
  21    risk.   And the -- the shorter you use it, the lower
  22    the risk.    But it's probably a continuous spectrum.
  23            Q.    I understand there's no absolutes in
  24    medicine.    But in your -- in your experience as a
  25    gastroenterologist, and given your knowledge about



 Golkow Litigation Services                                      Page 243
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 244 of 328

   1    PPIs and cancer, would you agree with me that
   2    less-than-one-year use is not enough to say that
   3    PPIs cause cancer -- or cause gastric cancer in a
   4    patient with an H. pylori infection?
   5            A.    As I said, it -- it could have speeded
   6    up the growth.     So it's apparently caused it, but I
   7    wouldn't say that it caused it.         It just made it
   8    grow faster.
   9            Q.    Are there locations -- so -- so -- hold
  10    on one second.
  11                  Other -- in -- in patients that don't
  12    have H. pylori infection, how long do they have to
  13    take a PPI before you would consider it a cause of
  14    their gastric cancer?
  15            A.    Again, no absolute limits, but I would
  16    say that -- eight, ten years.
  17            Q.    Okay.    Are there locations of gastric
  18    cancer -- locations in the stomach where gastric
  19    cancer occurs where you would say PPIs were not a
  20    cause of their cancer?
  21            A.    If you are sure that the tumor appeared
  22    in the antral mucosa, I would say that it didn't
  23    cause it.    But as I said previously, the oxyntic
  24    glands are deeper into the antral area than
  25    previously realized.      But neopylorus, I wouldn't



 Golkow Litigation Services                                      Page 244
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 245 of 328

   1    say that PPIs could play any role.
   2             Q.   So if a cancer -- gastric cancer
   3    occurred at the esophageal junction, would you say
   4    that PPIs were the cause?
   5             A.   If it originated in the esophagus, I
   6    wouldn't say.
   7             Q.   If it originated where?
   8             A.   In the esophageal mucosa, Barrett's, I
   9    would say not.
  10             Q.   If the cancer -- so just so the court
  11    reporter heard and I understand for the record, if
  12    the cancer originated in the esophagus, you would
  13    not say PPIs caused that cancer?
  14             A.   Correct.
  15             Q.   If the -- would you rule out that PPIs
  16    don't cause lymphomas?
  17             A.   I -- I do not believe they cause
  18    lymphomas.
  19             Q.   Is there any other type of
  20    adenocarcinoma that you would say PPIs do not
  21    cause?
  22             A.   In the stomach or everywhere?
  23             Q.   Sorry.    Let me rephrase my question.
  24                  Are there any other locations in the
  25    stomach for -- that you would say PPI -- stop



 Golkow Litigation Services                                      Page 245
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 246 of 328

   1    again.    Let me withdraw that.
   2                  If we're talking about gastric
   3    adenocarcinoma --
   4             A.   Yes.
   5             Q.   -- are there any locations in the
   6    stomach where you would rule out PPIs as a
   7    potential cause, other than in the antral mucosa?
   8             A.   No.
   9             Q.   Okay.    I'm going to direct you to your
  10    report at Page 111.
  11                  MS. DU PONT:     Can you scroll down?
  12    BY MS. DU PONT:
  13             Q.   Here at the last sentence, you write:
  14    It is beyond the scope of this expert report to
  15    discuss the epidemiology in detail.          Do you see
  16    that?
  17             A.   Yes.
  18             Q.   And the reason why you're not going to
  19    discuss the epidemiology in detail is because
  20    you're not an epidemiologist, correct?
  21             A.   Correct.
  22             Q.   You don't consider yourself to be an
  23    expert in epidemiology, correct?
  24             A.   I will not say expert, but I can
  25    evaluate papers when they appear.         But I would not.



 Golkow Litigation Services                                      Page 246
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 247 of 328

   1    We have an epidemiologist, and he invests the
   2    resource.
   3            Q.    You'll -- you'll leave the
   4    determination about the value of the epidemiology
   5    to the epidemiologists, correct?
   6            A.    Yes --
   7            Q.    And --
   8            A.    -- as I leave the pathology to the
   9    pathologists.
  10            Q.    Right.
  11                  And you believed -- even before there
  12    were observational studies reporting an association
  13    between gastric cancer and PPIs, you believed that
  14    PPIs could possibly cause gastric cancer, correct?
  15            A.    Correct.
  16            Q.    And regardless of the -- of the
  17    epidemiology, whether it said it -- whether it
  18    reported an association or not, would you still
  19    conclude that PPIs are a possible cause of gastric
  20    cancer?
  21            A.    I -- well, I -- I will adapt according
  22    to the facts that appear, but presently, it's too
  23    short a time to change this idea.
  24            Q.    So --
  25            A.    Because -- because cancer is such a



 Golkow Litigation Services                                      Page 247
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 248 of 328

   1    long-term process, cancer development, it's far too
   2    early to say that they do not cause cancer.
   3            Q.    So the observational studies that
   4    discuss the association between PPIs and gastric
   5    cancer are too short to inform your opinion on
   6    whether PPIs cause gastric cancer?
   7                  MR. RESTAINO:     Object to form.
   8                  THE WITNESS:     Especially the -- the
   9    study by Moayyedi on the large study, the
  10    randomized study.      It was such a short time that I
  11    would not rely much on that study, because I think
  12    the minimum time was about three years, and that is
  13    far too short to exclude that PPIs cause gastric
  14    cancer.
  15    BY MS. DU PONT:
  16            Q.    So is your opinion about -- so is your
  17    opinion that PPIs cause gastric cancer based solely
  18    on the animal studies?
  19            A.    No.
  20                  MR. RESTAINO:     Object to form.
  21                  THE WITNESS:     No.
  22    BY MS. DU PONT:
  23            Q.    Okay.
  24            A.    They are on the studies in man, and
  25    especially, I talked about the Spanish family.



 Golkow Litigation Services                                      Page 248
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 249 of 328

   1    Anyway, that should be sufficient alone to say that
   2    PPIs cause gastric cancer.
   3             Q.   But going back to my question on the
   4    observational studies, I'm not asking about the
   5    randomized controlled clinical trials.          I'm asking
   6    about the observational studies.
   7             A.   Yes.
   8             Q.   Are those observational studies too
   9    short to assess whether or not PPIs cause gastric
  10    cancer?
  11                  MR. RESTAINO:     Object to form.
  12                  THE WITNESS:     I missed information
  13    about the dose of PPIs, for instance.          And, also,
  14    there are confounding factors in some of these
  15    studies that make that conclusion difficult to
  16    accept.
  17    BY MS. DU PONT:
  18             Q.   I think -- I think I just lost you
  19    there.    Can you repeat your answer?
  20             A.   And there are confounding factors in
  21    many of these studies that make the conclusion
  22    uncertain.
  23             Q.   So would you agree with me that the
  24    observational studies that look at PPIs and gastric
  25    cancer show an association but are insufficient to



 Golkow Litigation Services                                      Page 249
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 250 of 328

   1    show causation?
   2                  MR. RESTAINO:     Objection.
   3                  THE WITNESS:     They suggest a causation,
   4    but most of them do not prove it.
   5    BY MS. DU PONT:
   6            Q.    I want to turn to Mr. Baudin for a
   7    second here.     You write in your report that you
   8    reviewed the germane records for Mr. Baudin.           What
   9    do you mean by "germane"?
  10            A.    Where did you --
  11            Q.    If we look at Page --
  12                  MS. DU PONT:     Why don't we go to his
  13    report -- it's still up on the screen -- to
  14    Page 141, which is 142 of the PDF.
  15    BY MS. DU PONT:
  16            Q.    The first sentence says:        I have
  17    reviewed the germane medical records pertaining to
  18    the patient, Stanley Baudin.
  19            A.    Yes.
  20            Q.    What does -- what do you mean by
  21    "germane"?
  22            A.    The most important.
  23            Q.    So you did not review all of the
  24    medical records for Mr. Baudin?
  25            A.    I didn't get all of them.



 Golkow Litigation Services                                      Page 250
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 251 of 328

   1            Q.    How do you know you didn't get all of
   2    them?
   3            A.    I recognized when I saw Wang's and --
   4    report that -- records that I hadn't got.
   5            Q.    So you understood when you saw
   6    Dr. Wang's report that he had reviewed more medical
   7    records for Mr. Baudin than you had?
   8            A.    Yes.
   9            Q.    So it's your -- is -- did you review
  10    all of the medical records that the plaintiff's
  11    counsel for Mr. Baudin provided to you?
  12            A.    I looked at all what I could.
  13            Q.    All that was provided to you, you
  14    reviewed?
  15            A.    Yes.    Yeah.
  16            Q.    But it's your understanding, from
  17    reviewing Dr. Wang's report, that there are
  18    additional medical records for Mr. Baudin that you
  19    have not reviewed, correct?
  20            A.    Correct.
  21            Q.    And have you asked to see those
  22    records?
  23            A.    I have not asked for them --
  24            Q.    Okay.
  25            A.    -- though I -- but I think the



 Golkow Litigation Services                                      Page 251
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 252 of 328

   1    important records I have seen.
   2            Q.    When did you first receive the records
   3    for Mr. Baudin?
   4            A.    In -- I think in November '21.
   5            Q.    And did you review them shortly after
   6    receiving them?
   7            A.    Yes.
   8            Q.    Did you -- when you finished your
   9    review for Mr. Baudin's case, did you think there
  10    was any medical record that was missing that you
  11    would have liked to have seen?
  12            A.    It wasn't obvious to me that I hadn't
  13    got everything, but I think that there were some
  14    uncertainties about what has happened about his
  15    records.     I had some difficulties with them.        But,
  16    no, I think that after I've seen the other records,
  17    I feel quite confident that I haven't missed
  18    anything of importance.
  19            Q.    Did you ever meet Mr. Baudin?
  20            A.    Never.
  21            Q.    And I assume you haven't met his wife,
  22    Pamela, either?
  23            A.    What?
  24            Q.    And you haven't met his wife, Pamela,
  25    either, correct?



 Golkow Litigation Services                                      Page 252
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 253 of 328

   1            A.    No.    No.
   2            Q.    Have you talked to any of Mr. Baudin's
   3    healthcare providers?
   4            A.    No.
   5            Q.    And you reviewed the report of
   6    Dr. Mjønes, who reviewed Mr. Baudin's pathology at
   7    your request, correct?
   8            A.    Yes.
   9            Q.    You did not review his pathology
  10    yourself, correct?
  11            A.    Correct.
  12            Q.    Can we agree that Mr. Baudin had GERD?
  13            A.    Yes.    But -- but at the time of
  14    operation, he had very minor esophagitis, and he
  15    had no Barrett's esophagus.        Although, during
  16    endoscopy, it was claimed that the -- that the
  17    endoscopist saw Barrett's esophagus.          But he did
  18    not describe any sharp border between squamous
  19    epithelium --
  20                  THE REPORTER:     I'm sorry.     He did not
  21    describe --
  22                  THE WITNESS:     -- and --
  23                  THE REPORTER:     -- any what?
  24                  THE WITNESS:     He -- he didn't find any
  25    sharp border between squamous epithelium and



 Golkow Litigation Services                                      Page 253
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 254 of 328

   1    columnar epithelium that is the usual finding in
   2    Barrett's esophagus.      And in the pathological --
   3    report of pathology, nobody mentioned Barrett's
   4    esophagus findings.
   5                  So I would say he had no Barrett's
   6    esophagus presently.      Perhaps it could be due to
   7    the effect of PPIs.
   8    BY MS. DU PONT:
   9            Q.    So let's get to the Barrett's esophagus
  10    in a little bit.     I'm just -- I just want to focus
  11    on whether or not he had GERD in the first place,
  12    okay?   Do you know when his GERD first started?
  13            A.    It was diagnosed in 2002, but he had --
  14    had symptoms some years before.
  15            Q.    Do you understand that he himself
  16    indicated that he first started experiencing
  17    symptoms in the late 1990s?
  18            A.    Yes.
  19            Q.    And initially, he took over-the-counter
  20    medications to treat it, such as Tums and Rolaids?
  21            A.    Yes.
  22            Q.    Do you know if he saw a doctor prior to
  23    2002 for his GERD?
  24            A.    I don't know.
  25            Q.    Did you receive the -- the records from



 Golkow Litigation Services                                      Page 254
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 255 of 328

   1    a Dr. Traxler?
   2            A.    No.
   3            Q.    So you don't know that Dr. Traxler
   4    diagnosed him with GERD in 2000, as I understand?
   5            A.    No.    But he had symptoms, so I'm not
   6    surprised.
   7            Q.    But you do know that in 2002 he saw a
   8    gastroenterologist, Dr. McClelland, who performed
   9    an upper GI endoscopy for Mr. Baudin?
  10            A.    Yes, I have seen that record.
  11            Q.    And in that record, Dr. McClelland
  12    found definite evidence of gastroesophageal reflux
  13    disease.     Do you know that?
  14            A.    Yes.
  15            Q.    And you agree that Mr. Baudin had
  16    definite evidence of gastroesophageal reflux
  17    disease, correct?
  18            A.    Yes.
  19            Q.    And that you actually specifically note
  20    in your report that he had two strips of erythema
  21    in the distal esophagus?
  22            A.    Yes.
  23            Q.    And you also note in your report that
  24    he identified -- or Dr. McClelland identified a
  25    hiatal hernia of approximately 3 to 4 centimeters



 Golkow Litigation Services                                      Page 255
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 256 of 328

   1    in 2002, right?
   2            A.    Yes.   Yes.
   3            Q.    And even though the hernia was only
   4    diagnosed in 2002, would you agree with me that
   5    Mr. Baudin likely had that hernia prior to 2002?
   6            A.    Some years longer before.
   7            Q.    And in 2002, Dr. McClelland actually
   8    suggested that Mr. Baudin was a candidate for
   9    hernia repair.     Do you know that?
  10            A.    Yes.
  11            Q.    Why didn't you note that in your expert
  12    report?
  13            A.    I thought that it was not relevant to
  14    this case because he didn't have any operations or
  15    surgery.
  16            Q.    But you would agree with me -- I mean,
  17    we talked about this earlier -- that studies show
  18    that patients with hiatal hernia tend to have more
  19    serious GERD than patients that do not have hiatal
  20    hernias, right?
  21            A.    Right.
  22            Q.    So the hiatal hernia here in
  23    Mr. Baudin's place -- case played a significant
  24    role in his ongoing GERD, right?
  25            A.    Correct.



 Golkow Litigation Services                                      Page 256
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 257 of 328

   1            Q.    Now, your report then skips from 2002
   2    to 2017.     Did you consider anything between 2002 to
   3    2017 relevant?
   4            A.    The question -- he used Nexium most of
   5    the time.    I think he tried to change medication
   6    once or twice, but it appears that Nexium was the
   7    most efficient and use -- made the conclusion that
   8    he used it all the time.
   9            Q.    And you would agree with me that
  10    between 2002 and 2017 Mr. Baudin's doctors
  11    consistently determined that staying on a PPI was
  12    appropriate for Mr. Baudin because of his chronic
  13    reflux, correct?
  14            A.    I suppose that is correct.
  15            Q.    Why do you say you suppose?
  16            A.    I don't know what every doctor had said
  17    to him.    But as I can see from -- I haven't any
  18    information that it is not correct.
  19            Q.    So you have no reason to disagree that
  20    his doctors thought it was appropriate for him to
  21    stay on a PPI, correct?
  22            A.    That's correct.      That's correct.
  23            Q.    And are you aware that at least two of
  24    Dr. Baudin's doctors recommended or discussed
  25    antireflux surgery with him?



 Golkow Litigation Services                                      Page 257
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 258 of 328

   1            A.    Once more.
   2            Q.    Were you aware that two of Dr. Baudin's
   3    doctors discussed antireflux surgery with him?
   4            A.    No.
   5            Q.    No, you were not aware of that?
   6            A.    No.
   7            Q.    Well, we know that Dr. McClelland
   8    discussed antireflux surgery with him.          Did you
   9    review the -- the records for Dr. McClelland?
  10            A.    No.   No.
  11            Q.    You did not review the records from
  12    Dr. McClelland?
  13            A.    No.   I don't remember that.
  14            Q.    And did you review the records for
  15    Dr. Chauvin?
  16            A.    No.   I don't remember.
  17            Q.    Do you know that -- that Dr. Baudin --
  18    sorry -- that Mr. Baudin never had GERD surgery?
  19            A.    I -- I know he had never GERD surgery.
  20    That's correct.
  21            Q.    Would you agree with me that it was --
  22    that PPIs were an appropriate treatment for
  23    Mr. Baudin's long-standing GERD?
  24                  MR. RESTAINO:     Objection.
  25                  THE WITNESS:     Yes.



 Golkow Litigation Services                                      Page 258
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 259 of 328

   1    BY MS. DU PONT:
   2             Q.   Now, you note in your report that
   3    Mr. Baudin saw a Dr. Tabor in 2017?
   4             A.   Yes.
   5             Q.   And do you know if Dr. Tabor is
   6    actually a gastroenterologist?
   7             A.   I thought he was a surgeon.
   8             Q.   Yes, he is a surgeon.
   9                  And you're aware that in August of 2017
  10    Dr. Tabor was told by Mr. Baudin that he had a
  11    hiatal hernia and had severe GERD symptoms?           Do you
  12    know that?
  13             A.   Yes.
  14             Q.   And do you know how much Mr. Baudin
  15    weighed in August of 2017?
  16             A.   I have difficulties with that.         We are
  17    not using kilo.
  18             Q.   Ah.    Do you know whether he was obese
  19    at the time of -- in -- in August of 2017?
  20             A.   I think he was a little overweight, at
  21    least.
  22             Q.   BMI was over 30.      Would that make him
  23    obese?
  24             A.   Yes.
  25             Q.   So if the medical records show that he



 Golkow Litigation Services                                      Page 259
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 260 of 328

   1    was -- had a BMI of over 30 in August of 2017, you
   2    would consider him obese, correct?
   3            A.    Uh-huh.
   4            Q.    Yes?
   5            A.    Yes.
   6            Q.    Now, you understand that on
   7    September 12th, 2017, Dr. Tabor performed an
   8    endoscopy, and during that procedure he
   9    confirmed -- and let's just pull up the endoscopy
  10    report to make it easier.
  11                  MS. DU PONT:     It's Exhibit 210, and
  12    we'll mark that -- sorry -- 110, and we'll mark
  13    that for the record.
  14                  (WALDUM EXHIBIT 110, Medical record,
  15    FMOL Health System, dated 9/12/17, Bates
  16    Defendants000487-488, was marked for
  17    identification.)
  18                  MS. DU PONT:     Please scroll down a
  19    little bit.
  20    BY MS. DU PONT:
  21            Q.    Do you see here that the preoperative
  22    diagnosis from this September 12th, 2017, procedure
  23    was gastroesophageal reflux and hiatal hernia?            Do
  24    you see that that was the indication for the
  25    endoscopy?



 Golkow Litigation Services                                      Page 260
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 261 of 328

   1            A.    Yes.
   2            Q.    And the first postoperative diagnosis
   3    states:    Gastroesophageal reflux with changes at
   4    the gastroesophageal junction consistent with
   5    Barrett's and mild esophagitis.         Do you see that?
   6            A.    I see that.     And I commented on that
   7    before, that he -- he made a diagnosis of Barrett's
   8    esophagus made just on the color of the distal
   9    esophagus mucosa.      And he did not say anything
  10    about a sharp border between esophageal squamous
  11    epithelium and this so-called Barrett's esophagus
  12    metaplasia.    That was strange to me.        And as I --
  13    at the operation, Barrett's esophagus was not found
  14    or at least described.       So that is -- I don't think
  15    he had Barrett's esophagus.
  16            Q.    So you're saying, despite Dr. Tabor
  17    saying that he saw in the -- while doing the
  18    procedure a -- something that looked consistent
  19    with Barrett's, you disagree with his -- his
  20    statement, that there was not something consistent
  21    with Barrett's here?
  22            A.    I mean that it should have been -- it
  23    should have been described a sharp border between
  24    metaplastic mucosa and squamous epithelium.           He
  25    didn't say anything about that.         He just say --



 Golkow Litigation Services                                      Page 261
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 262 of 328

   1    said that the color could indicate Barrett's
   2    esophagus.
   3                  And, also, Barrett's esophagus should
   4    be -- should have been diagnosed histologically.
   5    And I haven't found any indications that there was
   6    any Barrett's esophagus in what was taken out at
   7    the operation.
   8            Q.    You've performed -- well, first of all,
   9    the -- the report says that -- that the changes
  10    were consistent with Barrett's esophagus.           It
  11    doesn't say that the changes were not
  12    significant [sic] with Barrett's esophagus,
  13    correct?
  14            A.    But -- but --
  15            Q.    Is that yes or no?
  16            A.    Barrett's esophagus should be -- here,
  17    it should have been easily shown what they did --
  18    esophageal (indiscernible) removed the proximate
  19    part of the stomach.      It must --
  20            Q.    So --
  21            A.    -- contain the -- the area of Barrett's
  22    esophagus.    But I haven't found any description of
  23    it in the histological evaluation.
  24            Q.    But he -- Dr. Tabor, all he wrote was
  25    that it was consistent with Barrett's.          He didn't



 Golkow Litigation Services                                      Page 262
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 263 of 328

   1    say one way or another -- describe how it wasn't
   2    consistent with Barrett's, did he?
   3             A.   I think that it's difficult to accept
   4    this description that is not quite clear, and you
   5    haven't -- histology is what matters here, I would
   6    say.
   7             Q.   But in -- in your report, Dr. Waldum --
   8             A.   Yes.
   9             Q.   -- all you said about the pathology at
  10    the time of the endoscopy was that:          Mild
  11    esophagitis with macroscopically visits [sic]
  12    Barrett's intestinal metaplasia was found.
  13                  That's all you said in your report,
  14    right?
  15             A.   Yes.   It may be, but I will say now
  16    that it should have been found in -- in the tissue
  17    examination after operation.
  18             Q.   So you have a new opinion here today
  19    for the first time that it should have been found
  20    endoscopically -- or sorry -- pathologically --
  21             A.   By histology.
  22    BY MS. DU PONT:
  23             Q.   -- by --
  24                  MR. RESTAINO:     Let her -- let her ask
  25    her question.



 Golkow Litigation Services                                      Page 263
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 264 of 328

   1                  THE WITNESS:     It should have been --
   2    BY MS. DU PONT:
   3            Q.    That's a new opinion today, right?
   4                  MR. RESTAINO:     Objection.
   5                  THE WITNESS:     It should have been found
   6    in the histological preparations.
   7    BY MS. DU PONT:
   8            Q.    You know, you -- you told me -- you
   9    told me earlier that you didn't have any new
  10    opinions to offer today, and now I'm in the last
  11    hour of my deposition, and you're telling me a new
  12    opinion about histology.
  13            A.    Okay.
  14                  MR. RESTAINO:     Objection.
  15    BY MS. DU PONT:
  16            Q.    So let's -- let's go back to the
  17    record.    He, meaning Dr. Tabor, noted a 4- to
  18    5-centimeter hiatal hernia --
  19            A.    Correct.
  20            Q.    -- with wide-open gastroesophageal
  21    junction and virtually no valve remaining.
  22            A.    Correct.
  23            Q.    Do you see that?
  24            A.    Yeah.
  25            Q.    Which means he had a very large and



 Golkow Litigation Services                                      Page 264
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 265 of 328

   1    severe hiatal hernia, correct?
   2            A.    Correct.
   3            Q.    And during the endoscopy, at the bottom
   4    of the page, Dr. Tabor identified three polyps
   5    inside of the hiatal hernia, correct?
   6            A.    That is correct.
   7            Q.    And he specifically writes:        We
   8    immediate --
   9                  MS. DU PONT:     Stop for a second.
  10    BY MS. DU PONT:
  11            Q.    We immediately noticed a moderate to
  12    large hiatal hernia with a significant part of the
  13    stomach above the diagram -- diaphragm.          Do you see
  14    that?
  15            A.    Correct.    Correct.
  16            Q.    And upon entering the intrathoracic
  17    portion of the stomach -- what is that?
  18            A.    What -- what did you ask me?
  19            Q.    What is the intrathoracic portion of
  20    the stomach he's referring to above the diaphragm?
  21            A.    That -- that is just a hiatal hernia.
  22            Q.    No.   I'm asking, what does he mean by
  23    "the intrathoracic portion of the stomach that was
  24    above the diaphragm"?       What is he describing?
  25            A.    He's describing the hiatal hernia.



 Golkow Litigation Services                                      Page 265
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 266 of 328

   1            Q.    The location of the hiatal hernia,
   2    correct?
   3            A.    Yeah.
   4            Q.    Which was in the -- the highest part of
   5    the stomach, right at the -- at the junction,
   6    correct?
   7            A.    It was -- the hernia is at the high
   8    part of the stomach, and it was in the thorax and
   9    not in the abdomen.
  10            Q.    And immediately upon entering the
  11    stomach, he noticed three 1-centimeter polyps,
  12    correct?
  13            A.    He is writing that, but I have seen
  14    records that three polyps were recognized -- were
  15    found in the hiatal hernia about 3 centimeter
  16    distal to the gastroesophageal junction.
  17            Q.    But this record here states that:          Upon
  18    entering the intrathoracic portion of the stomach
  19    that was above the diaphragm, he immediately
  20    noticed three 1-centimeter polyps.         Correct?
  21            A.    That's correct.      But before the
  22    operation, he -- he said that -- he -- he wrote
  23    that the polyps were about 3 centimeter distal.
  24            Q.    And we'll get to that one.        That's --
  25            A.    Yeah.



 Golkow Litigation Services                                      Page 266
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 267 of 328

   1            Q.    That's a different report.        We're
   2    getting there.
   3            A.    Yeah.    Okay.
   4                  MS. DU PONT:     Let's pull up
   5    Exhibit 111, which is the pathology report from the
   6    endoscopy.
   7                  (WALDUM EXHIBIT 111, Surgical Pathology
   8    Report dated 9/12/17, Pathology Group of Louisiana,
   9    Bates Defendants000024-026, was marked for
  10    identification.)
  11                  MR. GALLANT:     Julie, was the -- before
  12    you get into this one, I don't think the last
  13    exhibit was put into the chat.
  14                  MS. DU PONT:     Oh, okay.
  15                  Can you put Exhibit 110 into the
  16    chat --
  17                  MR. GALLANT:     It's there now.
  18                  MS. DU PONT:     -- along with
  19    Exhibit 111.
  20                  THE VIDEOGRAPHER:      I just added them
  21    both.
  22                  MS. DU PONT:     Thank you.
  23                  MR. GALLANT:     Thank you.
  24    BY MS. DU PONT:
  25            Q.    Do you recognize this surgical



 Golkow Litigation Services                                      Page 267
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 268 of 328

   1    pathology report for -- for Mr. Baudin?
   2            A.    Yes.
   3            Q.    And it's dated September 12th, 2017; do
   4    you see that?
   5            A.    What --
   6            Q.    Date collected and received,
   7    September 12th, 2017, which is the date of the
   8    endoscopy?
   9            A.    Yeah.    Date collected, 12th of
  10    September.
  11            Q.    Okay.
  12            A.    Yeah.
  13                  MS. DU PONT:     And if we scroll down to
  14    the final pathologic diagnosis.         Stop.
  15    BY MS. DU PONT:
  16            Q.    Do you see that the final diagnosis
  17    based on the pathology was focal intramucosal
  18    adenocarcinoma arising from high-grade gastric
  19    adenomatous dysplasia?
  20            A.    Yes.
  21            Q.    And nothing in this pathology report
  22    discusses ECL cell hyperplasia, correct?
  23            A.    They -- they didn't look for it.
  24            Q.    But there's nothing in the report about
  25    it, right?



 Golkow Litigation Services                                      Page 268
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 269 of 328

   1            A.    No.    They can't find it if they -- they
   2    don't look for it.
   3            Q.    And nothing in the report by
   4    Mr. Baudin's treating pathologists refers to
   5    neuroendocrine features, correct?
   6            A.    The same; that if you don't look for
   7    it, you don't find it.
   8            Q.    And they didn't find it, and they
   9    didn't write about it in their report, correct?
  10            A.    Correct.
  11            Q.    And are you aware that the treating
  12    pathologist determined that doing additional
  13    staining to look for neuroendocrine markers was not
  14    clinically indicated?
  15            A.    Yes.
  16            Q.    And you're aware that your colleague --
  17    or are you aware that your colleague, Dr. Mjønes,
  18    has testified that she agreed that looking for
  19    neuroendocrine markers was not clinically
  20    indicated?
  21            A.    What that Mjønes said?
  22            Q.    She said -- she agreed with the
  23    treating pathologist, that doing additional
  24    staining to look for endocrine -- neuroendocrine
  25    markers was not clinically indicated here.



 Golkow Litigation Services                                      Page 269
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 270 of 328

   1                  MR. RESTAINO:     Objection.
   2                  THE WITNESS:     If -- if you know that
   3    the patients have been on PPIs for such a long
   4    time, it is clinically indicated.
   5    BY MS. DU PONT:
   6            Q.    So you disagree with both the treating
   7    pathologist and Dr. Mjønes?
   8            A.    Yes.
   9            Q.    And this states that the polyp --
  10                  MS. DU PONT:     If we can -- oh, no, you
  11    don't have to scroll down.        I'll just withdraw that
  12    question.
  13    BY MS. DU PONT:
  14            Q.    This states that the polyp with the
  15    cancer arose in an adenoma, right?
  16            A.    Yes.
  17            Q.    And as discussed, Dr. Mjønes, who you
  18    asked to review Mr. Baudin's pathology, confirmed
  19    that the cancer arose in the adenoma polyp --
  20            A.    Yes.
  21            Q.    -- correct?
  22            A.    Yes.
  23            Q.    Now, turning back to the pathology
  24    report, a set of genetic tests were performed.            Do
  25    you see that?



 Golkow Litigation Services                                      Page 270
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 271 of 328

   1                  MS. DU PONT:     Oops.    Sorry.   Yeah.
   2    BY MS. DU PONT:
   3            Q.    Do you see how cytogenetic tests were
   4    performed?
   5            A.    Yes.
   6            Q.    And the comments said there was
   7    aneuploidy and increased copies of Number 17
   8    chromosome and increased copies of HER2/neu.           Do
   9    you see that?
  10            A.    Yes.
  11            Q.    Is this consistent with -- like, the
  12    type of gastric cancer we talked about earlier, the
  13    chromosomal and stable gastric cancer?
  14            A.    It could be.
  15            Q.    Is there anything in this report that
  16    indicates it's any other type of gastric cancer
  17    based on its molecular subtype -- molecular
  18    testing?
  19            A.    As I said, molecular changes in
  20    cancers, they occur, and it's difficult to go from
  21    them back to the cell origin.
  22                  MS. DU PONT:     Let's -- let's pull up
  23    Exhibit 113.
  24                  (WALDUM EXHIBIT 113, Medical record,
  25    FMOL Health System, dated 9/21/17, Bates



 Golkow Litigation Services                                      Page 271
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 272 of 328

   1    Defendants000447-462, was marked for
   2    identification.)
   3    BY MS. DU PONT:
   4            Q.    This is an office visit that Mr. Baudin
   5    had with Dr. John Tabor.       Do you see that?
   6            A.    Yes.   What is the date?
   7            Q.    It's dated September 21st, 2017.         Do
   8    you see that at the top of the page?
   9            A.    Uh-huh.
  10                  MS. DU PONT:     And if we -- yeah, thank
  11    you.
  12                  THE WITNESS:     Yes.
  13    BY MS. DU PONT:
  14            Q.    Have you seen this before?
  15            A.    I think so.
  16            Q.    And if we go to the next page and
  17    scroll down, do you see the "Subjective Patient ID:
  18    Stanley Baudin is a 52-year-old male"?          Do you see
  19    where I'm reading from?       Do you see?
  20            A.    Yes.
  21            Q.    And under that, it says:        He returns
  22    today to discuss the results of his recent CT scan
  23    and biopsy results from his recent upper endoscopy.
  24    He has a biopsy-proven adenocarcinoma in the very
  25    proximal stomach.



 Golkow Litigation Services                                      Page 272
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 273 of 328

   1            A.    Yes.
   2            Q.    Do you see that?
   3            A.    Yes.
   4            Q.    So Dr. Tabor is again noting that the
   5    location of Mr. Baudin's tumor was in the very
   6    proximal stomach, agree?
   7            A.    But that doesn't say anything about was
   8    it 1 centimeter, 3 centimeter.        It would be the
   9    same, I think, unless you can see:         There were
  10    three separate 1-centimeter polyps, all within
  11    approximately 3 to 4 centimeter of one -- of one
  12    another.
  13            Q.    Yes.
  14            A.    We do not know which of these polyps
  15    that the carcinoma was situated.         So it is a little
  16    difficult to say the exact place of the adenomatous
  17    polyp because he -- the surgeon couldn't complete
  18    his endoscopy because of the problems breathing.
  19            Q.    Okay.
  20            A.    And that is -- that is a pity.
  21            Q.    All I was asking is if Mr. -- if
  22    Dr. Tabor in this note describes the -- the
  23    adenocarcinoma was in the very proximal stomach.
  24    You agree that that's what he writes, correct?
  25            A.    Yes, I agree with that.



 Golkow Litigation Services                                      Page 273
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 274 of 328

   1            Q.    And you know that following this
   2    endoscopy Mr. Baudin then had a surgery where his
   3    distal esophagus, proximal stomach and greater
   4    omentum were removed, correct?
   5            A.    Yes.
   6                  MS. DU PONT:     And let's pull up the
   7    surgical pathology report from that surgery.           It's
   8    Exhibit 115.
   9                  (WALDUM EXHIBIT 115, Surgical Pathology
  10    Report dated 10/7/17, Pathology Group of Louisiana,
  11    Bates Defendants000021-023, was marked for
  12    identification.)
  13    BY MS. DU PONT:
  14            Q.    And this is the surgical pathology
  15    report from October 7th, 2017.        Do you recognize
  16    this document?
  17            A.    Yes, I have seen it many times.
  18            Q.    And you noted in your report that this
  19    pathology report noted a focal residual
  20    intramucosal adenocarcinoma, correct?
  21            A.    Yes.
  22            Q.    And this was most likely at the site of
  23    one previous removed polyp localized to the hernia,
  24    correct?
  25            A.    Yes.



 Golkow Litigation Services                                      Page 274
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 275 of 328

   1            Q.    And a biopsy of one of the three polyps
   2    detected gastric adenocarcinoma, correct?
   3            A.    Before surgery, yes.
   4                  MS. DU PONT:     And let's pull up
   5    Exhibit, actually, 114.
   6                  THE WITNESS:     Did you find anything
   7    about the esophagus or Barrett's in this
   8    particular --
   9    BY MS. DU PONT:
  10            Q.    Hold on.    We're not -- we're going to
  11    come back to the pathology report.         Let me just ask
  12    something else first.
  13                  (WALDUM EXHIBIT 114, Medical record,
  14    FMOL Health System, dated 10/5/17, Bates
  15    Defendants000978-980, was marked for
  16    identification.)
  17    BY MS. DU PONT:
  18            Q.    This is Dr. Tabor's operative note from
  19    October 5th, 2017.      Do you see that?
  20            A.    Yes.
  21            Q.    And if we scroll down a little bit
  22    further on the page, under "Indications" --
  23            A.    Yes.
  24            Q.    -- it says, the second sentence:         At
  25    the time of endoscopy, he was found to have an



 Golkow Litigation Services                                      Page 275
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 276 of 328

   1    adenocarcinoma of the proximal stomach within 3
   2    polyps approximately 3 centimeters distal to the GE
   3    junction.
   4             A.    Yeah.   It is -- 3 centimeter is
   5    important, isn't it?
   6             Q.    And it is.    Because according to your
   7    own definition, this qualifies as a gastric cardia
   8    cancer, correct?
   9                   MR. RESTAINO:    Objection.
  10                   THE WITNESS:    He had 2 centimeter.
  11    BY MS. DU PONT:
  12             Q.    Well, let's go back to your report,
  13    Page 51.
  14                   MS. DU PONT:    Keep scrolling down.
  15    Hold on.      I'm going to -- scroll up again.       Scroll
  16    up a little further.      I think it's at the top of
  17    the page.     We missed it.    Hold on one second.       Oh,
  18    sorry.    It's -- it's Page 51 of the PDF, not 52.
  19    BY MS. DU PONT:
  20             Q.    See where it starts --
  21                   MS. DU PONT:    Scroll back.     Sorry.
  22    Scroll back.
  23    BY MS. DU PONT:
  24             Q.    So we talked about this earlier,
  25    Dr. Waldum.



 Golkow Litigation Services                                      Page 276
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 277 of 328

   1            A.    Okay.
   2            Q.    At the bottom here, the -- the last
   3    sentence that's -- that we can see, you wrote:            In
   4    this context --
   5            A.    Yeah, I -- I wrote --
   6            Q.    Let me just -- let me just ask my
   7    question, okay?
   8                  In this context, the entity of gastric
   9    cardia cancers is defined as those cancers located
  10    between 3 centimeters below and 2 centimeters above
  11    the gastroesophageal junction line.
  12                  That's what you defined as the cardia
  13    in your report, correct?
  14            A.    It seems so.     Yes.
  15            Q.    And so the fact that the cancer was
  16    found approximately 3 centimeters distal to the GE
  17    junction is consistent with your definition of a
  18    cardia cancer, correct?
  19                  MR. RESTAINO:     Objection.
  20                  THE WITNESS:     It depends -- it depends
  21    on whether -- this is the borderline.          Is it
  22    3 centimeter?     Is it less than 3 centimeter?        Or is
  23    3 centimeter included in the definition?
  24    BY MS. DU PONT:
  25            Q.    Your definition says 3 centimeters



 Golkow Litigation Services                                      Page 277
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 278 of 328

   1    below is part of the cardia, correct?
   2                  MR. RESTAINO:     Objection.
   3                  THE WITNESS:     Between 3 centimeter
   4    below and 2 centimeter.       Between is --
   5    BY MS. DU PONT:
   6            Q.    Above?
   7            A.    Between is above.
   8            Q.    So the record's clear, you're saying
   9    that the cardia region is defined as 3 centimeters
  10    below as well as 2 centimeters above the
  11    gastroesophageal junction line, correct?
  12                  MR. RESTAINO:     Objection.
  13                  THE WITNESS:     I didn't say whether
  14    3 centimeter is included or less than 3 centimeter.
  15    Between should be less.
  16    BY MS. DU PONT:
  17            Q.    You say -- okay.
  18                  What your report states and what you've
  19    already agreed to earlier today is that the entity
  20    of gastric cardia cancer is defined as those
  21    cancers located between 3 centimeters below and
  22    2 centimeters above the esophageal junction line,
  23    correct?     That's what you state in your report?
  24            A.    It -- it is referring to the paper.
  25            Q.    Okay.    That's what you state in your



 Golkow Litigation Services                                      Page 278
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 279 of 328

   1    report, though?
   2             A.   Okay.
   3             Q.   Now, we talked earlier about how
   4    Dr. Mjønes reviewed the pathology for Mr. Baudin.
   5    And let's go back to your discussion of Mr. Baudin
   6    in your report.      Page 142.    It's probably 143 of
   7    the PDF.
   8                  So on Page 142, this -- this represents
   9    your interpretation of the pathology report that
  10    you received from Dr. Mjønes, correct?          You state:
  11    The --
  12             A.   Yes.    Yes.
  13             Q.   Yeah.    Okay.    You state:    The
  14    histological material was examined by
  15    Senior Consultant, Ph.D. Dr. Mjønes.          She agreed in
  16    the final diagnosis of fundic gland polyps and
  17    intramucosal adenocarcinoma, and in parentheses,
  18    (high-grade dysplasia).        Correct?
  19             A.   Yes.
  20             Q.   And we talked earlier that the final
  21    diagnosis of fundic gland polyps, those polyps are
  22    benign polyps, right?
  23             A.   They can become malignant --
  24             Q.   They can be, but -- but in this case,
  25    they were --



 Golkow Litigation Services                                      Page 279
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 280 of 328

   1            A.    They are -- they are benign now --
   2            Q.    Okay.
   3            A.    -- in this case.
   4            Q.    And you state here that Dr. Mjønes
   5    agreed with the final diagnosis of intramucosal
   6    adenocarcinoma, correct?
   7            A.    Yes.
   8            Q.    And this means that Mr. Baudin had a
   9    very early cancer, right?
  10            A.    Correct.
  11            Q.    And nobody, including Dr. Mjønes, said
  12    Mr. Baudin had a carcinoid tumor, correct?
  13            A.    Correct.
  14            Q.    And nobody, including Dr. Mjønes, said
  15    Mr. Baudin had a neuroendocrine tumor, correct?
  16            A.    Correct.
  17            Q.    And Dr. Mjønes identified Mr. Baudin's
  18    pathology as intestinal type, according to the
  19    Lauren's classification, right?
  20            A.    Right.
  21            Q.    And she was in agreement with the
  22    treating pathologist on that point?
  23            A.    Yes.
  24            Q.    Next, you write in your report:         Of
  25    interest, in her description are the findings of



 Golkow Litigation Services                                      Page 280
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 281 of 328

   1    the polyps consistent with hyperplastic polyps.
   2                  Do you see that?      It's the next
   3    sentence after "high-grade dysplasia."
   4            A.    Intestinal metaplasia?
   5            Q.    So the next sentence after that says:
   6    Of interest, in her description are the findings of
   7    polyps --
   8            A.    Yeah.
   9            Q.    -- consistent with hyperplastic polyps.
  10            A.    Yes, I see --
  11            Q.    And are you aware that hyperplastic
  12    polyps can develop in the cardia of patients with
  13    GERD?
  14            A.    I think they can, although seldom.
  15            Q.    They can seldomly develop there?
  16            A.    I believe that.
  17            Q.    You then say:      Of importance is the
  18    finding of parietal cells in the area of the tumor,
  19    which, accordingly, started in the oxyntic mucosa.
  20    Do you see that?
  21            A.    Yeah.
  22                  MS. DU PONT:     And if we go to the next
  23    page of the report.      Stop.
  24    BY MS. DU PONT:
  25            Q.    You -- you note that:       The tumor --



 Golkow Litigation Services                                      Page 281
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 282 of 328

   1    this is at the top of the page.
   2            A.    Yes.
   3            Q.    -- developed in the oxyntic mucosa
   4    (the presence of parietal cells in the tissue
   5    surrounding the tumor indicates that it's not a
   6    cardiac cancer and, thus, not related to reflux
   7    disease).    Do you see that?
   8            A.    Yes.
   9            Q.    But you would defer to Dr. Mjønes on
  10    the significance or nonsignificance of the finding
  11    of parietal cells in the tumor area to the
  12    determination of the location of the tumor,
  13    correct?
  14            A.    Yes.
  15                  MS. DU PONT:     Now, if we go back --
  16    back up to Page 142 for a second.         Stop.    Okay.
  17    BY MS. DU PONT:
  18            Q.    You state:     Moreover -- do you see
  19    where I'm reading from?       Do you see --
  20            A.    Yes.
  21            Q.    -- where I'm reading from, "Moreover"?
  22            A.    Yes.
  23            Q.    Okay.    Moreover, she -- meaning
  24    Dr. Mjønes -- described that some of the cells in
  25    the intramucosal adenocarcinoma had a flattened



 Golkow Litigation Services                                      Page 282
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 283 of 328

   1    nucleus and a large cytoplasmic vacuole,
   2    suggested -- suggestive of a signet-ring cell like.
   3    Do you see that?
   4            A.    Yes.
   5            Q.    Now, are you -- are you aware that
   6    Dr. Mjønes has actually ruled out the presence of
   7    signet-ring cells in the EGD biopsy?
   8            A.    Yes, I wrote here "suggestive."
   9            Q.    So "suggestive."      But you understand
  10    that she specifically wrote in her pathology report
  11    the changes are not consistent with signet-ring
  12    cell carcinoma in situ, correct?
  13            A.    Okay.    Okay.
  14            Q.    Do you agree with that, that's what she
  15    wrote in her report or --
  16            A.    I rely on her.
  17            Q.    Okay.    And you're not suggesting that
  18    Mr. Baudin was diagnosed with a signet-ring
  19    cell-type carcinoma, are you?
  20            A.    Once more.
  21            Q.    You're not -- you're not trying to
  22    suggest that Mr. Baudin was diagnosed with a
  23    signet-ring cell-type carcinoma of the stomach --
  24            A.    No.
  25            Q.    -- correct?



 Golkow Litigation Services                                      Page 283
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 284 of 328

   1            A.    No.    Correct.
   2            Q.    And none of Mr. Baudin's pathology
   3    reports by the Louisiana treating pathologists say
   4    anything about signet-ring cell-like morphology,
   5    correct?
   6            A.    I believe so.      Correct.
   7            Q.    Now, you next say here, the next
   8    sentence:    There was linear ECL cell hyperplasia.
   9    Do you see that?
  10            A.    Yes.
  11            Q.    And you reached that conclusion based
  12    on Dr. Mjønes's pathology report, correct?
  13            A.    Yes.
  14            Q.    But you would agree with me that
  15    Dr. Mjønes did not find any ECL cell hyperplasia in
  16    the tumor sample, correct?
  17            A.    Yes.    The ECL cell hyperplasia suggests
  18    that the patient had -- had been exposed to
  19    hypergastrinemia and, actually, will tell you meant
  20    that the hyperplasia was antral nodular, a level
  21    higher.
  22            Q.    I didn't ask a question about what you
  23    were just talking about.
  24                  MS. DU PONT:      I'm going to move to
  25    strike that -- that commentary.



 Golkow Litigation Services                                      Page 284
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 285 of 328

   1    BY MS. DU PONT:
   2            Q.    I want to just take a look at what
   3    Dr. Mjønes actually wrote in her pathology report.
   4                  MS. DU PONT:     Let me figure out what
   5    page -- it's part of his actual report.          Probably
   6    around 150.    It's actually --
   7                  MS. PODSIADLO:      I think it's PDF, like,
   8    163.
   9                  MS. DU PONT:     Yeah.
  10    BY MS. DU PONT:
  11            Q.    And this is the pathology report,
  12    Doctor, that you received from Dr. Mjønes about
  13    Mr. Baudin's pathology, correct?
  14            A.    Okay.    Yes.
  15            Q.    And on the second page of this
  16    report --
  17            A.    Yes.
  18            Q.    Hold on one second.       I just want to get
  19    the right -- the top line of the report states:
  20    The neuroendocrine markers did not show convincing
  21    evidence of hyperplasia of neuroendocrine cells.
  22    Do you see that?
  23            A.    Yes.
  24            Q.    So Dr. Mjønes, in her pathology report,
  25    saw no evidence of hyperplasia of neuroendocrine



 Golkow Litigation Services                                      Page 285
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 286 of 328

   1    cells in this specimen from Mr. Baudin's
   2    September 2017 pathology that contained the actual
   3    adenocarcinoma that arose from the adenoma polyp,
   4    correct?
   5                  MR. RESTAINO:     Objection.     That's not
   6    what the record states.
   7    BY MS. DU PONT:
   8            Q.    You can answer, Dr. Waldum.
   9            A.    Once more.     I was reading.     Please.
  10            Q.    So Dr. Mjønes, in this section of her
  11    report -- and we can go back to the prior page.
  12            A.    Okay.
  13                  MS. DU PONT:     And go to the bottom of
  14    that.
  15    BY MS. DU PONT:
  16            Q.    A tissue block -- she notes a tissue
  17    block was received March 9th, 2021.          From the
  18    tissue block, colleagues at the department of
  19    pathology stained one slide for -- with H and E and
  20    two slides with neuroendocrine markers
  21    synaptophysin and chromogranin A.
  22                  And her conclusion was:        The
  23    neuroendocrine markers did not show convincing
  24    evidence of hyperplasia of neuroendocrine cells.
  25    Correct?



 Golkow Litigation Services                                      Page 286
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 287 of 328

   1             A.   Okay.
   2             Q.   And Dr. Mjønes's conclusion was that
   3    there was no evidence of ECL hyperplasia in the
   4    cancer specimen, correct?
   5             A.   Yes.
   6                  MR. RESTAINO:     There's no question
   7    pending.
   8    BY MS. DU PONT:
   9             Q.   No, yeah.     I -- I want to talk a little
  10    bit about the -- the gastrin level that you talked
  11    about in your report, okay?
  12             A.   Yes.
  13             Q.   And we can go back to your report.
  14                  MS. DU PONT:     It should be around
  15    Page 143, I think.      Maybe up a little higher.
  16    There.    Stop.
  17    BY MS. DU PONT:
  18             Q.   You write just above the section on
  19    specific causation conclusion:        Gastrin in blood
  20    taken after the operation while taking Nexium 40
  21    milligrams daily were 213 pg/mL.         And then you put
  22    in parentheses (Normal is less than 100 pg/ml).            Do
  23    you see that?
  24             A.   Yes.
  25             Q.   And this serum gastrin level that



 Golkow Litigation Services                                      Page 287
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 288 of 328

   1    you're talking about was actually taken in
   2    October of 2020, correct, Dr. Waldum?
   3            A.    Yes.
   4            Q.    That's three years after Mr. Baudin's
   5    gastric cancer was diagnosed, correct?
   6            A.    Correct.
   7            Q.    You did not review any serum gastrin
   8    levels before Mr. Baudin's gastric adenocarcinoma
   9    diagnosis in September 2017, correct?
  10            A.    Correct.
  11            Q.    And that's because there weren't any
  12    that were taken, right?
  13            A.    Never taken.
  14            Q.    None of Mr. Baudin's doctors diagnosed
  15    him with hypergastrinemia or elevated serum gastrin
  16    before his cancer diagnosis, correct?
  17            A.    Correct.
  18            Q.    None of his doctors told him
  19    hypogastrinemia [sic] caused his gastric
  20    adenocarcinoma, correct?
  21                  MR. RESTAINO:     Objection.
  22                  THE WITNESS:     Correct, I think.
  23    BY MS. DU PONT:
  24            Q.    You -- you don't know what Mr. Baudin's
  25    baseline gastrin level was at any time, right?



 Golkow Litigation Services                                      Page 288
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 289 of 328

   1            A.    Correct.
   2            Q.    You don't know what his gastrin level
   3    was before he took PPIs, correct?
   4            A.    Correct.
   5            Q.    You don't know what his gastrin level
   6    was while he was on PPIs but before he developed
   7    cancer, correct?
   8            A.    Correct.
   9            Q.    And you don't know what his PPIs --
  10    what his gastrin level was after he developed the
  11    cancer but is before his surgery, correct?
  12            A.    Correct.
  13            Q.    And Mr. Baudin actually ordered his
  14    gastrin level test from personalabs.com.           Did you
  15    know that?
  16            A.    I didn't know that.
  17            Q.    Did you tell Mr. Baudin to order a
  18    gastrin test?
  19            A.    Oh, I think I suggested to John he
  20    should -- that gastrin could be very important.
  21            Q.    But you're -- are you aware that none
  22    of his treating doctors ordered the serum gastrin
  23    test for him?
  24            A.    They -- the doctors in U.S. are told
  25    not to do it --



 Golkow Litigation Services                                      Page 289
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 290 of 328

   1            Q.    So none of his treating doctors ordered
   2    the serum gastrin test, correct?
   3            A.    Probably that's correct.
   4            Q.    Do you know one way or the other?
   5            A.    I don't know.
   6            Q.    There's no information that you've seen
   7    that any of his treating doctors directed him to
   8    order the serum gastrin test, correct?
   9            A.    That is correct.
  10                  MS. DU PONT:     Can we just pause and go
  11    off the record for a second.
  12                  THE VIDEOGRAPHER:      Time now is
  13    1:38 p.m.    We are off the record.
  14                                * * *
  15                  (Whereupon, there was a recess in the
  16    proceedings from 1:38 p.m. to 2:01 p.m.)
  17                                * * *
  18                  THE VIDEOGRAPHER:      The time now is
  19    2:01 p.m.    We are back on the record.
  20                  MS. DU PONT:     Okay.    If we could go
  21    ahead and pull up Dr. Waldum's expert report again.
  22    It's Exhibit 4.     And go to the bottom of Page 142,
  23    which I think is 143 of the PDF.         There we go.     Go
  24    to the next page, actually.
  25    BY MS. DU PONT:



 Golkow Litigation Services                                      Page 290
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 291 of 328

   1            Q.    So your specific causation opinion with
   2    respect to Mr. Baudin is that it is more probable
   3    than not that Stanley Baudin's long-term treatment
   4    with Nexium substantially contributed to the
   5    development of his gastric cancer.         That's --
   6    that's your opinion, as I understand it; is -- is
   7    that true, Dr. Waldum?
   8            A.    Yes.
   9            Q.    What methodology did you reach -- use
  10    to reach that opinion?
  11            A.    Once more.
  12            Q.    What methodology did you use to reach
  13    that opinion?
  14            A.    It's not one specific methodology, but
  15    it's looking at the other possible mechanisms.
  16    The -- the patient had no Barrett's esophagus,
  17    which is very important in this case.
  18                  And the localization of the tumor is at
  19    the border between what could be claimed to be
  20    cardia and the oxyntic mucosa.        And it was
  21    actually, from a biological point of view,
  22    surrounded by oxyntic mucosa.
  23                  So I would, therefore, say that it
  24    should be seen as an oxyntic mucosa carcinoma.            And
  25    in these carcinomas, I do not know that hiatus



 Golkow Litigation Services                                      Page 291
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 292 of 328

   1    hernia play any role in the carcinogenesis.           And --
   2    and there were no other reasonable causes of this
   3    gastric carcinoma.      And -- so I would say that PPIs
   4    more likely than less caused this carcinoma.
   5            Q.    Do you agree that Mr. Baudin could have
   6    developed gastric cancer even if he had not taken a
   7    PPI?
   8                  MR. RESTAINO:     Objection.
   9                  THE WITNESS:     I can't say.     I don't
  10    know.
  11    BY MS. DU PONT:
  12            Q.    Can you -- do you think that there were
  13    other factors that contributed to Mr. Baudin's
  14    gastric cancer?
  15                  MR. RESTAINO:     Objection.
  16                  THE WITNESS:     I wouldn't say that
  17    obesity -- I -- I mean, that obesity causes hiatal
  18    hernia, and -- and obesity could also contribute to
  19    gastric carcinoma by their eating habit.           If you
  20    eat more and more often, you have more put in the
  21    stomach, and you will have higher gastrin values.
  22    So gastrin could even be involved in the
  23    pathogenesis if there is -- if -- in how obesity
  24    predisposes to gastric cancer.
  25    BY MS. DU PONT:



 Golkow Litigation Services                                      Page 292
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 293 of 328

   1            Q.    So you're saying that Mr. Baudin's
   2    obesity could have contributed to his gastric
   3    cancer?
   4            A.    It could.     But I'm not sure that
   5    obesity is a factor because a hiatus hernia was
   6    present, and if you have a hiatal hernia, obesity
   7    would not provoke anything more.         And -- and there
   8    was only minor esophagitis in this patients [sic]
   9    due to the PPI --
  10                  THE REPORTER:     I'm sorry.     There was
  11    only -- there was only minor what in this patient?
  12                  THE WITNESS:     Esophagitis, inflammation
  13    in the esophagus due to the PPI treatment, I would
  14    say.   So I can't see why his hiatus hernia should
  15    contribute to a cancer in the -- at the border
  16    between cardia and the oxyntic mucosa.
  17    BY MS. DU PONT:
  18            Q.    Can you say what percentage -- what
  19    percentage -- let me say this differently.
  20                  What was the percentage contribution of
  21    PPIs to his gastric cancer?
  22                  MR. RESTAINO:     Objection.
  23                  THE WITNESS:     It is difficult to -- to
  24    make any guess on that.       But I would say that -- as
  25    I stated, that it's more probable than less that



 Golkow Litigation Services                                      Page 293
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 294 of 328

   1    PPIs contributed.
   2    BY MS. DU PONT:
   3            Q.    But you can't put a particular
   4    percentage on it, right?
   5            A.    51 percent.
   6            Q.    Do you think that the clinical picture
   7    for a patient is important when determining whether
   8    PPIs caused their cancer?
   9                  MR. RESTAINO:     Objection.
  10                  THE WITNESS:     Could you repeat it once
  11    more?
  12    BY MS. DU PONT:
  13            Q.    Do you think the clinical picture for a
  14    patient is important when determining what the
  15    cause of a patient's cancer is?
  16                  MR. RESTAINO:     Same objection.
  17                  THE WITNESS:     I can't answer this
  18    question.    I don't know what you mean by the
  19    "clinical condition."       You mean that the -- the
  20    obesity or something like that?
  21    BY MS. DU PONT:
  22            Q.    Yes.
  23            A.    Yeah?
  24            Q.    For example, is it important to know
  25    whether a patient is obese or overweight when



 Golkow Litigation Services                                      Page 294
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 295 of 328

   1    determining what the etiology of their gastric
   2    cancer is?
   3            A.    It could -- it could play a role.
   4            Q.    Is it important to know whether a
   5    patient had GERD and for how long when you're
   6    determining what caused a patient's gastric cancer?
   7            A.    That -- in a way, that is correct, that
   8    it's -- it will be important.        But this patient had
   9    shown little signs of esophagitis.         So I would say
  10    that in this case the duration probably doesn't
  11    play a great role.
  12            Q.    I don't know if I understood what
  13    you're saying.     The fact that Mr. Baudin had GERD
  14    for decades didn't play any role in the development
  15    of his gastric cancer; is that what you're saying?
  16            A.    I said that because he had no or only
  17    minor esophagitis.      I think GERD predisposes to
  18    gastric -- to esophageal cancer by inducing
  19    esophagitis.
  20            Q.    Now, you noted that Mr. Baudin had no
  21    familial disposition for gastric cancer.           What do
  22    you rely on to support that opinion?
  23            A.    Only what -- what was told in the
  24    records.
  25            Q.    There -- there was no genetic testing



 Golkow Litigation Services                                      Page 295
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 296 of 328

   1    done on Mr. Baudin, correct?
   2            A.    Not as I have heard of any genetic
   3    predisposition.
   4            Q.    So you can't rule out that he had some
   5    genetic predisposition to gastric cancer, because
   6    that testing hasn't been done, correct?
   7                  MR. RESTAINO:     Objection.
   8                  THE WITNESS:     I don't know his family
   9    background, if his father is his father and so on.
  10    But otherwise, we have no indication that there are
  11    other patients -- other persons in his family
  12    that's had gastric cancer.
  13    BY MS. DU PONT:
  14            Q.    But you don't have enough information
  15    in the medical records right now to rule out the
  16    fact that he could have some sort of genetic defect
  17    that predisposed him to develop gastric cancer,
  18    correct?
  19                  MR. RESTAINO:     Objection.
  20                  THE WITNESS:     The -- the known
  21    etiological factors genetically predisposing to
  22    gastric cancer is this of hereditary diffuse
  23    gastric cancer where you have a lack of E-cadherin
  24    predisposed to gastric carcinomas of diffuse type.
  25    And then you have the Spanish family without



 Golkow Litigation Services                                      Page 296
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 297 of 328

   1    functioning proton pump.       But this patient had,
   2    obviously, gastric acid -- gastric acid production.
   3    So he couldn't have that type of cancer.           That is
   4    the two most important genetic factors for a
   5    gastric cancer.
   6    BY MS. DU PONT:
   7            Q.    You would agree with me, though, he's
   8    had no genetic testing done, correct?
   9            A.    Yes.
  10            Q.    So you can't rule out that he had a
  11    familial disposition or -- yeah, disposition to
  12    develop gastric cancer, correct?
  13            A.    I have no information suggesting
  14    familial disposition.
  15            Q.    Now, you wrote in your report that
  16    Mr. Baudin has not been infected with H. pylori.
  17            A.    Yes.
  18            Q.    Why do you -- why do you say that?
  19            A.    Firstly, he had -- during the initial
  20    endoscopy -- the endoscopy in 2017, a biopsy for
  21    the CLO test was taken, and that was negative.            And
  22    there were taking biopsy from the stomach of
  23    many -- many types, and they were all negative for
  24    Helicobacter pylori.      And he had no atrophic
  25    gastritis that is necessary to -- for Helicobacter



 Golkow Litigation Services                                      Page 297
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 298 of 328

   1    pylori infection to predispose to gastric cancer.
   2                  So I think that it's quite clear that
   3    this patient had not a gastric cancer due to
   4    Helicobacter pylori.
   5            Q.    The test for H. pylori only confirms
   6    whether you have a current infection, correct?
   7            A.    That is correct.
   8            Q.    So we don't know if he had an H. pylori
   9    infection prior to 2000 -- his first test in 2002,
  10    correct?
  11            A.    That's correct.
  12            Q.    So you can't rule out that he never had
  13    H. pylori, correct?
  14            A.    Correct.
  15            Q.    And you write:      He has not had
  16    autoimmune atrophic gastritis.
  17                  What are you relying upon for that
  18    opinion?
  19            A.    The histology and the -- and the high
  20    acid secretion -- gastric acid secretion, requiring
  21    drugs to reduce gastric acid secretion.
  22                  Also, autoimmune gastritis do not
  23    induce cancer before having induced atrophy.
  24            Q.    Is there -- is there a test you can do
  25    to determine whether someone has autoimmune



 Golkow Litigation Services                                      Page 298
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 299 of 328

   1    atrophic gastritis?
   2            A.    You can determine antibodies or
   3    intrinsic factor antibodies against parietal cells.
   4    But about unnecessary tests, I would say that you
   5    have no indication of autoimmune gastritis in this
   6    case, which is -- on the contrary, we -- we know
   7    that this patient's had not gastric hypoacidity and
   8    no atrophic gastritis in the oxyntic mucosa.
   9                  That would be enough.       I would say that
  10    is much more indication to the specific staining
  11    for neuroendocrine cells in a tumor or patients
  12    taking PPIs, because there you can find something.
  13    Here, you will not find anything.         But, of course,
  14    it could be done.
  15            Q.    But -- and that testing from autoimmune
  16    gastritis has not been done on Mr. Baudin, correct?
  17            A.    This patient hasn't (indiscernible) --
  18            Q.    And, Doctor, you understand at the time
  19    that Mr. Baudin was diagnosed with gastric
  20    adenocarcinoma, he had long-standing GERD, a large
  21    4- to 5-centimeter hernia, and he was obese.           You
  22    understand all those things, right?
  23            A.    Yes.   Correct.
  24            Q.    And all those factors could have
  25    increased his chances of developing gastric



 Golkow Litigation Services                                      Page 299
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 300 of 328

   1    adenocarcinoma, correct?
   2            A.    Obesity increases the risk of hiatal
   3    hernia.    Whether it increases the risk for gastric
   4    carcinoma in a person having developed hiatal
   5    hernia, I'm not sure of.       And you said one thing
   6    more.
   7            Q.    GERD.    Long-standing GERD.
   8            A.    Yeah, but it seems to be minor because
   9    you had so little changes in the esophageal mucosa
  10    because of the PPI treatment.
  11            Q.    How did you rule out -- well, forget
  12    that.
  13                  You're not opining or offering an
  14    opinion on whether Mr. Baudin needed to be on
  15    Nexium or any other PPI, right?
  16            A.    Once more.
  17            Q.    Let me -- let me frame it a little
  18    differently.     You believe that it was appropriate
  19    for Mr. Baudin to be taking a PPI in this case,
  20    correct?
  21            A.    Yes.
  22            Q.    You're not going to offer an opinion
  23    that he didn't need it, right?
  24            A.    No.
  25            Q.    Nowhere in your report do you discuss



 Golkow Litigation Services                                      Page 300
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 301 of 328

   1    nor are you offering an opinion on whether
   2    Mr. Baudin had or currently has rebound acid
   3    hypersecretion, correct?
   4             A.    When taking the PPIs, you can -- you
   5    cannot dictate rebound acid hypersecretion
   6    because -- because PPIs stop the acid secretion.
   7    But --
   8             Q.    And you -- you --
   9             A.    But after --
  10             Q.    Your --
  11             A.    -- after -- after surgery, the -- the
  12    PPIs before surgery could have contributed to an
  13    increase in acid secretion in the remaining
  14    stomach.
  15             Q.    I'm not sure I understand what you mean
  16    by "before the surgery."
  17             A.    He had to restart the PPIs after
  18    surgery.      And -- and before he took PPIs -- so they
  19    tried less -- less efficient drugs in the beginning
  20    after surgery.     But he had to go to -- go back to
  21    Nexium.    And that -- at that period, he could have
  22    had rebound acid hypersecretion due to the PPI use
  23    before surgery.
  24             Q.    That's not an opinion that you've put
  25    forth anywhere in this 143-page report, is it?



 Golkow Litigation Services                                      Page 301
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 302 of 328

   1            A.    That's -- that's correct.        I didn't --
   2            Q.    And you don't intend to offer that
   3    opinion at trial, because you have not disclosed it
   4    in this report, correct?
   5            A.    It's okay.
   6            Q.    What do you mean by "It's okay"?
   7    You're not going to offer that opinion at trial?
   8            A.    I will not -- I mean that the question
   9    of PPI in this case -- after surgery in this case
  10    is not important.
  11            Q.    It's not important whether or not
  12    Mr. Baudin had rebound acid hypersecretion,
  13    correct?
  14                  MR. RESTAINO:     Objection.
  15                  THE WITNESS:     That is correct,
  16    concerning the gastric cancer had developed before.
  17    Gastric acid hypersecretion does not contribute to
  18    gastric cancer.     It contributes to symptoms.
  19    BY MS. DU PONT:
  20            Q.    And you're not offering an opinion
  21    about whether Mr. Baudin had rebound acid
  22    hypersecretion?     That's nowhere in your report.         Do
  23    you understand that?
  24            A.    That's correct.
  25            Q.    And you will not be offering an opinion



 Golkow Litigation Services                                      Page 302
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 303 of 328

   1    at trial about whether or not Mr. Baudin had
   2    rebound acid hypersecretion, correct?
   3            A.    That is correct.      It's also impossible
   4    to prove because they had taken away a part of the
   5    acid-producing stomach afterwards.         So to prove
   6    that, you must take him -- take him off PPIs,
   7    determine gastric acid secretion 14 days
   8    afterwards, and then continue to let him be without
   9    any inhibitors or drugs and then retest acid
  10    secretion -- gastric acid secretory capacity one --
  11    one month afterwards.       It is -- it is impossible to
  12    do this, and it is not indicated.
  13            Q.    And that's neither here nor there
  14    because you're not going to be offering an opinion
  15    at trial about rebound acid hypersecretion in
  16    Mr. Baudin, correct?
  17            A.    That's correct.
  18            Q.    And you're not going to offer an
  19    opinion at trial on whether the procedure or
  20    surgery Mr. Baudin underwent to remove his gastric
  21    adenocarcinoma was the right option, correct?
  22            A.    Correct.
  23            Q.    And you're not going to offer any
  24    opinion at trial on whether Mr. Baudin's recent
  25    anal fissure is causally related to his PPI use or



 Golkow Litigation Services                                      Page 303
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 304 of 328

   1    surgery to remove his gastric adenocarcinoma,
   2    correct?
   3            A.    Correct.
   4            Q.    Now, you're aware that none of
   5    Mr. Baudin's doctors told him that his PPI use
   6    caused his gastric cancer, correct?
   7            A.    Correct.
   8            Q.    And none of his doctors told him his
   9    hypergastrinemia or ECL cell hyperplasia caused his
  10    gastric adenocarcinoma, correct?
  11                  MR. RESTAINO:     Objection.
  12                  THE WITNESS:     What you say?     None of
  13    his doctors --
  14    BY MS. DU PONT:
  15            Q.    None of his doctors told him that
  16    his -- he had hypergastrinemia or a ECL cell
  17    hyperplasia, and none of them told him that either
  18    of those things were related to gastric cancer,
  19    correct?
  20                  MR. RESTAINO:     Objection.
  21                  THE WITNESS:     I think it's correct.
  22    BY MS. DU PONT:
  23            Q.    And none of Mr. Baudin's other experts
  24    are offering an opinion on the cause of his gastric
  25    cancer, correct?



 Golkow Litigation Services                                      Page 304
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 305 of 328

   1            A.    Correct.
   2            Q.    You're the only person offering the
   3    opinion that Mr. Baudin's gastric adenocarcinoma
   4    was caused by PPI use, correct?
   5            A.    Correct.
   6            Q.    Now, as I understand it from our
   7    earlier discussion, you disagree with Dr. Tabor who
   8    said he saw Barrett's esophagus when he performed
   9    the surgery on Mr. Baudin, correct?
  10            A.    Are we talking about Barrett's now?
  11            Q.    Yes, we're talking about Barrett's.
  12            A.    I mean that it is -- should have been
  13    shown histologically that he had Barrett's.           And
  14    that hasn't been shown.
  15            Q.    And you understand, Dr. Waldum, that
  16    Mr. Baudin only had a very small portion of his
  17    esophagus removed during the surgery, right?
  18            A.    Yes.
  19            Q.    So it's possible there was Barrett's in
  20    the part of the esophagus that was never biopsied,
  21    correct?
  22                  MR. RESTAINO:     Objection.
  23                  THE WITNESS:     It -- it starts at the
  24    lowest possible of the esophagus and -- and grow
  25    upwards.



 Golkow Litigation Services                                      Page 305
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 306 of 328

   1    BY MS. DU PONT:
   2            Q.    But there could have been evidence of
   3    Barrett's in the part of the esophagus that was not
   4    biopsied, fair?
   5                  MR. RESTAINO:     Objection.
   6                  THE WITNESS:     Very unlikely.
   7                  MS. DU PONT:     I want to pull up
   8    Exhibit 140, which is the testimony from Dr. Tabor
   9    who performed the surgery -- the endoscopy and the
  10    surgery on Mr. Baudin.
  11                  (WALDUM EXHIBIT 140, Deposition
  12    transcript of Dr. John Tabor dated 4/27/21, was
  13    marked for identification.)
  14                  MS. DU PONT:     And let's go to
  15    Page 24 -- sorry -- 25, and let's take a look at
  16    Line 6.
  17    BY MS. DU PONT:
  18            Q.    So Dr. Tabor was -- had a deposition
  19    taken just like you're being deposed today,
  20    Dr. Waldum.
  21            A.    Yes.
  22            Q.    And he was asked:      Did you also see
  23    something called Barrett's esophagus?
  24                  And he replied:      Yes.
  25                  And then he was asked:       And what is



 Golkow Litigation Services                                      Page 306
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 307 of 328

   1    Barrett's esophagus?
   2            A.    Yeah.
   3            Q.    It's a change in the esophageal mucosa
   4    from an esophageal type of mucosa to a gastric type
   5    of mucosa.
   6                  And can that be a precancerous
   7    condition?
   8                  And he responded:      Yes, it can.
   9                  So, Doctor, you would agree with me
  10    that you disagree with Dr. Tabor who saw Barrett's
  11    esophagus, correct?
  12            A.    I -- I say that it should have been
  13    shown in -- in the -- histologically that this
  14    patient had Barrett's esophagus.
  15                  And as I said, endoscopically, it
  16    should be a sharp boundary between columnar
  17    epithelium and squamous epithelium that is normally
  18    in the esophagus.      It's -- it's a sharp boundary,
  19    and -- and it should have been found.          And none of
  20    the pathology reports anything about Barrett's
  21    esophagus, I think.
  22            Q.    Doctor, I didn't ask you about
  23    whether -- why you disagree with -- with Dr. Tabor.
  24    I'm just asking, do you --
  25            A.    I dis --



 Golkow Litigation Services                                      Page 307
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 308 of 328

   1            Q.    -- do you disagree with him?
   2            A.    Yes.
   3            Q.    Doctor, you mentioned earlier in the
   4    deposition that you had in front of you your report
   5    as well as the reports of three of AstraZeneca's
   6    experts.
   7            A.    That's correct.
   8            Q.    Do you have notes on any of those
   9    reports?
  10            A.    No.
  11            Q.    No notes?
  12            A.    No notes.
  13            Q.    Do you have anything else in front of
  14    you today --
  15            A.    I have the book.      I have my book.
  16            Q.    You have your book.       Okay.
  17            A.    Without any notes.
  18                  MS. DU PONT:     Let me just take a few
  19    minutes' break.      Five minutes.
  20                  THE VIDEOGRAPHER:      The time now is
  21    2:28 p.m.    We are off the record.
  22                                * * *
  23                  (Whereupon, there was a recess in the
  24    proceedings from 2:28 p.m. to 2:38 p.m.)
  25                                * * *



 Golkow Litigation Services                                      Page 308
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 309 of 328

   1                  THE VIDEOGRAPHER:      The time now is
   2    2:38 p.m.     We are back on the record.
   3    BY MS. DU PONT:
   4             Q.   Doctor, do you recall at the beginning
   5    of the deposition I asked you whether you had any
   6    amendments to your report, and you gave me just one
   7    amendment about trophic --
   8             A.   Yeah.
   9             Q.   -- whether gastrin was trophic?         Do you
  10    recall that?
  11             A.   Yeah.    Yes.
  12             Q.   And you had no other changes to your
  13    report, correct?
  14             A.   Correct.
  15             Q.   And so over the break, I -- I went back
  16    and I looked at your -- your section on Mr. Baudin
  17    to see what you had said in your report about
  18    Barrett's esophagus.      And the only thing I found is
  19    what you wrote about what happened at the
  20    endoscopy.
  21                  You said:     At this endoscopy, a mild
  22    esophagitis with macroscopically visible Barrett's
  23    intestinal metaplasia (length not described) was
  24    found.
  25                  That's all I found on Barrett's



 Golkow Litigation Services                                      Page 309
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 310 of 328

   1    esophagus in your report with respect to
   2    Mr. Baudin.
   3            A.    Yes.
   4            Q.    You're not aware of any other
   5    discussion in your report about Barrett's esophagus
   6    and its relevance to Mr. Baudin, are you?
   7            A.    No, I don't think so.       But -- but in
   8    the endoscopic report, there was the description of
   9    Barrett's of pink mucosa in the distal part of the
  10    esophagus.    But no pathological reports have
  11    confirmed that.
  12            Q.    But you don't state that in your
  13    report, that no pathological reports confirm that,
  14    do you?
  15            A.    Probably not.
  16            Q.    So what information did you get between
  17    when you submitted this report in November or
  18    January of 2022 -- sorry -- November '21 or
  19    January of 2022, whenever you finished it, what
  20    changed -- what new information did you get
  21    available to you that changed your opinion?
  22            A.    I have got three reports in
  23    pathology --
  24            Q.    But you had those pathology reports
  25    available to you before you submitted your report,



 Golkow Litigation Services                                      Page 310
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 311 of 328

   1    correct?
   2            A.    I had not had -- had not the report
   3    from -- from Voltaggio.       And, also, I had not
   4    report from -- from Miele.        And -- and I had the
   5    report from Patricia.       She -- I had.     But she
   6    didn't describe Barrett's, I think.
   7            Q.    So the new information that you had
   8    available to you --
   9            A.    Came -- came from your --
  10            Q.    -- were from AstraZeneca's experts?
  11            A.    Correct.
  12            Q.    But yet, you did not -- you did not
  13    feel the need to provide me in advance of this
  14    deposition with a new report setting forth your
  15    opinion about Barrett's esophagus, did you?
  16            A.    No, I didn't.     I should have done, but
  17    I didn't remember it.
  18            Q.    And you understand that this is my one
  19    opportunity to ask you questions?
  20            A.    Yes --
  21            Q.    And you can't just come to the
  22    deposition with new opinions like that.          You
  23    understand that, right?
  24            A.    Okay.
  25                  MR. RESTAINO:     Objection.



 Golkow Litigation Services                                      Page 311
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 312 of 328

   1    BY MS. DU PONT:
   2             Q.   One other follow-up area.        On the last
   3    page of your report, on Page 143 --
   4                  MS. DU PONT:     If we can pull that up.
   5    BY MS. DU PONT:
   6             Q.   You write --
   7                  MS. DU PONT:     And scroll up just a
   8    little bit.
   9    BY MS. DU PONT:
  10             Q.   You write:     The tumor developed in the
  11    oxyntic mucosa (the presence of parietal cells in
  12    the tissue surrounding the tumor indicates that it
  13    is not a cardiac cancer and, thus, not related to
  14    reflux disease).     Do you see that?
  15             A.   Yes.
  16             Q.   And you wrote -- that -- that was your
  17    basis here for concluding that Mr. Baudin's tumor
  18    was not a cardia cancer, that there were the
  19    presence of parietal cells in the tissue
  20    surrounding the -- the tumor, right?          That was your
  21    basis?
  22             A.   Yes.
  23                  MR. RESTAINO:     Objection.
  24                  THE WITNESS:     Yes.   And, also, that it
  25    was said to be 3 centimeter from the



 Golkow Litigation Services                                      Page 312
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 313 of 328

   1    gastroesophageal junction.        But I didn't write
   2    that.
   3    BY MS. DU PONT:
   4            Q.    Right.    You did not write that in your
   5    report, correct?
   6            A.    No.
   7            Q.    And you're not providing any other
   8    opinions for why Mr. Baudin's cancer was not a
   9    cardiac cancer, correct?
  10            A.    Correct.
  11            Q.    We talked a little bit earlier about
  12    the fact that Mr. Baudin had long-standing GERD.
  13    Do you recall that conversation?
  14            A.    Yes.    Yes.
  15            Q.    And you understand --
  16            A.    From '99.      From 1999.
  17            Q.    1999.
  18                  You understand that -- that GERD is a
  19    risk factor for cardiac cancer, correct?
  20            A.    It's a risk factor for esophageal
  21    cancer.
  22            Q.    And for cardia cancer, correct?
  23            A.    But much less --
  24            Q.    But it is a risk -- it is a risk factor
  25    for cardia cancer, correct?



 Golkow Litigation Services                                      Page 313
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 314 of 328

   1             A.   There are some reports indicating that.
   2    That is correct.     But it is a little difficult to
   3    read these papers, because often the esophageal
   4    cancers are distal -- esophageal cancers are
   5    included.
   6             Q.   But there are some papers that report
   7    that there -- that GERD --
   8             A.   I -- I --
   9             Q.   -- is a risk factor for --
  10                  MR. RESTAINO:     Wait for a question.
  11    BY MS. DU PONT:
  12             Q.   -- cardia cancer, correct?
  13             A.   Yes.
  14             Q.   Now --
  15                  MR. RESTAINO:     Julie, we're over seven
  16    hours.    I'll give you some leeway, but --
  17                  MS. DU PONT:     Yeah, let me just --
  18                  MR. RESTAINO:     -- are you just --
  19                  MS. DU PONT:     One -- one last area of
  20    questioning, and it'll just be a handful of
  21    questions.    Thanks.    I didn't appreciate that I was
  22    over.
  23    BY MS. DU PONT:
  24             Q.   When we were talking earlier about the
  25    endoscopy that was done on Mr. Baudin, do you



 Golkow Litigation Services                                      Page 314
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 315 of 328

   1    recall that?
   2            A.    Yes.
   3            Q.    And do you recall that during the
   4    endoscopy Mr. Baudin started to bronchospasm,
   5    correct?
   6            A.    Correct.
   7            Q.    So the -- the procedure was cut short,
   8    and Dr. Tabor was not able to get as much of the
   9    pathology and biopsy material available during
  10    the -- during that procedure, correct?
  11            A.    Correct.    He lost -- he lost the
  12    polyps.    He didn't take them out.       He snared them,
  13    and he -- he hadn't time to take them out.
  14            Q.    So the -- there -- there was only a
  15    small amount of material available for that
  16    endoscopy, correct?
  17            A.    Correct.
  18            Q.    So when you say that there was no
  19    evidence of Barrett's on the endoscopy, we have to
  20    recognize that it was limited because of the
  21    bronchospasm that occurred, correct?
  22                  MR. RESTAINO:     Objection.
  23                  THE WITNESS:     That -- that is correct.
  24    He hadn't -- hadn't time to take biopsy from the --
  25    BY MS. DU PONT:



 Golkow Litigation Services                                      Page 315
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 316 of 328

   1             Q.   Right.
   2             A.   -- presumed -- presumed Barrett's.
   3                  MS. DU PONT:     Okay.    That -- that's the
   4    last question I have for now.        I just -- I assume
   5    you're going to have some questions, John.
   6                  MR. RESTAINO:     Yeah, I've got a couple
   7    of follow-up questions.
   8                  MS. DU PONT:     Do you need to take a
   9    break?
  10                  MR. RESTAINO:     I don't think so.
  11                  MS. DU PONT:     Oh, okay.
  12                                * * *
  13                            EXAMINATION
  14    BY MR. RESTAINO:
  15             Q.   I'll just remind Dr. Waldum to look
  16    into the camera and not at me, as I just looked at
  17    him.
  18                  Doctor, do you recall a few moments ago
  19    you were asked about the role of H. pylori in the
  20    development of gastric cancer and whether -- and if
  21    it had been ruled out in Mr. Baudin?          Do you recall
  22    those questions?
  23             A.   Yes.   I -- I meant that at least he
  24    hasn't had Helicobacter pylori infection during the
  25    last 20 years.



 Golkow Litigation Services                                      Page 316
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 317 of 328

   1            Q.    And, Doctor, are you familiar with any
   2    studies that show that individuals who have had
   3    H. pylori but have had the infection eradicated and
   4    are then exposed to proton pump inhibitors actually
   5    have a higher risk of developing gastric cancer
   6    than individuals who have H. pylori eradicated who
   7    are not on an H -- a PPI inhibitor?
   8            A.    I think --
   9                  MS. DU PONT:     Objection to form.
  10                  THE WITNESS:     I think the Cheung study
  11    from Hong Kong is the best one.
  12    BY MR. RESTAINO:
  13            Q.    Okay.    And -- and, Doctor, if -- if one
  14    is looking at the pathogenesis of obesity in
  15    developing gastric cancer, would you have an
  16    opinion to a reasonable degree of medical certainty
  17    if an obese person on a PPI has a higher risk of
  18    developing cancer as a result of that interaction
  19    versus an obese person who is not on a PPI?
  20                  MS. DU PONT:     Objection to form.
  21                  THE WITNESS:     I have no information
  22    about that.
  23    BY MR. RESTAINO:
  24            Q.    Okay.
  25                  MR. RESTAINO:     Could we bring up the --



 Golkow Litigation Services                                      Page 317
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 318 of 328

   1    his expert report.      And earlier in the day, we were
   2    looking at a Figure 6.       I -- I think it's on
   3    Page 26.     Yes.   There.
   4    BY MR. RESTAINO:
   5            Q.     And, Doctor, there's a -- at the bottom
   6    of that diagram, Figure 1, "Anatomy of the
   7    stomach," there's a reference, Number 6, correct?
   8            A.     What do you mean?
   9            Q.     Meaning, under -- the description of
  10    this diagram, it says:       Figure 1 --
  11            A.     Yeah.
  12            Q.     -- Anatomy of the stomach, reference 6.
  13            A.     Yeah.
  14            Q.     Does that indicate -- you did not draw
  15    this diagram, correct?
  16            A.     That is correct.
  17            Q.     And where -- it was pointed out to you
  18    that the circle with Number 6 pointing to it and on
  19    the right it says "Cardia," does that circle also
  20    include the lower portion of the esophagus?
  21            A.     I wouldn't say that.      So, I'm sorry.
  22    It should have been corrected.
  23            Q.     And by "corrected," meaning that it
  24    includes the -- the esophagus in that circle,
  25    correct?



 Golkow Litigation Services                                      Page 318
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 319 of 328

   1            A.    Correct.
   2            Q.    And the esophagus is not the cardia
   3    portion of the stomach, is it?
   4            A.    Correct.
   5            Q.    And can you then go to, in your expert
   6    report, Page 20 -- oh, I'm sorry.         I'm sorry.     If
   7    you look at --
   8                  MS. DU PONT:     I'm just going to object
   9    to the long line of leading questions of the
  10    witness.     But go ahead.
  11                  MR. RESTAINO:     Okay.
  12    BY MR. RESTAINO:
  13            Q.    If you look at Number 8 -- 7, 8 and 9
  14    in this diagram, and do you see that, sir?
  15            A.    Yeah.
  16            Q.    And what is the pyloric portion of
  17    the -- of the human stomach?
  18            A.    It's the distal part.
  19            Q.    And if now we can go to Page 28 of your
  20    expert report.     And -- one second.      I apologize.
  21                  MR. RESTAINO:     Yes, I'm sorry, on
  22    Page 26.     Scroll down to the bottom so that we're
  23    looking at the very last sentence of Page 26.
  24    BY MR. RESTAINO:
  25            Q.    Do you see there -- could you read the



 Golkow Litigation Services                                      Page 319
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 320 of 328

   1    last sentence of Page 26?       It starts with "True
   2    digestion."
   3            A.    True dige -- with absorption of
   4    nutrients occurs when the chyme passes from the
   5    stomach through the pyloric valve between the
   6    stomach and the duodenum and through the small and
   7    large intestines.
   8            Q.    And is the pyloric region associated
   9    with the cardiac region of the heart?
  10            A.    Oh, no.    It's far away from it.
  11            Q.    Okay.    So if there's any insinuation or
  12    mention of the pyloric region being part of the
  13    cardiac region in your report, that would be a
  14    typographical error, would it not?
  15            A.    Yes.
  16            Q.    Regarding adenocarcinomas and
  17    neuroendocrine components, have you yourself
  18    visualized cardiac -- excuse me -- gastric
  19    adenocarcinomas that have contained neuroendocrine
  20    components?
  21            A.    Yes.
  22            Q.    And have you yourself visualized
  23    gastric adenocarcinomas which do not contain
  24    neuroendocrine components?
  25            A.    Yes.



 Golkow Litigation Services                                      Page 320
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 321 of 328

   1            Q.    So neuroendocrine components are not
   2    necessary for the development of a gastric
   3    adenocarcinoma; is that correct?
   4            A.    Correct.
   5            Q.    And you were -- when you were --
   6                  MS. DU PONT:     Again, I'm just going to
   7    object to the leading nature of this.          You should
   8    be asking open-ended questions, John.
   9                  MR. RESTAINO:     Okay.    I'll behave.
  10    BY MR. RESTAINO:
  11            Q.    You were asked some questions about
  12    additional medical records that were provided to
  13    you.   Do you recall that?
  14            A.    Yes.
  15            Q.    Did you see anything in any medical
  16    records recently reviewed that caused you to change
  17    any of your opinions?
  18            A.    No.
  19                  MR. RESTAINO:     I don't have any more
  20    questions.
  21                  MS. DU PONT:     Let me just take three
  22    minutes, and I'll be right back, okay?          No?
  23                  MR. RESTAINO:     No, I'm kidding.       I'm
  24    kidding.
  25                  MS. DU PONT:     It's like, what?       I'm not



 Golkow Litigation Services                                      Page 321
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 322 of 328

   1    going to have that many more questions.          Just give
   2    me a second.
   3                  MR. RESTAINO:     I wasn't -- you know, I
   4    was shaking my head so it wouldn't be "no" on the
   5    record.    It was just, you know -- now you caught me
   6    and busted me.
   7                  MS. DU PONT:     Okay.    We'll be back in a
   8    few.   Thanks.
   9                  THE VIDEOGRAPHER:      The time is
  10    2:53 p.m.    We are off the record.
  11                                * * *
  12                  (Whereupon, there was a recess in the
  13    proceedings from 2:53 p.m. to 2:57 p.m.)
  14                                * * *
  15                  THE VIDEOGRAPHER:      The time now is
  16    2:57 p.m.    We are back on the record.
  17                  MS. DU PONT:     I'm not going to have any
  18    further questions today because I understand I am
  19    over time.    But I do want to reserve my right to
  20    bring Dr. Waldum back again for another deposition
  21    just because he has expressed some new opinions
  22    today that were not in his 143-page report.
  23                  I can see John's face already, and I
  24    know he's going to object to that.         But I just
  25    wanted to put that on the record.



 Golkow Litigation Services                                      Page 322
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 323 of 328

   1                  MR. RESTAINO:     And I object.      Any new
   2    opinion that he might have offered today, you spent
   3    a fair amount of time and did an adequate job in
   4    exploring it with him.       But I would object.      Make
   5    your motion, if necessary.
   6                  MS. DU PONT:     Understood.
   7                  Thank you, Dr. Waldum, for your time
   8    today.    And I know it's very late there, so we'll
   9    let you go.    I hope you have a nice evening and --
  10    and the restaurants are still open to get a decent
  11    dinner.
  12                  THE WITNESS:     Thank -- thank you for
  13    your examination.
  14                  MS. DU PONT:     Okay.
  15                  THE WITNESS:     It -- it was -- it was
  16    okay.
  17                  MS. DU PONT:     Okay.    I'm glad it was
  18    okay.
  19                  THE WITNESS:     All right.
  20                  MS. DU PONT:     Have a good evening.
  21    Thanks, everyone.
  22                  THE VIDEOGRAPHER:      The time --
  23                  MR. RESTAINO:     Thank you.
  24                  THE VIDEOGRAPHER:      The time now is
  25    2:58 p.m.    We are off the record.



 Golkow Litigation Services                                      Page 323
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 324 of 328

   1                  (Whereupon, the deposition concluded at
   2    2:58 p.m.)
   3                  (Signature reserved.)
   4

   5

   6

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25




 Golkow Litigation Services                                      Page 324
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 325 of 328

   1                  DEPOSITION ERRATA SHEET
   2

        Case Caption:     Stanley P. Baudin v. AstraZeneca
   3    Pharmaceuticals, et al.
   4

                DECLARATION UNDER PENALTY OF PERJURY
   5

   6                  I declare under penalty of perjury that
   7    I have read the entire transcript of my deposition
   8    taken in the captioned matter or the same has been
   9    read to me, and the same is true and accurate, save
  10    and except for changes and/or corrections, if any,
  11    as indicated by me on the DEPOSITION ERRATA SHEET
  12    hereof, with the understanding that I offer these
  13    changes as if still under oath.
  14

  15

  16                  Signed on the ________ day of
  17                  _____________, 20___.
  18

  19

  20                  _______________________________
  21                      HELGE WALDUM, M.D., Ph.D.
  22

  23

  24

  25




 Golkow Litigation Services                                      Page 325
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 326 of 328

   1                     DEPOSITION ERRATA SHEET
   2    Page No._____Line No._____Change to:______________
   3    __________________________________________________
   4    Reason for change:________________________________
   5    Page No._____Line No._____Change to:______________
   6    __________________________________________________
   7    Reason for change:________________________________
   8    Page No._____Line No._____Change to:______________
   9    __________________________________________________
  10    Reason for change:________________________________
  11    Page No._____Line No._____Change to:______________
  12    __________________________________________________
  13    Reason for change:________________________________
  14    Page No._____Line No._____Change to:______________
  15    __________________________________________________
  16    Reason for change:________________________________
  17    Page No._____Line No._____Change to:______________
  18    __________________________________________________
  19    Reason for change:________________________________
  20    Page No._____Line No._____Change to:______________
  21    __________________________________________________
  22    Reason for change:________________________________
  23    SIGNATURE:_______________________DATE:___________
  24                HELGE WALDUM, M.D., Ph.D.
  25




 Golkow Litigation Services                                      Page 326
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 327 of 328

   1                  DEPOSITION ERRATA SHEET
   2    Page No._____Line No._____Change to:______________
   3    __________________________________________________
   4    Reason for change:________________________________
   5    Page No._____Line No._____Change to:______________
   6    __________________________________________________
   7    Reason for change:________________________________
   8    Page No._____Line No._____Change to:______________
   9    __________________________________________________
  10    Reason for change:________________________________
  11    Page No._____Line No._____Change to:______________
  12    __________________________________________________
  13    Reason for change:________________________________
  14    Page No._____Line No._____Change to:______________
  15    __________________________________________________
  16    Reason for change:________________________________
  17    Page No._____Line No._____Change to:______________
  18    __________________________________________________
  19    Reason for change:________________________________
  20    Page No._____Line No._____Change to:______________
  21    __________________________________________________
  22    Reason for change:________________________________
  23    SIGNATURE:_______________________DATE:___________
  24                 HELGE WALDUM, M.D., Ph.D.
  25




 Golkow Litigation Services                                      Page 327
Case 3:18-cv-01063-JWD-EWD
                        Helge Document
                               Waldum,99-12
                                        M.D.,04/27/22
                                               Ph.D. Page 328 of 328

   1                     REPORTER'S CERTIFICATE
   2

   3            I, Cindy A. Hayden, RMR, CRR, do hereby
   4    certify that there came before me on HELGE
   5    WALDUM, M.D., Ph.D., the person hereinbefore named
   6    who under the penalty of perjury agreed to testify
   7    to the truth and nothing but the truth of his or
   8    her knowledge concerning the matters in controversy
   9    in this cause; that the witness was thereupon
  10    examined under penalty of perjury, the examination
  11    reduced to typewriting under my direction, and the
  12    deposition is a true record of the testimony given
  13    by the witness.
  14                  I further certify that I am neither
  15    attorney or counsel for, nor related to, or
  16    employed by any attorney or counsel employed by the
  17    parties hereto or financially interested in the
  18    action.
  19                  IN WITNESS WHEREOF, I have hereto set
  20    my hand this 7th day of April, 2022.
  21

  22                   ____________________________________
  23                     Cindy A. Hayden, RMR-CRR
  24

  25




 Golkow Litigation Services                                      Page 328
